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                     UNITED STATES DISTRICT COURT
                         DISTRICT OF MONTANA
                         GREAT FALLS DIVISION

 CITY OF GREAT FALLS;
 COUNTY OF ANACONDA-DEER
 LODGE; COUNTY OF LAKE; and             Civil Action No.
 CITY OF MISSOULA,

       Plaintiffs,
                                        COMPLAINT AND JURY
 vs.                                    DEMAND

 PURDUE PHARMA L.P.;
 PURDUE PHARMA INC.;
 THE PURDUE FREDERICK
 COMPANY;
 CEPHALON, INC.;
 JOHNSON & JOHNSON;
 JANSSEN PHARMACEUTICALS,
 INC.;
 ORTHO-MCNEIL-JANSSEN
 PHARMACEUTICALS, INC. n/k/a
 JANSSEN PHARMACEUTICALS,
 INC.;
 JANSSEN PHARMACEUTICA INC.
 n/k/a JANSSEN
 PHARMACEUTICALS, INC.;
 ENDO HEALTH SOLUTIONS INC.;
 ENDO PHARMACEUTICALS,
 INC.;
 ALLERGAN PLC f/k/a ACTAVIS
 PLC;
 ALLERGAN FINANCE, LLC f/k/a
 ACTAVIS, INC. f/k/a WATSON
 PHARMACEUTICALS, INC.;
 WATSON LABORATORIES, INC.;
 ACTAVIS LLC;
 ACTAVIS PHARMA, INC. f/k/a
 WATSON PHARMA, INC.;


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  AMERISOURCEBERGEN
  CORPORATION;
  AMERISOURCEBERGEN DRUG
  CORPORATION;
  CARDINAL HEALTH, INC.;
  CARDINAL HEALTH 110, LLC;
  MCKESSON CORPORATION;
  CVS HEALTH CORPORATION;
  CVS INDIANA, L.L.C.;
  CVS PHARMACY, INC.; and
  DOES 1 – 100, INCLUSIVE,

          Defendants.

                  PLAINTIFFS’ ORIGINAL COMPLAINT

TO THE HONORABLE JUDGE OF SAID COURT:

       NOW COME Plaintiffs, City of Great Falls, Montana, County of Anaconda-

Deer Lodge, Montana, County of Lake, Montana, and City of Missoula, Montana,

by and through the undersigned attorneys (hereinafter “Cities” or “Counties” or

“Plaintiffs”), against Defendants Purdue Pharma L.P., Purdue Pharma Inc., The

Purdue Frederick Company, Cephalon, Inc., Johnson & Johnson, Janssen

Pharmaceuticals, Inc., Ortho-McNeil-Janssen Pharmaceuticals, Inc. n/k/a Janssen

Pharmaceuticals, Inc., Janssen Pharmaceutica Inc. n/k/a Janssen Pharmaceuticals,

Inc., Endo Health Solutions Inc., Endo Pharmaceuticals, Inc., Allergan PLC f/k/a

Actavis PLC, Allergan Finance, LLC f/k/a Actavis, Inc. f/k/a Watson

Pharmaceuticals, Inc., Watson Laboratories, Inc., Actavis LLC, Actavis Pharma,

Inc.   f/k/a   Watson    Pharma,     Inc.,   AmerisourceBergen     Corporation,



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AmerisourceBergen Drug Corporation, Cardinal Health, Inc., Cardinal Health 110,

LLC, McKesson Corporation, CVS Health Corporation, CVS Indiana, L.L.C., CVS

Pharmacy, Inc., and Does 1 – 100, alleges as follows:

                                      I.      INTRODUCTION

        1.       The United States is in the midst of an opioid epidemic caused by

Defendants’ fraudulent marketing, sales, and distribution of prescription opioids

(“opioids”) that has resulted in addiction, criminal activity, and loss of life.1

Americans “consume 85% of all the opioids in the world” and are “the most

medicated country in the world….”2 The opioid crisis has been described as “the

AIDS epidemic of our generation, but even worse.”3 On October 26, 2017, President

Donald Trump “declared a nationwide public health emergency to combat the opioid

crisis.”4

        2.       In 1997, each person in the United States, on average, consumed 96 mg

morphine equivalents. In 2010 that number increased to 710 mg per person.5 This

amount has been estimated as the equivalent to 7.1 kg of opioids per 10,000 people




1
  L. Manchikanti, Opioid Epidemic in the United States, Pain Physician, Jul. 2012, at 1,
www.painphysicianjournal.org, attached hereto as Exhibit A.
2
  David Wright, Christie on Opioids: “This is the AIDS Epidemic of Our Generation, but even Worse,” CNN, Oct.
27, 2017, available at http://www.cnn.com/2017/10/27/politics/chris-christie-opioid-commission-aids-
cnntv/index.html; Manchikanti, Ex. A, at 16 (“Gram for gram, people in the United States consume more narcotic
medication than any other nation worldwide.”).
3
  Wright, supra.
4
  Dan Merica, What Trump’s Opioid Announcement Means – and Doesn’t Mean, CNN, Oct. 26, 2017, available at
http://www.cnn.com/2017/10/26/politics/national-health-emergency-national-disaster/index.html.
5
  Manchikanti, Ex. A, at 14.



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– or enough to supply each American with 5 mg of hydrocodone every 6 hours for

45 days.6

        3.       It’s no surprise that in 2016 alone, health care providers wrote more

than 289 million prescriptions for opioids, enough for every adult in the United

States to have more than one bottle of pills.7

        4.       Unfortunately, using opioids too often leads to addiction and overdose

from opioids. It was estimated as early as 2001 that up to 40% of chronic pain

patients were addicted to opioid pain medication. 8 Almost 2 million Americans were

addicted to opioids in 2014.9 To put the opioid crisis in perspective, the statistics

demonstrate:

                 · Roughly 21 to 29 percent of patients prescribed opioids for chronic
                   pain misuse them;

                 · Between 8 and 12 percent develop an opioid use disorder; and

                 · About 80 percent of people who use heroin first misused
                   prescription opioids.10

        5.       From 1999 to 2017, more than 700,000 people have died from a drug

overdose; around 68% of the more than 70,200 drug overdoses in 2017 involved an

opioid.11 In 2017, the number of overdose deaths involving opioids was 6 times


6
  Id.
7
  Prevalence of Opioid Misuse, BupPractice, Sept. 7, 2017, available at https://www.buppractice.com/node/15576.
8
  Prescription Drugs: Abuse and Addiction, National Institute of Drug Abuse (NIH Publication), Jul. 2001, at 13.
9
  National Survey on Drug Use and Health, Substance Abuse and Mental Health Services Administration, 2014.
10
   Opioid Overdose Crisis, National Institute on Drug Abuse, Jan. 2018, available at
https://www.drugabuse.gov/drugs-abuse/opioids/opioid-overdose-crisis.
11
   https://www.cdc.gov/drugoverdose/epidemic/index.html



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higher than in 1999.12 Currently, on average, 130 Americans die every day from an

opioid overdose.13

        6.       The Opioid Epidemic proximately caused by the Defendants is so

pervasive that the lifetime risk of dying from an accidental overdose of opioids

exceeds the risk of dying from motor vehicle accidents, drowning, or fire.14

        7.       In fact, accidental drug overdose deaths, of which reportedly at least

two-thirds are opioid overdoses, are the leading cause of death for Americans under

the age of 50. And these accidental opioid drug overdose deaths exceed the number

of deaths caused by cars or guns. A report from the CDC found that from July 2016

to September 2017, emergency visits due to suspected opioid overdoses continued

to climb approximately 30% across the nation.15 The increase was seen in adults of

all age groups and in men and women in all geographic areas.16

        8.       The Cities and Counties are responsible for programs and services that

require Plaintiffs to expend resources generated through state and federal aid,

property taxes, fees and other permissible revenue sources; and provide programs

and services such as the City-County Health Department and Court Services, which




12
   Id.
13
   Id.
14
   Flower, K., Senthilingam, M. (2019, Jan. 14). Odds of Dying from Accidental Opioid Overdose in the US Surpass
Those of Dying in a Car Accident. CNN. https://www.cnn.com/2019/01/14/health/opioid-deaths-united-states-
surpass-road-accidents/index.html
15
   Jacqueline Howard, ER Visits for Opioid Overdose up 30%, CDC Study Finds, CNN, Mar. 6, 2018.
16
   Id.



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become more burdened every year due to the costs associated with providing the

programs and services to deal with the opioid abuse.

        9.       Plaintiffs’ ability to generate revenue through property taxes is limited

by state law. However, the Cities’ and Counties’ expenditures addressing,

combating, and otherwise trying to deal with opioid abuse are monies that cannot be

used for other important programs and services that the Cities and Counties provide

to its citizens, residents and visitors.

        10.      Over the next decade, the average number of deaths due to opioids is

expected to be 500,000.17 Proof that the opioid epidemic is far from slowing is the

latest statistic that approximately 72,000 Americans died from drug overdoses last

year in 2017.18 This increase is due to a growing number of Americans using opioids

and the opioids themselves are becoming more deadly.19 The economic burden

caused by opioid abuse in the United States is at least $78.5 billion,20 including lost

productivity and increased social services, health insurance costs, increased criminal




17
   Max Blau, STAT forecast: Opioids Could Kill Nearly 500,000 American in the next Decade, STAT, June 27,
2017, available at https://www.statnews.com/2017/06/27/opioid-deaths-forecast/; see also Wes Rapaport,
Advocates for Painkiller Advocates Wants Society to Meet Them Halfway, Big Country, Feb. 18, 2018 (stating the
number of opioid overdose deaths is going to go up for at least several more years and explaining how Operation
Naloxone has administered more than $1 million of the powerful antidote).
18
   Margot Sanger-Katz, Bleak New Estimates in Drug Epidemic: A Record 72,000 Overdose Deaths in 2017, The
New York Times, Aug. 15, 2018, https://www.nytimes.com/2018/08/15/upshot/opioids-overdose-deaths-rising-
fentanyl.html (representing a 9.5 percent increase from 2016).
19
   Id.
20
   CDC Foundation’s New Business Pulse Focuses on Opioid Overdose Epidemic, Centers for Disease Control and
Prevention, Mar. 15, 2017, available at https://www.cdc.gov/media/releases/2017/a0315-business-pulse-
opioids.html.



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justice presence and strain on judicial resources, and substance abuse treatment and

rehabilitation.21

        11.      This epidemic did not occur by chance. Defendants manufacture,

market, distribute, and sell prescription opioids, including but not limited to, brand-

name drugs like OxyContin, Opana, Percocet, Percodan, Duragesic, Ultram,

Ultracet,      and      generics       like     oxycodone,          oxymorphone,            hydromorphone,

hydrocodone, fentanyl, and tramadol, which are powerful narcotics.

        12.      Historically, opioids were considered too addictive and debilitating for

treating non-cancer chronic pain,22 such as back pain, migraines, and arthritis, and

were used only to treat short-term acute pain or for palliative or end-of-life care.

        13.      By the late 1990s or early 2000s, however, each Manufacturing

Defendant began a marketing scheme to persuade doctors and patients that opioids

were not addictive and should be used ubiquitously and perpetually to treat

moderate, non-cancer chronic pain.23 Defendants’ efforts to “increase opioid use”

and their campaign emphasizing “the alleged undertreatment of pain continue to be

significant factors of the [opioid] escalation.”24 Defendants reassured the medical

community that opioids were not addictive and doctors prescribed them at a higher


21
   Opioid Overdose Crisis, supra.
22
   “Chronic pain” means non-cancer pain lasting three months or longer.
23
   See e.g., Opioid Overdose Crisis, National Institute on Drug Abuse, Jan. 2018, available at
https://www.drugabuse.gov/drugs-abuse/opioids/opioid-overdose-crisis (explaining the greater rate of prescribing
opioids due to misinformation to physicians, which led to a diversion and misuse of opioids before anyone knew
opioids were highly addictive).
24
   Manchikanti, Ex. A, at 1.



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rate.25 Consequently, the National Institute of Drug Abuse attributes the opioid crises

to Defendants’ successful marketing campaign.26 Each Manufacturing Defendant

spent, and continues to spend large sums of money to promote the benefits of opioids

for non-cancer moderate pain while trivializing or even denying their risks.

        14.     The Manufacturing Defendants’ promotional messages deviated

substantially from any approved labeling of the drugs and caused prescribing

physicians and consuming patients to underappreciate the health risks, and to

overestimate the benefits of opioids.

        15.     Contrary to the language of their drugs’ labels, Defendants falsely and

misleadingly, in their marketing: (1) downplayed the serious risk of addiction; (2)

promoted and exaggerated the concept of “pseudoaddiction” thereby advocating that

the signs of addiction should be treated with more opioids; (3) exaggerated the

effectiveness of screening tools in preventing addiction; (4) claimed that opioid

dependence and withdrawal are easily managed; (5) denied the risks of higher opioid

dosages; and (6) exaggerated the effectiveness of “abuse-deterrent” opioid

formulations to prevent abuse and addiction.

        16.     Manufacturing Defendants disseminated these falsehoods through ads,

sales representatives, and/or hand-picked physicians who supported Defendants’



25
   CDC/NCHS, National Vital Statistics System, Mortality, CDC Wonder, Atlanta, Ga: US Department of Health
and Human Services, 2017, available at https://wonder.cdc.gov.
26
   See id.



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message. Sales representatives, working at Manufacturing Defendants’ behest,

promoted highly addictive opioids through souvenirs and toys including, but not

limited to, opioid brand-bearing stuffed plush toys, dolls, coffee cups, fanny packs,

water bottles, notepads, pens, refrigerator magnets, clocks, letter openers, rulers,

daytime planners, bags, puzzles, posters, hand-held calculators, clipboards,

highlighters, flashlights, key chains, clothing, reflex mallets, and mock-ups of the

United States Constitution.

      17.    Defendants also used third parties they controlled by: (a) funding,

assisting, encouraging, and directing doctors, known as “key opinion leaders”

(“KOLs”) and (b) funding, assisting, directing, and encouraging seemingly neutral

and credible professional societies and patient advocacy groups (referred to

hereinafter as “Front Groups”).

      18.    Manufacturing Defendants worked with KOLs and Front Groups to

taint the sources that doctors and patients relied on for ostensibly “neutral” guidance,

such as treatment guidelines, Continuing Medical Education (“CME”) programs,

medical conferences and seminars, and scientific articles. Through their individual

and concerted efforts, Defendants convinced doctors that instead of being addictive

and unsafe for long-term use in most circumstances, opioids were required in the

compassionate treatment of chronic pain, which Defendants termed an epidemic in

America.



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        19.      Manufacturing Defendants’ aggressive marketing of opioids for chronic

pain is “based on unsound science and blatant misinformation, and accompanied by

the dangerous assumptions that opioids are highly effective and safe, and devoid of

adverse events when prescribed by physicians.”27 Nevertheless, Defendants’

marketing was effective and, by 2011, there were 136.7 million prescriptions for

hydrocodone alone, with all opioids exceeding 238 million.28 Data demonstrates that

“[o]ver 90% of patients received opioids for chronic pain management.”29

        20.      Essentially each Defendant ignored science and consumer health for

profits. Defendants’ efforts were so successful that opioids are now the most

prescribed class of drugs generating $11 billion in revenue for drug companies in

2014 alone. Sales for Purdue’s OxyContin grew from $48 million in 1996 to $1.1

billion in 2000 after it successfully and aggressively marketed and promoted its

opioid.30 In fact, OxyContin was a “leading drug of abuse” by 2004 through its

availability.31 Even after Purdue reached a $600 million federal settlement in 2007,

the settlement failed to impact what is a “$13-billion-a-year opioid industry.”32




27
   Manchikanti, Ex. A, at 1-4.
28
   Id.
29
   Id. at 19.
30
   Art Van Zee, M.D., The Promotion and Marketing of OxyContin: Commercial Triumph, Public Health Tragedy,
99 Am. J. Public Health 221, Feb. 2009, at 1, attached hereto as Exhibit B.
31
   Zee, supra.
32
   Rebecca L. Haffajee, J.D., Ph.D., M.P.H. and Michelle M. Mello, J.D., Ph.D., Drug Companies’ Liability for the
Opioid Epidemic, N. Engl. J. Med., Dec. 14, 2017, at 2305.



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        21.      Defendants’ efforts to promote prescription opioids to consumers as

being more effective and less dangerous than they genuinely are has worked all too

well. Even today, most parents surveyed believe that prescription opioids are the

best post-surgical pain treatment for their kids when in fact, prescription opioids are

the most addictive option and work no better in easing post-surgical pain than a

number of safer treatments.33

        22.      The Distributor Defendants were not standing by idly while Marketing

Defendants were peddling their opioids to physicians and consumers. Cardinal,

AmerisourceBergen, and McKesson (“Distributor Defendants”) are three of the

largest opioid distributors in the United States. Distributor Defendants purchased

opioids from Manufacturing Defendants herein and sold them to pharmacies

throughout the Cities and Counties. Distributor Defendants function as “trusted

partners” with Manufacturing Defendants in maximizing market share and success

of pharmaceutical products. AmerisourceBergen states on its website that it is “[a]

trusted partner [to manufacturers] in the commercialization process” and works with

manufacturers “to optimize each stage − and each decision − along the product

lifecycle.”34 McKesson claims that it works in partnership with manufacturers “to



33
   The American Society of Anesthesiologists. (2019, Jan. 27). Parents worried about risks, but still think opioids
are best for kids’ pain relief, nationwide survey shows. https://www.asahq.org/about-asa/newsroom/news-
releases/2019/01/physaneswk19-news-release.
34
   AmerisourceBergen, “Brand and Specialty Manufacturer Solutions,”
https://www.amerisourcebergen.com/abcnew/solutions-manufacturers/brand-and-specialty.



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develop, market, and deliver pharmaceuticals to patients.”35 In fact, McKesson

claims that its “health care informatics expertise” allows it to provide manufacturers

with “painstaking market research” to help manufacturers develop and refine their

“product launch and market penetration strategy.”36 Cardinal Heath likewise

advertises itself as a “consultative partner” to pharmaceutical manufacturers.37

        23.      Distributor Defendants promote themselves as partners and resources

for pharmaceutical manufacturers in “pharmacovigilance,” representing that they

can “detect, assess, and monitor [ ] therapies throughout the patient journey.”38

Distributor Defendants like Cardinal Health provide Risk Evaluation and Mitigation

Strategy (REMS) programs that “design [ ] and maintain [ ] registries of prescribers,

pharmacies, distributors, and patients” and “assess [whether] patients are receiving

and understanding medication guides.”39 Cardinal Health even advertises that it can

help pharmaceutical manufacturers “ensure the highest level of patient touch by

providing high-quality clinical services during therapy.”40 These Risk Evaluation


35
   McKesson, “Pharmaceutical Manufacturers: Better Partnerships, Better Heath,”
http://www.mckesson.com/pharmaceutical-manufacturers/.
36
   McKesson, “Health Care Informatics for Manufacturers,” http://www.mckesson.com/manufacturers/health-care-
informatics/.
37
   Cardinal Health, Pharmaceutical Manufacturer, http://www.cardinalhealth.com/en/services/manufacturer/pharma-
manufacturer.html.
38
   Cardinal Health, Pharmacovigilance and Medical Information,
http://www.cardinalhealth.com/en/services/manufacturer/pharma-manufacturer/cardinal-health-specialty-
solutions/patient-solutions/access-and-patient-support/access-and-adherence/pharmacovigilance.html.
39
   Cardinal Health, Risk Evaluation and Mitigation Strategy: Ensure the Specific Safety Needs of Your Therapy Are
Met, http://www.cardinalhealth.com/en/services/manufacturer/pharma-manufacturer/cardinal-health-specialty-
solutions/patient-solutions/access-and-patient-support/access-and-adherence/rems.html.
40
   Cardinal Health, Patient Centric Clinical Solutions,
http://www.cardinalhealth.com/en/services/manufacturer/pharma-manufacturer/cardinal-health-specialty-
solutions/patient-solutions/access-and-patient-support/access-and-adherence/clinical-services.html.



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and Mitigation Strategies require, among other things, that the Distributor

Defendants provide through the chain of distribution a plain-English medication

guide delivered to each patient that describes the serious risks of taking the

prescription drug. This duty of the Distributor Defendants is not mitigated by the

prescribing doctor.

        24.      Distributor Defendants have acknowledged and undertaken a duty to

prevent prescription drug diversion and abuse based on their unique role in the

opioid supply chain.41 Distributor Defendants laud on their website their ability to

detect and prevent                prescription drug             diversion to           improper purposes.

AmerisourceBergen claims it uses “complex algorithms [that] identify and stop

orders that are deemed to be suspicious.”42 And Cardinal Health claims it uses a

“state-of-the-art, constantly adaptive system to combat opioid diversion.”43

        25.      Despite the alarming and suspicious rise in the number of opioids

ordered by retailers in the Cities and Counties and Distributor Defendants self-

claimed duty to stop suspicious opioid orders, Distributor Defendants simply

continued to flood of opioids into the Cities and Counties. In continuing to



41
   Charles Ornstein, Drug Distributors Penalized for Turning Blind Eye in Opioid Epidemic, APR, Health News, Jan.
27, 2017; Letter from Pete Slone, Senior Vice President, Public Affairs, of McKesson, to The Honorable Chris Christie
dated October 31, 2017; AmerisourceBergen Foundation, AmerisourceBergen Foundation Launches Municipal
Support Program to Help Combat Opioid Abuse, Dec. 14, 2017 press release; Cardinal Health, Cardinal Health’s
Commitment to Opioid Anti-Diversion, Education and Misuse Prevention, www.cardinalhealth.com; Cardinal Health,
No Demographic Group, supra..
42
   Id.
43
   Cardinal Health, Opioid Action Program: Reclaiming our Communities, www.cardinalhealth.com.



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oversupply opioids in the Cities and Counties, Distributor Defendants put their

partnership with pharmaceutical manufacturers − to increase market penetration −

above their obligations to secure the opioid supply claim. Manufacturing Defendants

and Distributor Defendants worked hand and glove to glut the Cities and Counties

with more opioids than could possibly be consumed for therapeutic purposes,

resulting in an opioid prescription rate in the Cities and Counties that remains well

above the already insupportable national rate. Each Defendant disregarded its legal

duty to ensure that not only that opioids were safe and effective, but that they were

being prescribed for a valid medical purpose.

      26.    Pharmacy Defendant CVS acted as both a distributor and pharmacy.

CVS played a dual role in creating this epidemic. Its operations distributed the

opioids through its vast networks to their pharmacies, or pharmacy mailing

distribution centers, and then dispensed the drugs to its customers either through

delivery or over the pharmacy counter. CVS was well-positioned to see how

widespread the problem was and the inordinate amount of opioids flooding the Cities

and Counties and point of first injury. CVS also had a duty under state and federal

law to report any suspected diversions of opioids.

      27.    As   a   direct   and   foreseeable     consequence   of   Defendants’

misrepresentations and misleading marketing campaign to the Cities and Counties

physicians and residents regarding the safety and efficacy of using opioids for



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chronic non-cancer pain that resulted in an oversupply of opioids, the Cities and

Counties have spent and continue to spend large sums of money combatting the

public health crisis.

      28.    The money the Cities and Counties have spent comes directly from its

taxpayers. These taxpayers include physicians in the Cities and Counties, who

passed on Defendants’ misleading safety and efficacy information and prescribed

more opioids to taxpaying residents in the Cities and Counties. These taxpayers also

included Plaintiffs’ residents who either suffered the addictive effects of consuming

opioids or overdosed using Defendants’ opioids that had been over-prescribed and

over-supplied to the Cities and Counties as intended by Defendants herein. Thus,

this group of Plaintiffs’ residents have suffered not only injury to property, but also

bodily injury, as a result of Defendants’ misconduct in the false promotion and/or

over-supply of prescription opioids.

      29.    The Cities and Counties have spent and continue to spend large sums

of money combatting the opioid crisis created by Defendants’ negligent and

fraudulent marketing campaign. Across the country, including Montana, increased

opioid prescribing has caused and continues to cause an increase in overdoses and

death. Defendants tracked the CDC data and knew that the more they promoted

opioid prescribing and distributed more opioids that non-therapeutic outcomes, such

as overdose, addiction, and criminality would occur. By 2010, enough opioids had



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been sold to medicate every American adult with a typical dose of 5 mg of

hydrocodone every 4 hours for 1 month.44 The increased use of opioids has

contributed to the increased rate of overdose deaths and nonmedical use with the

varying rates of sales in each state impacting the outcomes in each state.45 “Given

that 3% of physicians accounted for 62% of the [opioids] prescribed in one study,

the proliferation of high-volume prescribers can have a large impact on state use of

[opioids] and overdose death rates.”46 Not surprisingly, “[l]arge increases in

overdoses involving the types of drugs sold by illegitimate pain clinics (i.e., ‘pill

mills’) have been reported in Florida and Texas.”47 In the City of Great Falls, which

is located in Cascade County, the prescription rate per 100 people in 2016 was 97.2,

which means that almost every man, woman, and child in the County could have had

at least one bottle of opioids.48 And in 2016, there were approximately 18 – 19.9

deaths per 100,000 people reported from drug overdoses.49 In Anaconda-Deer Lodge

County, the prescription rate per 100 people in 2016 was 96, which means that

almost every man, woman, and child could have had at least one bottle of opioids.50

In 2016, there were over 30 deaths per 100,000 people reported from drug overdoses



44
   Center for Disease Control, Vital Signs: Overdoses of Prescription Opioid Pain Relievers – United States, 1999-
2008, Morbidity and Mortality Weekly Report (MMWR), Nov. 4, 2011.
45
   Id.
46
   Id.
47
   Id.
48
   Center for Disease Control, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html.
49
   Center for Disease Control, available at https://www.cdc.gov/nchs/data-visualization/drug-poisoning-mortality.
50
   Center for Disease Control, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html.



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in Anaconda-Deer Lodge County.51 In Lake County, thousands of prescriptions were

written for opioids from 2015 – 2016,52 and from 2015 - 2016, there were 24 – 25.9

deaths per 100,000 people reported from drug overdoses in Lake County. 53 In the

City of Missoula, which is located in Missoula County, thousands of prescriptions

were written for opioids from 2015 – 2016,54 and from 2015 - 2016, there were 18 –

19.9 deaths per 100,000 people reported from drug overdoses.55 A substantial

number of those overdose deaths in the Cities and Counties were a result, in whole

or in part, of opioid ingestion. Defendants’ marketing misconduct, as well as

Defendants’ efforts to sell more prescription opioids than can be consumed

therapeutically, were natural and foreseeable causes of overdose deaths and injuries

in the Cities and Counties.

        30.      But for Defendants’ deceptive marketing scheme that changed the way

physicians prescribe opioids, coupled with the systemic undermining of quotas and

institutional controls as well as the failure to report suspicious orders by both the

Marketing and Distributor Defendants, the number of opioids would not have tripled

or quadrupled thereby directly giving rise to the opioid epidemic – the costs of which

have resulted in Plaintiffs’ alleged injuries.


51
   Center for Disease Control, available at https://www.cdc.gov/nchs/data-visualization/drug-poisoning-mortality.
52
   https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html; https://www.cdc.gov/nchs/data-visualization/drug-
poisoning-mortality.
53
   Center for Disease Control, available at https://www.cdc.gov/nchs/data-visualization/drug-poisoning-mortality.
54
   https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html; https://www.cdc.gov/nchs/data-visualization/drug-
poisoning-mortality.
55
   Center for Disease Control, available at https://www.cdc.gov/nchs/data-visualization/drug-poisoning-mortality.



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      31.    As a direct and foreseeable consequence of Defendants’ conduct

described regarding prescription opioids, Plaintiffs have committed and continue to

commit resources to provide and pay additional health care, law enforcement, social

services, public assistance, pharmaceutical care and other services necessary for its

residents.

                         II. VENUE AND JURISDICTION

      32.    Venue is proper in the United States District Court for the District of

Montana, Great Falls Division, because a substantial part of the events or omissions

giving rise to this claim occurred in the City of Great Falls. Mont. Code Ann. §§25-

2-122(1)(b); 25-2-115.

      33.    Federal subject matter jurisdiction is based upon 28 U.S.C. § 1332

because there is complete diversity among Plaintiffs and Defendants in each of the

constituent actions and the amount in controversy exceeds $75,000, exclusive of

interest and costs.

      34.    The Court has specific jurisdiction over all Defendants as their

activities were directed toward Montana, and injuries complained of herein resulting

from their activities. Mont. R. Civ. P. 4B(1). Each Defendant has a substantial

connection with Montana and the requisite minimum contacts with Montana

necessary to constitutionally permit the Court to exercise jurisdiction. See id.




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                                   III. PARTIES

A.    Plaintiffs

      35.    This action is brought for and on behalf of the City of Great Falls,

Montana, which provides a wide range of services on behalf of its residents,

including services for families and children, public health, public assistance, law

enforcement, and emergency care.

      36.    This action is brought for and on behalf of the County of Anaconda-

Deer Lodge, Montana, which provides a wide range of services on behalf of its

residents, including services for families and children, public health, public

assistance, law enforcement, and emergency care.

      37.    This action is brought for and on behalf of the County of Lake,

Montana, which provides a wide range of services on behalf of its residents,

including services for families and children, public health, public assistance, law

enforcement, and emergency care.

      38.    This action is brought for and on behalf of the City of Missoula,

Montana, which provides a wide range of services on behalf of its residents,

including services for families and children, public health, public assistance, law

enforcement, and emergency care.




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B.    Defendants

      39.    PURDUE PHARMA L.P. is a limited partnership organized under the

laws of Delaware with its principal place of business in Stamford, Connecticut.

PURDUE PHARMA INC. is a New York corporation with its principal place of

business in Stamford, Connecticut. THE PURDUE FREDERICK COMPANY is a

Delaware corporation with its principal place of business in Stamford, Connecticut

(Purdue Pharma L.P., Purdue Pharma Inc., and The Purdue Frederick Company are

hereinafter referred to as “Purdue”).

      40.    Upon information and belief, Purdue manufactures, promotes, sells, and

distributes opioids in the U.S. and the Cities and Counties. Purdue’s opioid drug,

OxyContin, is one of the most addictive and abused prescription drugs in American

history. Purdue has promoted opioids throughout the United States and in the Cities

and Counties.

      41.    CEPHALON, INC. (hereinafter “Cephalon”) is a Delaware corporation

with its principal place of business in Frazer, Pennsylvania. Upon information and

belief, Cephalon, Inc. manufactures, promotes, sells, and distributes opioids in the

U.S. and in the Cities and Counties.

      42.    JANSSEN      PHARMACEUTICALS,            INC.    is   a   Pennsylvania

corporation with its principal place of business in Titusville, New Jersey. JANSSEN

PHARMACEUTICALS, INC. is a wholly owned subsidiary of JOHNSON &



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JOHNSON. JOHNSON & JOHNSON (“J&J”) is a New Jersey corporation with its

principal place of business in New Brunswick, New Jersey. ORTHO-MCNEIL-

JANSSEN       PHARMACEUTICALS,            INC.,     now    known      as    JANSSEN

PHARMACEUTICALS, INC., is a Pennsylvania corporation with its principal place

of business in Titusville, New Jersey. JANSSEN PHARMACEUTICA INC., now

known as JANSSEN PHARMACEUTICALS, INC., is a Pennsylvania corporation

with its principal place of business in Titusville, New Jersey. J&J is the only

company that owns more than 10% of Janssen Pharmaceuticals’ stock, and

corresponds with the FDA regarding Janssen’s products. Upon information and

belief, J&J controls the sale and development of Janssen Pharmaceuticals’ drugs and

Janssen’s profits inure to J&J’s benefit (Janssen Pharmaceuticals, Inc., Ortho-

McNeil-Janssen Pharmaceuticals, Inc., Janssen Pharmaceutica, Inc., and J&J are

hereinafter referred to as “Janssen”).

      43.    Upon information and belief, Janssen manufactures, promotes, sells,

and distributes opioids in the U.S. and in the Cities and Counties.

      44.    ENDO HEALTH SOLUTIONS INC. is a Delaware corporation with its

principal    place    of    business     in   Malvern,      Pennsylvania.     ENDO

PHARMACEUTICALS, INC., a wholly owned subsidiary of ENDO HEALTH

SOLUTIONS INC., is a Delaware corporation with its principal place of business in




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Malvern, Pennsylvania. (Endo Health Solutions Inc. and Endo Pharmaceuticals, Inc.

are hereinafter referred to as “Endo”).

      45.    Upon information and belief, Endo develops, markets, and sells opioid

drugs in the U.S. and in the Cities and Counties. Endo also manufactures, sells, and

distributes generic opioids in the U.S. and the Cities and Counties, by itself and

through its subsidiary, Par Pharmaceutical, Inc., successor-by-merger to Qualitest

Pharmaceuticals, Inc.

      46.    ALLERGAN PLC is a public limited company incorporated in Ireland

with its principal place of business in Dublin, Ireland. ACTAVIS PLC acquired

Allergan plc in March 2015, and the combined company changed its name to

Allergan plc in January 2013. Before that, WATSON PHARMACEUTICALS, INC.

acquired ACTAVIS, INC. in October 2012, and the combined company changed its

name to ALLERGAN FINANCE, LLC as of October 2013. WATSON

LABORATORIES, INC. is a Nevada corporation with its principal place of business

in Corona, California, and is a wholly owned subsidiary of Allergan plc f/k/a Actavis

plc. ACTAVIS LLC is a Delaware limited liability company with its principal place

of business in Parsippany, New Jersey. ACTAVIS PHARMA, INC. f/k/a WATSON

PHARMA, INC. is a Delaware corporation with its principal place of business in

New Jersey. Each of these defendants is owned by Allergan plc, which uses them

to market and sell its drugs in the United States (Allergan plc f/k/a Actavis plc,



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Allergan Finance, LLC f/k/a Actavis, Inc. f/k/a Watson Pharmaceuticals, Inc.,

Watson Laboratories, Inc., Actavis LLC, and Actavis Pharma, Inc. f/k/a Watson

Pharma, Inc. are hereinafter referred to as “Actavis”).

       47.   Upon information and belief, Allergan plc exercises control over these

marketing and sales efforts and profits from the sale of Allergan/Actavis products

ultimately inure to its benefit. Actavis acquired the rights to Kadian from King

Pharmaceuticals, Inc. on December 30, 2008, and began marketing Kadian in 2009.

       48.   Upon information and belief, Actavis manufactures, promotes, sells,

and distributes opioids in the U.S. and in the Cities and Counties.

       49.   AMERISOURCEBERGEN               CORPORATION         is   a   Delaware

corporation with its principal place of business in Chesterbrook, Pennsylvania.

AMERISOURCEBERGEN DRUG CORPORATION is a Delaware corporation

with   its   principal   place   of   business   in   Conshohocken,   Pennsylvania

(AmerisourceBergen Corporation and AmerisourceBergen Drug Corporation are

hereinafter referred to as “Amerisource”).

       50.   Upon information and belief, Amerisource does substantial business in

Montana and is a pharmaceutical distributor licensed to do business in Montana.

Amerisource distributes pharmaceuticals to retail pharmacies and institutional

providers to customers in all 50 states, including Montana and the Cities and

Counties.



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      51.     CARDINAL HEALTH, INC. is an Ohio corporation with its principal

place of business in Dublin, Ohio. CARDINAL HEALTH 110, LLC, a wholly-

owned subsidiary of CARDINAL HEALTH, INC., is a Delaware limited liability

company with its principal place of business in Dublin, Ohio (Cardinal Health, Inc.

and Cardinal Health 110, LLC are hereinafter referred to as “Cardinal”).

      52.     Upon information and belief, Cardinal does substantial business in

Montana and is a pharmaceutical distributor licensed to do business in Montana.

Cardinal distributes pharmaceuticals to retail pharmacies and institutional providers

to customers in all 50 states, including Montana and the Cities and Counties.

      53.     MCKESSON CORPORATION (hereinafter “McKesson”) is a

Delaware corporation with its principal place of business in San Francisco,

California.

      54.     Upon information and belief, McKesson is a pharmaceutical distributor

licensed to do business in Montana. McKesson distributes pharmaceuticals to retail

pharmacies and institutional providers in all 50 states, including Montana and the

Cities and Counties.

      55.     CVS HEALTH CORPORATION is a Delaware corporation with its

principal place of business in Woonsocket, Rhode Island. CVS INDIANA, L.L.C.,

a wholly owned subsidiary of CVS HEALTH CORPORATION, is an Indiana

limited liability company with its principal place of business in Woonsocket, Rhode



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Island. CVS PHARMACY, INC., a wholly owned subsidiary of CVS HEALTH

CORPORATION, is a Rhode Island corporation with its principal place of business

in Woonsocket, Rhode Island (CVS Health Corporation, CVS Indiana, L.L.C., and

CVS Pharmacy, Inc. are hereinafter referred to as “CVS”).

      56.    Upon information and belief, CVS is a pharmaceutical distributor

licensed to do business in Montana. CVS distributes pharmaceuticals to retail

pharmacies and institutional providers in all 50 states, including Montana and the

Cities and Counties.

      57.    The Cities and Counties lack information sufficient to specifically

identify the true names or capacities, whether individual, corporate or otherwise, of

Defendants sued herein under the fictitious names DOES 1 through 100 inclusive.

The Cities and Counties will amend this Complaint to show their true names and

capacities if and when they are ascertained. The Cities and Counties are informed

and believe, and on such information and belief allege, that each of the Defendants

named as a DOE has engaged in conduct that contributed to cause events and

occurrences alleged in this Complaint and, as such, shares liability for at least some

part of the relief sought herein.

                          IV. FACTUAL ALLEGATIONS

      58.    Before the 1990s, generally accepted standards of medical practice

dictated that opioids should be used only for short-term acute pain – pain relating to



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recovery from surgery or for cancer or palliative (end-of-life) care. Using opioids

for chronic pain was discouraged or even prohibited because there was a lack of

evidence that opioids improved patients’ ability to overcome pain and function.

Instead the evidence demonstrated that patients developed tolerance to opioids over

time, which increased the risk of addiction and other side effects.

        59.      After the 1990s, Defendants dramatically changed doctors’ views

regarding opioids through a well-funded deceptive marketing scheme. Defendants

were so successful that, according to the National Safety Council, 74% of all doctors

prescribe opioids for chronic back pain and 55% prescribe opioids for dental pain,

“neither of which is appropriate in most cases.”56 And 99% of doctors are

prescribing them for longer than the three-day recommended period as

recommended by the CDC.57 Twenty-three percent prescribe at least a month’s

worth of opioids and evidence shows that just 30 days of usage can cause brain

damage.58

        60.      Each Defendant used direct marketing and unbranded advertising (i.e.,

advertising that promotes opioid use generally but does not name a specific opioid)

disseminated by seemingly independent third parties to spread false and deceptive



56
   National Safety Council, NSC Poll: 99% of Doctors Prescribe Highly-Addictive Opioids Longer than CDC
Recommends, 2017 (The NSC was founded in 1913 and chartered by Congress and is a non-profit organization
whose mission is to save lives by preventing injuries and deaths at work, in homes, and in the communities through
leadership, research, education, and advocacy).
57
   Id.
58
   Id.



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statements about the risks and benefits of long-term opioid use. Defendants

advocated the widespread use of opioids for chronic pain even though it contravened

the “cardinal principles of medical intervention – that there be compelling evidence

of the benefit of a therapy prior to its large-scale use.”59

A.         Defendants Used Multiple Avenues to Disseminate their False and
           Deceptive Statements about Opioids.

           61.      Defendants spread their false and deceptive statements by (1) marketing

their branded opioids directly to doctors treating patients residing in the Cities and

Counties and the Cities and Counties patients themselves and (2) deploying so-called

unbiased and independent third parties to the Cities and Counties.

                    1. Defendants Spread and Continue to Spread Their False and
                       Deceptive Statements Through Direct Marketing of Their
                       Branded Opioids.

           62.      Defendants’ direct marketing of opioids generally proceeded on two

tracks. First, each Manufacturing Defendant conducted advertising campaigns

touting the purported benefits of their branded drugs. For example, Purdue spent

$200 million promoting and marketing OxyContin in various forms. 60 Defendants

spent more than $14 million on medical journal advertising of opioids in 2011,

nearly triple what they spent in 2001, including $8.3 million by Purdue, $4.9 million

by Janssen, and $1 million by Endo.


59
     Manchikanti, Ex. A, at 2.
60
     Zee, Ex. B, at 2.



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      63.    A number of Defendants’ branded ads deceptively portrayed the

benefits of opioids for chronic pain. For example, Endo distributed and made

available on its website, www.opana.com, a pamphlet promoting Opana ER with

photographs depicting patients with physically demanding jobs like a construction

worker and chef, implying that the drug would provide long-term pain-relief and

functional improvement.

      64.    Purdue also ran a series of ads, called “pain vignettes,” for OxyContin

in 2012 in medical journals. These ads featured chronic pain patients and

recommended OxyContin for each. One ad described a “54-year-old writer with

osteoarthritis of the hands” and implied that OxyContin would help the writer work

more effectively. Second, each Defendant promoted the use of opioids for chronic

pain through “detailers” – sales representatives who visited individual doctors and

medical staff in their offices – and small-group speaker programs.

      65.    Defendants devoted massive resources to direct sales contacts with

doctors. In 2014 alone, Defendants spent $154 million on detailing branded opioids

to doctors, including $108 million by Purdue, $34 million by Janssen, $13 million

by Cephalon, $10 million by Endo, and $2 million by Actavis.

      66.    Defendants sent their sales representatives to prescribers based on their

specialties and prescribing habits obtained from sales data through IMS Health.

Defendants used this data to monitor, and thereby target, specific physicians through



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the initial and renewal prescribing rates. To ensure that their sales representatives

were properly incentivized, Defendants motivated them through bonuses. In 2001,

Purdue paid $20 million in “sales incentive bonuses” to its sales representatives.61

            67.      Defendants also utilized “influence mapping” to use decile rankings or

similar breakdowns to identify high-volume prescribers. The underlying strategy

was that detailers would have the biggest sales impact on high-volume prescribers.

For example, Endo identified prescribers representing 30% of its nationwide sales

volume and planned sales visits three times per month to these physicians. These

detailers visited physicians across the nation, including physicians in the Cities and

Counties. Defendants also had access to data from IMS Health, which provides

Defendants specific details about which medications physicians prescribe and how

frequently they do so. This data was collected from more than 50% of the pharmacies

in the United States, which would inform Defendants which doctors to target to

convince them to prescribe more opioids or to start prescribing opioids instead of

the medications they had been prescribing.

            68.      Another manner in which Defendants expanded their sales was to target

prescribers in individual zip codes and local boundaries. Defendants would send a

detailer based on ease of in-person access and the likelihood of convincing the

physician to prescribe a higher number of opioids and at higher doses.


61
     Zee, Ex. B, at 2.



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        69.     As part and parcel of their detailing of opioids to physicians, Purdue

trained its sales representatives to inform physicians that the risk of addiction was

“less than one percent” even though studies demonstrated that there was a high

incidence of drug abuse associated with prescription opioid use for chronic pain.62

        70.     As Defendants’ marketing efforts grew, they targeted nurse

practitioners and physician assistants who, a 2012 Endo business plan noted, were

“share acquisition” opportunities because they were more responsive than

physicians to details and wrote most of their prescriptions without a physician

consult.

        71.     Studies demonstrate that visits from sales representatives influence the

prescribing practices of residents and physicians by curtailing the prescription of

generic drugs and rapidly expanding the prescription of new drugs, such as opioids

for chronic pain.63 In a population-based county-level analysis of drug company

marketing of prescription opioids – a study which included all U.S. counties – the

marketing of opioid products to physicians was associated with both increased

opioid prescribing and elevated mortality from overdoses.64 (Emphasis added.)




62
   Zee, Ex. B, at 3.
63
   Id. at 6.
64
   Hadland, S.E., Rivera-Aguirre, A., Marshall, B.D.L., Cerdá, M. (Jan. 2019). Association of Pharmaceutical
Industry Marketing of Opioid Products with Mortality From Opioid-Related Overdoses.” The Journal of American
Medical Association (JAMA) Network Open. DOI:10.1001/jamanetworkopen.2018.6007



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        72.      Defendants also paid doctors to serve on speakers’ bureaus, to attend

programs, and for meals.65 In 2017, Dr. Hadland identified some of these payments

from pharmaceutical companies to physicians prescribing opioids.66 It was the first

time “industry payments to physicians related to opioid marketing” could be collated

because of the “Open Payments program database” authorized under the “Physician

Payments Sunshine Act.”67 Dr. Hadland explained that it was the first large-scale

examination of these payments.68

        73.      One statistic Dr. Hadland gleaned from the data is that nearly 1 in 5

family physicians in 2013, out of 108,971 active family physicians, received an

opioid-related payment.69 After culling through the Open Payments program

database, Dr. Hadland concluded that “[f]inancial transfers” from pharmaceutical

companies to physicians prescribing opioids “were substantial and widespread and

may be increasing in number and value.”70

        74.      Some of the financial transfers most likely involved speaker programs,

which provided: (1) an incentive for doctors to prescribe a particular opioid (so they

might be selected to promote the drug); (2) recognition and compensation for the

doctors selected as speakers; and (3) an opportunity to promote the drug through the


65
   See Scott E. Hadland, M.D., M.P.H, M.S., Industry Payments to Physicians for Opioid Products, 2013-2015, 107
Am. J of Pub. Health 9, Sept. 2017, attached hereto as Exhibit C.
66
   See id. at 1493.
67
   Id.
68
   Id. at 1495.
69
   Hadland, Ex. C, at 1494.
70
   Id. at 1495.



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speaker to his or her peers. These speakers gave the false impression that they were

providing unbiased and medically accurate presentations when they were, in fact,

presenting a script prepared by Defendants. On information and belief, these

presentations conveyed misleading information, omitted material information, and

failed to correct Defendants’ prior misrepresentations about the risks and benefits of

opioids.

         75.   Defendants employed the same marketing plans, strategies, and

messages in and around the Cities and Counties in Montana, as they did nationwide.

Across the pharmaceutical industry, “core message” development is funded and

overseen on a national basis by corporate headquarters. This comprehensive

approach ensures that Defendants’ messages are accurately and consistently

delivered across marketing channels and in each sales territory. Defendants consider

this high level of coordination and uniformity crucial to successfully marketing their

drugs.

               2. Defendants Used a Diverse Group of Seemingly Independent
                  Third Parties to Spread False and Deceptive Statements about
                  the Risks and Benefits of Opioids.

         76.   Defendants also deceptively marketed opioids in and around the Cities

and Counties through unbranded advertising. This advertising was ostensibly created

and disseminated by independent third parties. But by funding, directing, reviewing,

editing, and distributing this unbranded advertising, Defendants controlled the



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deceptive messages disseminated by these third parties and acted in concert with

them to falsely and misleadingly promote opioids for treating chronic pain.

Unbranded advertising also avoided regulatory scrutiny because Defendants did not

have to submit it to the FDA, and therefore it was not reviewed by the FDA. But it

is illegal for a drug company to distribute materials that exclude contrary evidence

or information about the drug’s safety or efficacy that “clearly cannot be supported

by the results of the study.”71 Moreover, a drug company cannot compare or suggest

that its “drug is safer or more effective than another drug…when it has not been

demonstrated to be safer or more effective in such particular by substantial evidence

of substantial clinical experience.”72 It is therefore Defendants’ responsibility to

ensure that not only is its label accurate and complete, but that any and all materials

they distribute is accurate and complete.73

         77.      Defendants’ deceptive unbranded marketing often contradicted their

branded materials. For example, Endo’s unbranded advertising contradicted its

concurrent, branded advertising for Opana ER:

                      Pain: Opioid Therapy                   Opana ER Advertisement
                          (Unbranded)                                 (Branded)
                                                            “All patients treated with
                                                            opioids require careful

71
   21 C.F.R. § 99.101(a)(4).
72
   21 C.F.R. § 202.1 (e)(6)(ii).
73
   See 21 C.F.R. § 201.56 (providing general requirements for prescription drug labeling); 21 C.F.R.
§ 314.70(c)(6)(iii)(A-C) (providing for changes to labels that strengthen precautions, warnings, or adverse reactions,
as well as statements about drug abuse, dependence, or overdosage); see also Wyeth v. Levine, 555 U.S. 555 (2009)
(holding that a drug company bears responsibility for the content of its drug label at all times).



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                       “People who take opioids monitoring for signs of abuse
                       as prescribed usually do and addiction, since use of
                       not become addicted.”    opioid analgesic products
                                                carries the risk of addiction
                                                even under appropriate
                                                medical use.”

           78.      Drug companies that make, market, and distribute opioids are generally

subject to rules requiring truthful marketing of prescription drugs. A drug company’s

branded marketing, which identifies and promotes a specific drug, must: (a) be

consistent with its label and supported by substantial scientific evidence; (b) not

include false or misleading statements or material omissions; and (c) fairly balance

the drug’s benefits and risks.74

           79.      This framework ensures that drug companies, which are best suited to

understand the properties and effect of their drugs, bear the responsibility of

providing accurate information so that prescribers and users can assess the risks and

benefits of the drugs.

           80.      Defendants did not follow this framework in assisting, creating, and/or

distributing third-party publications that included warnings and instructions either

mandated by the FDA-required drug labels or that described the risks and benefits

known to Defendants. The publications either failed to disclose the risk of addiction

and misuse or affirmatively denied the risk of addiction. The publications also



74
     21 U.S.C. § 352(a); 21 C.F.R. §§ 1.21(a); 202.1(e)(3); 202.1(e)(6).



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“appeared” to be independent third-party materials that had the effect of carrying

more weight and credibility to convince physicians that opioids were safe for chronic

pain.

        a.    Defendants Utilized Treatment Guidelines to Promote their
              Deception.

        81.   Defendants used treatment guidelines to normalize the use of opioids

for chronic pain. Doctors, especially general practitioners and family doctors, rely

upon treatment guidelines when faced with patients complaining of chronic pain.

Scientific literature references treatment guidelines in making its conclusions and

third-party payers use treatment guidelines to determine coverage. Even Endo’s

internal documents indicate that sales representatives discussed treatment guidelines

with doctors during individual sales visits.

              1.    The FSMB Wrote or Sponsored Misleading and Deceptive
                    Guidelines.

        82.   Headquartered in Euless, Texas, the Federation of State Medical

Boards (“FSMB”) is a trade organization representing the various state medical

boards in the United States. The state boards that comprise the FSMB membership

have the power to license doctors, investigate complaints, and discipline doctors.

The FSMB finances opioid and pain-specific programs through grants from

Defendants.




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        83.     In 1998, the FSMB developed Model Guidelines for the Use of

Controlled Substances for the Treatment of Pain (“FSMB Guidelines”), which was

produced in collaboration with pharmaceutical companies. The FSMB guidelines

instructed that opioids were “essential” for the treatment of chronic pain, even as a

first prescription option.

        84.     A book adapted from the 2007 FSMB guidelines, Responsible Opioid

Prescribing: A Physician’s Guide (“Opioid Prescribing”), released March 1, 2009

makes these same claims. Opioid Prescribing was supported by a consortium of

pharmaceutical companies and Front Groups with an interest in ensuring that

“effective” pain management included the use of opioids.

        85.     The author of Opioid Prescribing, Scott Fishman, M.D., chaired the

board and was past president of the American Pain Foundation and served as

president of the American Academy of Pain Medicine and served on the board of

directors. Opioid Prescribing was sponsored by the Alliance of State Pain Initiatives,

Federation of State Medical Boards, and the University of Wisconsin School of

Medicine and Public Health.75




75
  Scott M. Fishman, M.D., Responsible Opioid Prescribing, A Physician’s Guide, FSMB Foundation, Waterford
Life Sciences, 2009.



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        86.      Dr. Fishman was a paid consultant to Cephalon and Eli Lilly. Dr.

Fishman was also a paid consultant, on the Speakers’ Bureau, and part of the

research support for Endo, Merck, Janssen, Pfizer and Purdue.76

        87.      Opioid Prescribing was designed for continued medical education

(“CME”) in which a physician had to read the book, complete questions, and fulfill

administrative steps to receive 7.5 hours of credit. The first page of Opioid

Prescribing specifically states that opioids are the “drugs of choice” and “essential

in the treatment of persons with chronic non-cancer pain” and that the CME will

inform physicians about the laws and regulations governing the prescribing of

opioids for pain control.77 It also specifically teaches physicians how to protect their

practices from unwarranted federal scrutiny.78

        88.      Opioid Prescribing marketed “[o]pioid analgesics” as the “drugs of

choice for the management of moderate to severe pain… [which] may be essential

in the treatment of persons with chronic non-cancer pain.”79 The goal was to “change

patient care, medical knowledge, practice-based learning, interpersonal and

communication skills, and professionalism….”80 The argument was that opioids

were “underutilized” despite their “effectiveness.”81 The truth, known to Dr.



76
   Fishman, supra.
77
   Id.
78
   Fishman, supra.
79
   Id. at i.
80
   Id.
81
   Id.



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Fishman and Defendants herein, was that using opioids “for other than legitimate

medical purposes pose[d] a threat to the individual and society,” posed high risks for

overdose and addiction, and remained unproven as safe and effective for the long-

term treatment of non-cancer pain.82

         89.      It was even conveyed to doctors that undertreating pain would be

officially disciplined whereas doctors prescribing opioids for chronic pain would not

be disciplined. Opioid Prescribing described a case in which a physician was sued

for “elder abuse” and the jury awarded $1.5 million to the Plaintiffs as an example

of a physician that had been “successfully sued for not treating pain aggressively.”83

Opioid Prescribing cautioned that “these legal precedents sound a warning that there

are risks associated with under-treating.”84 In actuality, it was a threat that doctors

would be punished if they failed to prescribe opioids to patients who complained

about pain. That teaching has held true given that according to the National Safety

Council, 67% of doctors prescribe opioids, in part, based on a patient’s

expectations.85 Moreover, approximately 74% of doctors incorrectly believe

morphine and oxycodone are the most effective ways to treat pain even though




82
   Fishman, supra at 6, 9.
83
   Id. at 28.
84
   Fishman, supra.
85
   National Safety Council, supra.



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research shows that over-the-counter medications such as ibuprofen and

acetaminophen are the most effective pain relief for acute pain.86

        90.      Defendants also allayed any concerns doctors may have about patients

exhibiting addictive behavior by highlighting the now debunked myth of

“pseudoaddiction.” Dr. Fishman described pseudoaddiction as a sign that patients

were receiving an inadequate dose to obtain pain relief, not as a sign that the patient

was exhibiting drug-seeking or addictive behavior.87

        91.      Prescribing Opioids taught physicians that the following signs were

evidence of “pseudoaddiction” and not drug seeking behavior or signs of addiction

so long as prescribing additional opioids resolves the pain:

                 · Requesting analgesics by name;

                 · Demanding or manipulative behavior,

                 · Clock watching;

                 · Taking opioid drugs for an extended period;

                 · Obtaining opioid drugs from more than one physician; and

                 · Hoarding opioids.88

        92.      Indeed, the types of behaviors that Dr. Fishman posed as “MORE

indicative of addiction” included:



86
   Fishman, supra.
87
   Id at 62.
88
   Fishman, supra.



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                  · Stealing money to obtain drugs;

                  · Performing sex for drugs;

                  · Stealing drugs from others;

                  · Prostituting others for money to obtain drugs;

                  · Prescription forgery; and

                  · Selling prescription drugs.89

            93.   Certainly by the time a patient is performing sex for drugs, the patient

has long been addicted and exhibited addictive behavior that was ignored by

physicians at the explicit direction of Defendants. This conclusion is supported by

the American Psychiatric Association.

            94.   In the DSM-IV, addiction is “manifested” by three (or more) of the

following in a 12-month period, including:

                  a)    Tolerance described as:

                        A need for markedly increased amounts of the substance to
                        achieve intoxication or the desired effect

                        or

                        Markedly diminished effect with continued use of the same
                        amount of the substance;

                  b)    Withdrawal manifested by:

                        The characteristic withdrawal syndrome for the substance


89
     Id. at 63.



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                           or

                           The same (or closely related) substance is taken to relieve or
                           avoid withdrawal symptoms;

                  c)       The substance is taken in larger amounts or over a longer period
                           than intended; and

                  d)       Spending a great deal of time to obtain the substance, such as
                           visiting multiple doctors or driving long distances.90

         95.      According to Defendants, as seen in Prescribing Opioids and other

publications, signs of addiction as defined by the American Psychiatric Association

are not signs of addiction, but of pseudoaddiction that justifies taking more opioids

for a longer period of time.

         96.      The reason not to discontinue the use of opioids – indeed, the

foundation upon which Defendants built its opioid empire – was “the undertreatment

of pain.”91 Opioid Prescribing claimed the undertreatment of pain has “been

recognized as a public health crisis for decades. The cost of human suffering is

immeasurable. Turning away patients in pain simply is not an option.”92 However,

according to Dr. Donald Treater, medical advisor at The National Safety Council:

“Opioids do not kill pain; they kill people.”93




90
   American Psychiatric Association, Diagnostic and Statistical Manual of Mental Disorders, Fourth Ed.,
Washington, D.C., American Psychiatric Assoc., 2000.
91
   Fishman, supra, at 105.
92
   Id.; see also id. at 80 (stating that efforts have been made to reduce the undertreatment or non-treatment of pain in
children, the elderly, and in other vulnerable patient populations).
93
   National Safety Council, supra.



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         97.      Prescribing Opioids acknowledged that by 2005, more than 10 million

Americans were abusing prescription drugs, which is more than the combined

number of people abusing cocaine, heroin, hallucinogens, and inhalants combined.94

It also acknowledged that prescription opioids are associated with more overdose

deaths than cocaine and heroin combined.95 Yet the book then cautioned that the

“undertreatment” of non-cancer pain was a public health crisis of equal importance

that justified more opioid prescribing.

         98.      Under the guise of addressing “legitimate cause of undertreated pain”

that “patients and advocates have been pushing to address,”96 Defendants tailored

opioid marketing campaigns to affect children and the elderly. The Defendants made

significant efforts to promote more opioid prescribing for “untreated or undertreated

pain in children, older patients, and in all other vulnerable patient populations.”97

         99.      Defendants also taught physicians that “[p]ain is what the patient says

it is” and that a physician “cannot measure or even confirm the pain that a patient is

experiencing.”98 As such, “pain remains an untestable hypothesis.”99 Furthermore,

“[p]atients should not be denied opioid medications except in light of clear evidence




94
   Responsible Opioid Prescribing, supra, at 6.
95
   Id.; Prescribing Opioids even recognized that “[b]ehind these figures lie millions of individual stories of personal
tragedy: untimely death, fractures families, shattered dreams and wasted lives.” Id. at 7.
96
   Id. at 8.
97
   Fishman, supra, at 8.
98
   See id. at 14.
99
   Id. at 13.



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that such medications are harmful to the patient.”100 All in all, opioids would cure

the “pain epidemic” facing Americans. And yet, chronic pain continues to be a

problem facing Americans, as well as an opioid epidemic of addiction and death.

        100. A total of 200,000 copies of Opioid Prescribing, which Dr. Fishman

wrote for the FSMB, has been delivered to U.S. prescribers through 20 state medical

boards, including Montana.101 The FSMB earned approximately $250,000 from the

sale. The FSMB website describes the book as the “leading continuing medication

education (CME) activity for prescribers of opioid medications.”

        101. The guidelines for Opioid Prescribing were posted online for use and

reliance by physicians throughout America, including but not limited to, those

servicing patients in the Cities and Counties. State medical boards even encouraged

physicians to buy the book and participate in the CME. The North Carolina Medical

Board stated on its website that Prescribing Opioids “has been widely used and

supported in the medical and regulatory communities as the leading continuing

medical education (CME) activity for prescribers of opioid medications.”102 The

website then informs physicians that a CME accompanies the book and directs them

to the book and how to claim the CME. The CME taught physicians the “safe and



100
    Id. at 9.
101
    Scott M. Fishman, M.D., Listening to Pain, Oxford Univ. Press, 2012, at 135.
102
    North Carolina Medical Board, FSMB Foundation Publishes Second Edition of Prescribing Book, Forum
Newsletter, July 31, 2012; see also University of Wisconsin School of Medicine and Public Health, Federation of
State Medical Boards, Responsible Opioid Prescribing – Book Helps Physicians Reduce Risk of Opioid Diversion
and Abuse, April 1, 2009 (describing the book and CME activity).



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responsible prescribing of opioid medications and [was] aimed at improving

prescriber training and counseling for patients while providing more thorough

information on extended-release or long-acting (ER/LA) opioid products on the

market.”103

        102. The impact of Opioid Prescribing was even studied through a survey

sent to 12,666 licensed Georgia physicians six weeks after receiving the book.104 The

lead author was a member of FSMB.105 A total of 508 physicians completed the

online survey and of those, 82.1% rated the book either “very good” or “good” for

improving care for their patients in pain.106 Almost one-third (32.2%) claimed that

they intended to make changes to their practice after reading the book.107 Of note,

42.8% of solo practitioners and 41.6% of primary care providers were more likely

to make changes to their practice than doctors in other areas.108 Of the respondents,

57.7% said that the book was better than others with regard to prescribing opioids

and on pain management.109




103
    North Carolina Medical Board, FSMB Foundation Publishes Second Edition of Prescribing Book, Forum
Newsletter, July 31, 2012; see also University of Wisconsin School of Medicine and Public Health, Federation of
State Medical Boards, Responsible Opioid Prescribing – Book Helps Physicians Reduce Risk of Opioid Diversion
and Abuse, April 1, 2009 (describing the book and CME activity).
104
    A. Young, Physician Survey Examining the Impact of an Educational Tool for Responsible Opioid Prescribing,
J. Opioid Management, Mar-Apr. 2012.
105
    Id.
106
    Id.
107
    Id.
108
    Id.
109
    Id.



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        103. Opioid Prescribing was therefore an effective tool that impacted

specific doctors and their prescribing practices, as concluded by the study.

Specifically, the study provided “insight into which physician population would be

the most receptive to the type of information presented in Dr. Fishman’s book” and

that population was to “first target[] solo and primary care physicians.”110

Defendants found out that their educational efforts “significantly altered prescription

practices.”111

                 2.      The Joint Commission also Spread Deceptive Information.

        104. The Joint Commission on Accreditation of Healthcare Organizations

(“JCAHO”) is a United States-based non-profit, tax-exempt organization that

“accredits and certifies nearly 21,000 health care organizations and programs in the

United States.”112 A majority of state governments recognize accreditation from the

Joint Commission as a condition of licensure and for receiving Medicaid and

Medicare reimbursements.113 Providence Saint Joseph Medical Center in Lake

County, Montana, St. Patrick Hospital in Missoula, Montana, and the Montana VA

Healthcare System are accredited by and subscribe to the JCAHO.114




110
    Young, supra.
111
    Id.
112
    www.jointcommission.org.
113
    Anthony Anonimo, Poppy Seed. Revealing the Roots of the Opioid Epidemic, Trinity Mother Frances Health
System, 2017, at 65.
114
    www.jointcommission.org



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        105. According to the JCAHO, it “continuously improve[s] health care for

the public” and inspires health care organizations “to excel in providing safe and

effective care of the highest quality and value.”115 The JCAHO is not independent,

but has been influenced by Defendants and those Defendants used the JCAHO as a

marketing shill to spread the misleading message that opioids are non-addictive and

safe as a first-line analgesic to treat any complaint of pain.

        106. In 2000, the JCAHO published Pain Assessment and Management: An

Organizational Approach (“Pain Assessment”), which was paid for by Purdue and

reviewed by June L. Dahl, Ph.D., who has worked for Abbott, Endo, and Purdue.116

        107. The JCAHO mission statement on the inside cover page of the book

explains that it aspires “to continuously improve the safety and quality of care

provided to the public through the provision of health care accreditation and related

services that support the performance improvement in health care organizations.”117

One of its big achievements, however, is its endorsements of new pain management

standards that underscored Defendants’ fraudulent message.

        108. JCAHO, with the help of the American Pain Society (“APS”), a Front

Group, loosened pain management standards thereby allowing doctors to prescribe

opioids for any complaint of pain. To that end, “[t]he Joint Commission recognize[d]



115
    www.jointcommission.org
116
    Joint Commission on Accreditation of Healthcare Organizations, Pain Assessment and Management, 2000.
117
    Id.



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pain as a major, yet largely avoidable, problem…. [and] has expanded the scope of

its pain management standards, which have been endorsed by the American Pain

Society (APS), to cover all pain scenarios in accredited health care organizations

rather than limiting the scope to end-of-life care.”118 (Emphasis added.)

         109. Pain Assessment established the cornerstone of Defendants’ message

that “all pain scenarios” should be included in pain management practices.119 It

explained that “[p]ain is the most common reason individuals seek medical attention.

According to the American Pain Society (APS), 50 million Americans are partially

or totally disabled by pain.”120 “The conclusion? Pain is undertreated – despite the

availability of effective pharmacologic and nonpharmacologic therapies. Why?”121

         110. The answer is on the first page of Pain Assessment. There is a chronic

pain epidemic. Chronic pain is undertreated. Chronic pain can be managed and even

cured with opioids, which are safe and effective, according to Pain Assessment. And

the JCAHO encouraged organizations to establish standards for recording and

responding to patient pain reports and monitoring staff performance and compliance

with those standards, so that a physician who did not agree with the JCAHO

standards faced the specter of poor performance evaluations.122



118
    Pain Assessment, supra.
119
    Pain Assessment, supra, at p. 1.
120
    Id.
121
    Id.
122
    Pain Assessment, supra, at 41-42.



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         111. According to Pain Assessment, the reasons healthcare professionals had

not used opioids previously included: (1) inadequate knowledge of opioids

pharmacology and pain therapy, (2) poor pain assessment practices, (3) unfounded

concerns about regulatory oversight, and (4) fear of opioids’ side effects such as

tolerance and addiction.123

         112. Pain Assessment asserted that few practitioners received adequate

training in pain management in medical school or during their residency resulting in

the failure to prescribe opioids or nonsteroidal anti-inflammatory drugs (NSAIDS)

on a regular basis leaving patients without pain relief.124 “[Many] health care

professionals lack the knowledge and skills to manage pain effectively, and they fear

the effects of treatment.”125 Too few health care systems make pain management a

priority.126 Some clinicians had “inaccurate and exaggerated concerns about

addiction, tolerance, respiratory depression, and other opioid side effects, which lead

them to be extremely cautious about the use of drugs.”127 Instead of expanding upon

and explaining the risks of opioids, Pain Assessment states: “This attitude prevails

despite the fact there is no evidence that addiction is a signification issue when

persons are given opioids for pain control.”128 (Emphasis added). That claim of



123
    Pain Assessment, supra.
124
    Id.
125
    Id. at 3.
126
    Id. at 1.
127
    Pain Assessment, supra, at 4.
128
    Id.



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insignificant addiction risk was false when made and remains false today. Yet it

worked as intended to mislead treating doctors, medical staff, and patients into

believing opioids could and should be utilized more often. Indeed, 74% of doctors

“incorrectly believe morphine and oxycodone” are the “most effective ways to treat

pain” even though research shows that over-the-counter pain relievers are the most

effective for acute pain.129 Even worse, 20% of doctors prescribing opioids

prescribed at least a month’s worth, even though the evidence shows that “30-day

use causes brain changes.”130

         113. Patients also contributed to the pain epidemic by their reluctance to

report their pain and to take medications,131 according to Pain Assessment. Doctors

were instructed to engage patients in conversations about their pain before

prescribing opioids by: (1) asking for pain relief when the pain begins; (2) helping

the doctor or nurse assess the pain; and (3) telling the doctor or nurse if the pain is

not relieved.132 Doctors were taught that “[t]he single most reliable indicator of the

existence and intensity of pain is the individual’s self-report.”133 Indeed, the

individual’s self-report was to be the primary source of information for the doctor

and deemed more reliable than the observations of others.134



129
    National Safety Council, supra.
130
    Id.
131
    Pain Assessment, supra, at 4.
132
    Pain Assessment, supra at 8.
133
    Id. at 13.
134
    Id.



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         114. The bombardment of information, instruction, books, pamphlets,

seminars, ads, and marketing regarding this “pain epidemic” was so successful that

pain has been included as the “fifth vital sign” to be recorded along with the

individual’s temperature, pulse, respiration, and blood pressure.135 This strategy was

first pitched by the APS to ensure that pain management gained acceptance in the

medical community, which it did.136

         115. Beginning in 1999, the Veteran’s Health Administration began

routinely assessing pain as the fifth vital sign in every individual.137 And according

to Pain Assessment, the research showed that “when pain assessment information is

included in clinical charts, those individuals’ analgesics [meaning opioids] are more

likely to be increased.”138 In other words, including pain as a fifth element results in

not only the prescribing of more opioids, it results in the prescribing of higher doses

of opioids.

         116. Pain Assessment also framed the role of key opinion leaders (“KOL”)

as trustworthy people “to evaluate new clinical information, assess new practices,

and then determine their value within the context of the local setting.” 139 Doctors

were expected to accept KOLs opinions even though KOLs are not “necessarily



135
    Pain Assessment, supra, at 20.
136
    See id. 20-21.
137
    Id. at 21.
138
    Id.
139
    Pain Assessment, supra at p. 24.



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innovators or authority figures.”140 KOLs convinced practitioners that their current

chronic pain treatment was “outdated, inappropriate, unsupported by research

evidence, or no longer accepted by colleagues.”141

         117. Expert leaders, on the other hand, influenced and implemented

protocols with individuals or small groups.142 These “academic strategies” included

“conducting interviews to determine baseline knowledge, stimulating active

participation during educational sessions, using concise graphic educational

materials, and highlighting or replicating essential messages.”143 Academic detailing

was modeled after pharmaceutical detailing practices in which representatives

visited physicians to talk about specific medicines, just as Defendants’

representatives met with physicians to about opioids.144 Simply put, Pain Assessment

was a part of a marketing campaign to plow ground for Defendants to sell more

opioids, and the book set forth sophisticated, multi-layered marketing strategies that

were most effective in executing the campaign.

         118. If a doctor was not available to prescribe opioids, a nurse would suffice.

A nurse specializing in oncology, surgery, critical care, or a nurse anesthetist, as well

as a clinical pharmacist, can “serv[e] as role models, provid[e] pain management



140
    Id.
141
    Pain Assessment, supra at 25.
142
    Id.
143
    Pain Assessment, supra, at 25.
144
    See id.



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education and consultation, and act[s] as agents of change.”145 These educational

efforts “significantly altered prescription practices.”146

         119. To succeed in prescribing opioids for chronic pain, Defendants had to

create a market for chronic pain. To do so, Defendants literally encouraged patients

not to tolerate pain and to fear pain more than opioid addiction.147 Physicians and

their staff were encouraged to educate their patients about “effective pain

management,” which included the use of opioids.148 Pain Assessment explained

research that showed Americans would rather bear pain because they were afraid of

“addiction, dependence on drugs, and tolerance to medications,” which affected not

only the patient’s willingness to report pain, but to use adequate amount of opioids

to control the pain.149 A patient’s reluctance to take opioids out of fear they would

not function normally meant that the problem was “underreported” and the pain went

“untreated.”150

         120. Consequently, the answer was to inform and educate the patient that

unrelieved pain is harmful and that he or she should communicate pain. 151 Pain

Assessment instructed the use of pain assessment instruments, including pain

intensity scales, to describe the nature of the pain and stressed that the “most reliable


145
    Pain Assessment, supra.
146
    Id.
147
    Pain Assessment, supra at 33.
148
    Id.
149
    Id.
150
    Pain Assessment, supra, at 33.
151
    Pain Assessment, supra at 35.



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indicator of pain” was the individual’s self-report.152 Once the patient reported the

pain, the physicians and staff were taught to tell the patient about opioids, explain

that opioids were safe and effective, describe the name, dosage, and duration of the

opioid therapy, and explain the risk of pain versus the importance of pain

management.153

         121. To ensure that patients self-reported pain prior to hospital visits, Pain

Assessment encouraged health care systems to provide individuals and families with

pain management information prior to being admitted.154 And health care systems

were told to leave individuals and family members with audio and videotapes to

watch and listen to about the “importance” of “pain relief” so that they truly

understood the message – that is, if you have “pain,” tell us and we will provide

opioids.

         122. The JCAHO was not independent and did not improve the safety or

quality of healthcare. Instead it was hijacked by Defendants to standardize pain

management criteria that required the use of opioids for chronic pain. The JCAHO

was merely a pawn in the Defendants’ larger game.




152
    Id.
153
    Pain Assessment, supra..
154
    Id. at 36.



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      123. Like other books and pamphlets used by Defendants to spread their

“message,” Pain Assessment was distributed throughout the nation and in Montana.

As of today, anyone can buy a used copy of Pain Assessment on Amazon.com.

      b.     Key Opinion Leaders (KOLs)               were    another    Means    of
             Disseminating False Information.

      124. Defendants also sponsored KOLs, a small circle of doctors who, upon

information and belief, were selected, funded, and elevated by Defendants because

they publicly supported dispensing opioids more widely and indiscriminately.

      125. Defendants paid KOLs to serve as consultants or to appear on their

advisory boards and to give talks or present CMEs, and Defendants’ support helped

these KOLs become respected industry experts. As they rose to prominence, these

KOLs promoted the benefits of opioids to treat chronic non-cancer pain, repaying

Defendants by advancing their marketing goals.

      126. KOLs wrote articles and books, gave speeches, and taught CMEs to

promote the utilization of opioids to treat moderate non-cancer pain. Defendants

created opportunities for KOLs to participate in “studies” and write papers for the

purpose of advancing Defendants’ marketing theme: opioids should be dispensed

regularly and perpetually to treat a broad array of pain complaints.

      127. Defendants’ KOLs also served on committees that developed treatment

guidelines that strongly encourage using opioids to treat chronic pain, and on the

boards of pro-opioid advocacy groups and professional societies that develop, select,


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and present CMEs. Defendants were able to direct and exert control over each of

these activities through their KOLs.

      128. Pro-opioid doctors are one of the most important avenues that

Defendants use to spread their false and deceptive statements about the risks and

benefits of long-term opioid use. Defendants know that doctors rely heavily and less

critically on their peers for guidance, and KOLs provide the false appearance of

unbiased and reliable support for using opioids for chronic pain.

      129. Different Defendants utilized many of the same KOLs. Two of the most

prominent are described below.

             1. Russell Portenoy

      130. Dr. Russell Portenoy, former Chairman of the Department of Pain

Medicine and Palliative Care at Beth Israel Medical Center in New York, is one

example of a KOL who Defendants identified and promoted to further their

marketing campaign. Dr. Portenoy received research support, consulting fees, and

honoraria from Cephalon, Endo, Janssen, and Purdue (among others), and was a paid

consultant to Cephalon and Purdue.

      131. Dr. Portenoy was instrumental in opening the door for the regular use

of opioids to treat chronic pain. He served on the American Pain Society

(“APS”)/American Academy of Pain Medicine (“AAPM”) Guidelines Committees,

which endorsed the use of opioids to treat chronic pain, first in 1997 and again in



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2009. He was also a member of the board of the American Pain Foundation (“APF”),

an advocacy organization almost entirely funded by Defendants.

        132. Dr. Portenoy also made frequent media appearances promoting opioids.

He appeared on Good Morning America in 2010 to discuss using opioids long-term

to treat chronic pain. On this widely-watched program, broadcast in Montana and

across the country, Dr. Portenoy claimed: “Addiction, when treating pain, is

distinctly uncommon. If a person does not have a history, a personal history, of

substance abuse, and does not have a history in the family of substance abuse, and

does not have a very major psychiatric disorder, most doctors can feel very assured

that that person is not going to become addicted.”155

        133. Perhaps realizing that “[m]ore than 16,000 people die from opioid

overdoses every year,” Dr. Portenoy is now having “second thoughts” about the

“wider prescription” of drugs like Vicodin, OxyContin, and Percocet.156 Dr.

Portenoy later admitted in a 2010 videotaped interview that he “gave innumerable

lectures in the late 1980s and ‘90s about addiction that weren’t true.”157 According

to Dr. Portenoy, because the primary goal was to “destigmatize” opioids, he and

other doctors promoting them overstated their benefits and glossed over their risks.




155
    Good Morning America television broadcast, ABC News, Aug. 30, 2010.
156
    Thomas Catan & Evan Perez, A Pain-Drug Champion Has Second Thoughts, WALL ST. J., Dec.
17, 2012, attached hereto as Exhibit D.
157
    Catan, supra.



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        134. Dr. Portenoy put doctors’ fear that opioids were dangerous and

addictive, and meant only for cancer patients, to rest by arguing that they could be

taken safely for months, even years, by patients with chronic pain. 158 Dr. Portenoy,

as well as other doctors making the speaker rounds, asserted that “[l]ess than 1% of

opioid users became addicted, the drugs were easy to discontinue and overdoses

were extremely rare in pain patients.”159

        135. Dr. Portenoy also conceded that “[d]ata about the effectiveness of

opioids does not exist.”160 Dr. Portenoy candidly stated: “Did I teach about pain

management, specifically about opioid therapy, in a way that reflects

misinformation? Well…I guess I did.”161

        136. Before his moment of clarity, Dr. Portenoy co-authored a guide to

publicize the benefits of opioids for chronic pain, which was paid for by an

unrestricted education grant from Endo, titled A Clinical Guide to Opioid Analgesia

(“Opioid Analgesia”).162 Opioid Analgesia reiterated that opioids are “absolutely

necessary” for pain relief.163

        137. Although Opioid Analgesia claimed “to help clinicians make practical

sense of the varied and often conflicting pharmacologic, clinical and regulatory



158
    Catan, supra.
159
    Id.
160
    Id.
161
    Id.
162
    Perry G. Fine, M.D. and Russell K. Portenoy, M.D., A Clinical Guide to Opioid Analgesia, McGraw-Hill, 2004.
163
    Fine, supra at 2.



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issues to promote the most healthful outcomes possible for patients in pain,”164 the

reality was that it expressed regret that federal and state governments had passed

controlled substances acts to stem addiction, which had curtailed the prescription of

opioids.165 This regulation, explained Opioid Analgesia, “contributed to the

underuse of opioid medications.”166

         138. As with all other books, guidelines, and CMEs promoted by Front

Groups and KOLs, Opioid Analgesia establishes the absolute need for opioids in

light of the chronic pain epidemic. “Because pain is inherently subjective, patient

self-report is the ‘gold standard’ for assessment.”167 If there’s no discernible reason

for the pain, then it should be characterized as “idiopathic.”168 Regardless of how the

pain is characterized, the solution, per Opioid Analgesia, is opioids.

         139. “While opioid analgesics are controlled substances, they are also

essential medication and are absolutely necessary for relief of pain.”169 “Opioid

analgesics should be accessible to all patients who need them for relief of pain.”170

Brushing away any concerns about addiction, Opioid Analgesia posits that “[a]

patient who has reached middle age without developing compulsive use behaviors




164
    Id. at 3.
165
    Fine, supra.
166
    Id. at 6.
167
    Fine, supra, at 34.
168
    Id. at 35.
169
    Id. at Table 1.
170
    Fine, supra.



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to potentially abusable drugs, including alcohol and nicotine, appears to be at a very

low risk” of addiction, especially if “there is no family history of addiction.”171

         140. Underplaying the risks of addiction, Opioid Analgesia falsely claimed

that “[o]verall, the literature provides evidence that the outcomes of the drug abuse

and addiction are rare among patients who receive opioids for a short period (i.e.,

for acute pain) and among those with no history of abuse who receive long-term

therapy for medical indications.”172 Even while admitting there is “very little

information about the risks of misuse, abuse, or addiction among different opioid-

treated populations” and even admitting the “[w]hen misused, opioids pose a threat

to society,”173 Defendants’ intentionally marketed opioids as effective and safe for

treatment of chronic pain and summed up the risk of addiction for short-term therapy

as “rare.”174

         141. Of course when addiction is as narrowly defined as it is in the books,

CMEs, and guidelines that Defendants publishes, the risk of addiction would be

termed as “rare.” The behaviors cited in Opioid Analgesia as “probably more

suggestive” of addiction included:

                   · Selling prescription drugs;

                   · Forging prescriptions;


171
    Id. at 21.
172
    Id.
173
    Id. at 31, 2.
174
    Fine, supra, at 34.



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                   · Stealing or “borrowing” drugs from others;

                   · Injecting or inhaling (snorting, smoking) oral formulations; and

                   · Obtaining the prescription drugs from nonmedical sources.175

         142. Whereas the following behaviors are “probably less suggestive” of

addiction:

                   · Aggressive complaining about the need for more drug;

                   · Drug hoarding during periods of reduced symptoms;

                   · Requesting specific drugs; and

                   · Using the drug, without approval, to treat another symptom. 176

         143. Instead of these behaviors being symptoms of possible addiction, Dr.

Portenoy terms these behaviors as a “phenomenon” termed “pseudoaddiction.”177

Pseudoaddiction allows physicians to discount these behaviors because “they are

driven by desperation surrounding unrelieved pain” and are “eliminated by measures

that relieve the pain, such as an increase in medication.”178 Instead of treating the

“less suggestive” symptoms for what they are – signs of addiction.

         144. Opioid Analgesic was a success for Defendants in that it has been and

continues to be used extensively in CMEs, pamphlets, and reading lists for

physicians looking for information regarding opioids. For example, Opioid


175
    Fine, supra at 85.
176
    Id.
177
    Id. at 35.
178
    Fine, supra.



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Analgesia was recently cited in a presentation at the University of North Texas

College of Pharmacy on April 28, 2017, entitled Adverse Drug Events Associated

with Opiate-Based Pain Management (Emphasis Added). It has also been listed as

a reference for a CME entitled The Management of Opioid-Induced Constipation

published by the University of North Texas Health Science Center, which was valid

for CME from May 2009 to May 2010. Finally, the book was included in the

suggested reading list for a seminar entitled When Opioids Are Indicated for Chronic

Pain presented on March 26, 2011, in Houston, Texas.

            2. Lynn Webster

      145. Another KOL, Dr. Lynn Webster, was the co-founder and Chief

Medical Director of Lifetree Clinical Research, an otherwise-unknown pain clinic in

Salt Lake Cities, Utah. Dr. Webster was President in 2013 and is a current board

member of AAPM, a Front Group that ardently supports using opioids for chronic

pain. He is a Senior Editor of Pain Medicine, the same journal that published Endo

special advertising supplements recommending Opana ER. Dr. Webster authored

numerous CMEs sponsored by Cephalon, Endo and Purdue while he was receiving

significant funding from Defendants (including nearly $2 million from Cephalon).

      146. In 2011, Dr. Webster presented a program via webinar sponsored by

Purdue titled Managing Patient’s Opioid Use: Balancing the Need and the Risk. Dr.

Webster recommended using risk screening tools, such as urine testing and patient



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agreements as a way to prevent “overuse of prescriptions” and “overdose deaths,”

which was available to and was intended to reach doctors treating residents in the

Cities and Counties.

           147. Dr. Webster also was a leading proponent of the concept of

“pseudoaddiction,” the notion that addictive behaviors should be seen not as

warnings, but as indications of undertreated pain. In Dr. Webster’s description, the

only way to differentiate the two was to increase a patient’s dose of opioids. As he

and his co-author wrote in a book entitled Avoiding Opioid Abuse While Managing

Pain (2007), a book that is still available online, when faced with signs of aberrant

behavior, increasing the dose “in most cases…should be the clinician’s first

response.” Endo distributed this book to doctors.

           148. Years later, Dr. Webster reversed himself, acknowledging that

“[pseudoaddiction] obviously became too much of an excuse to give patients more

medication.”179 Dr. Webster also admits that “[i]t’s obviously crazy to think that only

1% of the population is at risk for opioid addiction.”180

           c.       Front Groups Affirmed Defendants’ Falsities.

           149. Defendants entered into arrangements with seemingly unbiased and

independent patient and professional organizations to promote opioids for treating




179
      John Fauber & Ellen Gabler, Networking Fuels Painkiller Boom, MILWAUKEE WISC. J. SENTINEL, Feb. 19, 2012.
180
      Thomas Catan & Evan Perez, A Pain-Drug Champion Has Second Thoughts, WALL ST. J., Dec.17, 2012.



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chronic pain. Under Defendants’ direction and control, these “Front Groups”

generated treatment guidelines, unbranded materials, and programs that favored

using opioids for chronic non-cancer pain. They also assisted Defendants by

responding to negative articles, by advocating against regulatory changes that would

limit prescribing opioids in accordance with the scientific evidence, and by

conducting outreach to vulnerable patient populations targeted by Defendants.

      150. These Front Groups depended on Defendants for funding and, in some

cases, for survival. Defendants also exercised control over programs and materials

created by these groups by collaborating on, editing, and approving their content,

and by funding their dissemination. In doing so, Defendants made sure these Front

Groups would generate only the messages Defendants wanted to distribute. Even so,

the Front Groups held themselves out as independent and as serving the needs of their

members – whether patients suffering from pain or doctors treating those patients.

      151. Defendants Cephalon, Endo, Janssen, and Purdue utilized many Front

Groups, including many of the same ones. Several of the most prominent are

described below, but there are many others, including the American Pain Society

(“APS”), American Geriatrics Society (“AGS”), the Federation of State Medical

Boards (“FSMB”), American Chronic Pain Association (“ACPA”), American

Society of Pain Education (“ASPE”), National Pain Foundation (“NPF”) and Pain

& Policy Studies Group (“PPSG”).



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                1. American Pain Foundation (“APF”)

        152. APF was founded in 1997 and professed to be an independent non-profit

501(c)3 organization “serving people with pain through information, advocacy and

support.”181 It had a membership of “close to 100,000 and growing” in 2010 and

claimed to be the “largest advocacy group for people with pain.”182 The APF lauded

its participation in “close to 100 policy activities,” which included testifying at

legislative hearings to securing state and local proclamations for Pain Awareness

Month.183

        153. APF, however, as the most prominent of Defendants’ Front Groups,

received more than $10 million in funding from opioid manufacturers from 2007

until it closed its doors in May 2012. Endo alone provided more than half that

funding; Purdue was next at $1.7 million. Despite the influx of funds from

pharmaceutical companies, APF claimed to be an independent patient advocacy

group.

        154. In 2009 and 2010, more than 80% of APF’s operating budget came from

pharmaceutical industry sources. Including industry grants for specific projects, APF

received about $2.3 million from industry sources out of total income of about $2.85

million in 2009. In 2010, Endo paid APF more than $1 million and Purdue paid APF


181
    American Pain Foundation, Treatment Options: A Guide for People Living with Pain, www.painfoundation.org;
see also 2010 Annual Report, American Pain Foundation.
182
    2010 Annual Report, supra.
183
    Id.



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between $1 million and 4.9 million.184 By 2011, APF was entirely dependent on

incoming grants from Purdue, Cephalon, Endo, and others to avoid using its line of

credit. One of its board members, Russell Portenoy, explained the lack of funding

diversity was one of the biggest problems at APF.

        155. APF issued education guides for patients, reporters, and policymakers

that recommended opioids for chronic pain while trivializing their risks, particularly

the risk of addiction. Its Pain Community News, an “esteemed” quarterly newsletter,

had a print circulation of more than 68,000 plus additional online readers. 185 Its

monthly electronic newsletter, Pain Monitor, was a monthly newsletter that provided

links to pain-related news and research.186 The APF also provided “patient

representatives” for Defendants’ promotional activities, including Purdue’s Partners

Against Pain187 and Janssen’s Let’s Talk Pain.188

        156. In one of its publications, Treatment Options: A Guide for People Living

with Pain, (“Treatment Options”), APF recognized contributions from Cephalon and

Purdue.189 Treatment Options was reviewed by Scott Fishman, M.D., Vice Chairman

of the APF Board of Directors, and Russell Portenoy, M.D., a Member of the APF



184
    2010 Annual Report, supra.
185
    2010 Annual Report, supra at 2.
186
    2010 Annual Report, supra, at 2.
187
    In its “Partner against Pain” website, Purdue claimed that the risk of addiction from the use of OxyContin in
treating “chronic non-cancer pain” was “extremely small”; see also Zee, Ex. B, at 3.
188
    Let’s Talk Pain was a “coalition effort that focus[ed] on supporting positive patient-provided communications”
regarding pain.
189
    Treatment Options, supra, at ii.



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Board of Directors and also a KOL.190 Treatment Options set the stage for prescribing

opioids by explaining their underuse despite their benefits.191 It dismissed the risk of

addiction with the rhetoric that physical dependence was nothing more than

symptoms or signs of withdrawal that occurred when opioids were stopped suddenly

or the dose lowered too quickly.192

         157. Responsible Opioid Prescribing and The War on Pain both had a

tremendous impact on doctors’ prescribing habits. In 2000, Scott Fishman, M.D.,

who served on APF’s board, co-authored The War on Pain (“Pain War”) as general

authoritative information about pain medicine.”193

         158. Pain War seeks new specialties in which opioids can be prescribed for

chronic pain. Rheumatologists treating arthritis have been overlooked because they

were more prone to prescribe NSAIDS instead of opioids, such as morphine.194 But

such “outdated ideas about addiction and concerns about social stigmas” need to

evolve because opioids offer “substantial relief” with “less severe long-term side

effects than chronic anti-inflammatories.”195

         159. Pain War advocates for physical dependence to opioids, and equates

withdrawal symptoms from opioid drugs to that of cessation of coffee drinking. A



190
    Id. at iv.
191
    Id. at 11.
192
    Id. at 14 (referring to symptoms such as sweating, rapid heart rate, nausea, diarrhea, goosebumps, and anxiety).
193
    Scott Fishman, M.D., with Lisa Berger, The War on Pain, First Quill, 1st ed., 2000.
194
    Id. at 154.
195
    Fishman, War on Pain, supra, at 155.



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“pain patient who is dependent on opioids finds life restored,” the book advises, and

then explains that removing a patient from opioids causes physical, not

psychological, consequences, like quitting coffee.196 Addiction to opioids is treated

as a “phobia” or “notion” that “using opioids” are “always addictive.”197

        160. Pain War censures the failure to prescribe opioids and even suggests

that such failure is a criticism of the patient. For example:

                 Doses tend to be too low, the right narcotic preparation tends to be
                 avoided, and the prescribing period is often too short. Medicine’s
                 reluctance to use appropriate doses of opioid drugs gives patients the
                 wrong message – their pain isn’t that important, they are not
                 trustworthy, they may be addicts, they are bad people if they take drugs
                 even if they are prescribed.198

        161. Pain War was distributed across the nation, and sold in Montana, as

evidence by a third-party seller offering the used book for $15.99 plus $5.99 in

shipping costs on Amazon.com.

        162. As late as 2008, the APF was still relaying the same message. In A

Reporter’s Guide: Covering Pain and Its Management (“Reporter’s Guide”), the

APF extolled that “[t]he person with pain is the authority on the existence and

severity of his/her pain. The self-report is [the] most reliable indicator.”199 The




196
    Fishman, War on Pain, supra, at 187.
197
    Id. at 185.
198
    Id.
199
    American Pain Foundation, A Reporter’s Guide: Covering Pain and Its Management, Oct. 2008, at 1, attached
hereto as Exhibit E.



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Reporter’s Guide referred to pain as a health crisis and concluded that it affected

more Americans than “diabetes, heart disease and cancer combined.”200

         163. Yet APF, Defendants’ Front Group also admitted that:

                  · 71% of people abusing prescription pain relievers received them
                    from a friend or family member without a prescription;

                  · Approximately 2.2 million Americans abused pain medication for
                    the first time in 2006; and

                  · Between 1992 and 2002, reported abuse by teenagers increased by
                    542%.201

         164. Even though Defendants knew about the risks involved in prescribing

opioids or ingesting opioids, they continued to disseminate a story about a “pain

epidemic” that could be treated only through the use of opioids. Even a 542% increase

in abuse by teenagers in the United States in the span of ten years did not make

Defendants change their marketing strategy or otherwise modify their educational or

promotional materials concerning the risks associated with the use of opioids.

         165. In addition to these publications, APF also engaged in a significant

multimedia campaign – through radio, television, and the internet – to educate

patients about their “right” to pain treatment, namely opioids. APF’s local and

national media efforts resulted in 1,600 media stories on pain in 2010, which was an

increase of 1,255% from 2009.202 APF surmised that it reached more than 600


200
    Reporter’s Guide, Ex. E at 29.
201
    Reporter’s Guide, Ex. E, at 29.
202
    Id. at 15.



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million people with information and education related to pain.203 All of the programs

and materials were available nationally and were intended to reach patients and

consumers in the Cities and Counties.

        166. APF’s website was visited by nearly 275,000 people in 2010 and a

National Pain Foundation was expected to be complete in 2011.204 In May 2012, the

U.S. Senate Finance Committee began investigating the financial ties between Front

Groups and trade organizations, such as APF and the FSMB, and the opioid

manufacturers. This investigation not only caused damage to APF’s credibility but

caused Defendants to cease its funding.

        167. The Senate Finance Committee intended to investigate whether

pharmaceutical companies were responsible for the opioid epidemic by “promoting

misleading information about the drugs’ safety and effectiveness.”205 The Senate

Finance Committee was concerned that a “network of national organizations and

researchers with financial connections to the makers of narcotic painkillers…helped

create a body of dubious information ‘favoring opioids’ that can be found in

prescribing guidelines, patient literature, position statements, books and doctor

education courses.”206



203
    Reporter’s Guide, Ex. E.
204
    2010 Annual Budget, supra, at 6
205
    See Letter to Dr. Humayun J. Chaudhy dated May 8, 2012 from Charles E. Grassley and Max Baucus, at p. 2.
206
    Id. quoting Milwaukee Journal Sentinel/MedPage Today, Follow the Money: Pain, Policy, and Profit, Feb. 19,
2012, available at at http://medpagetoday.com/Neurology/PainManagement/31256.



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        168. The Senate Finance Committee was especially concerned that “[a]mong

the FSMB’s educational initiatives has been the development and distribution of a

guidebook intended to help physicians recognize the risk of opioids and follow

responsible and safe prescribing standards.”207 (Emphasis in original.) Hence, Dr.

Fishman and his book Opioid Prescribing: A Physician’s Guide, the first edition of

which was released in 2007 and later accredited by the University of Wisconsin

School of Medicine and Public Health, was at the center of the investigation.208

        169. The Senate Finance Committee asked for any grants or financial

transfers used to produce the book, the revenue generated from the sale of the book,

each state that distributed the book, and the names of any people or organization

involved in writing or editing the book.209

        170. Within days, APF’s board voted to dissolve the organization and it

ceased to exist. The FSMB responded to the Senate Finance Committee’s inquiry,

however, and agreed that “the abuse and misuse of opioids is a serious national

problem.”210 Dr. Chaudhy, speaking on behalf of the FSMB, acknowledged that

“prescription drug abuse and related deaths has grown at an alarming pace in the




207
    Chaudhy Letter, supra, at 5.
208
    Id.
209
    Id. at 3.
210
    Letter to Max Baucus and Charles Grassley dated June 8, 2012 from Humayun J. Chaudhy, DO, FACP, at 1.



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United States.”211 Dr. Chaudhy described Dr. Fishman, the author of Opioid

Prescribing, as “one of the nation’s leading experts in pain medicine.”212

         171. Opioid Prescribing was released from 2007 through January 2012, was

distributed in each of the 50 states, including Montana, and supported in the medical

community as an educational resource for doctors.213 The book is still being sold

today on websites such as Amazon and Ebay. Dr. Fishman also toured and gave

keynote speeches about Opioid Prescribing. The book was also used extensively by

state regulators to make safe and responsible decisions about prescribing opioids.214

         172. As described herein, Dr. Fishman and his book was partly funded by

Endo, Purdue, and Abbott among others as evidenced in the response. In 2004,

Purdue paid $87,895 in the form of a grant to the FSMB to update the FSMB Model

Guidelines for the Use of Controlled Substances in the Treatment of Pain, along with

other objectives related to opioids.215 In 2005, Purdue paid $244,000 to FSMB and in

2006, Purdue paid $207,000 to FSMB for the continuation of the same project.216 In

2008, Endo and Purdue each paid $100,000 in the form of a grant for the distribution

of Responsible Opioid Prescribing.217 Thus, from 2000-2012, Purdue paid

$734,505.06 and Endo paid $411,620.00 to the FSMB and FSMB Foundation.


211
    Chaudhy Letter, supra, at 1.
212
    Chaudhy, supra at 5.
213
    Id.
214
    Chaudhy, supra, at 5, 17.
215
    Id. at 11.
216
    Id. at 11-12.
217
    Chaudhy, supra at 12.



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      173. Dr. Chaudhy’s response merely underscored Defendants’ role, through

KOLs and Front Groups, in controlling the message these groups conveyed about

opioids.

             2. American Academy of Pain Medicine (“AAPM”)

      174. The American Academy of Pain Medicine, with Defendants’

assistance, prompting, involvement, and funding, issued treatment guidelines and

sponsored and hosted medical education programs essential to Defendants’

deceptive marketing of chronic opioid therapy.

      175. AAPM received over $2.2 million in funding since 2009 from opioid

manufacturers. AAPM maintained a corporate relations council, whose members

paid $25,000 per year (on top of other funding) to participate. The benefits included

allowing members to present educational programs at off-site dinner symposia in

connection with AAPM’s marquee event – its annual meeting held in Palm Springs,

California, or other resort locations. AAPM describes the annual event as an

“exclusive venue” for offering education programs to doctors. Membership in the

corporate relations council also allows drug company executives and marketing staff

to meet with AAPM executive committee members in small settings. Defendants

Endo, Purdue, Cephalon, and Actavis were members of the council and presented

deceptive programs to doctors who attended this annual event.




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        176. AAPM is viewed internally by Endo as “industry friendly,” with Endo

advisors and speakers among its active members.                                Endo attended AAPM

conferences, funded its CMEs, and distributed its publications. The conferences

sponsored by AAPM heavily emphasized sessions on opioids – 37 out of roughly

40 at one conference alone. AAPM’s presidents have included top industry-

supported KOLs Perry Fine, Russell Portenoy, and Lynn Webster. Dr. Webster was

even elected president of AAPM while under a DEA investigation. Another past

AAPM president, Dr. Scott Fishman, stated that he would place the organization “at

the forefront” of teaching that “the risks of addiction are…small and can be

managed.”218

        177. Defendants influenced AAPM through both their significant and

regular funding and the leadership of pro-opioid KOLs within the organization.

AAPM’s staff understood they and their industry funders were engaged in a common

task – propagate a “pain epidemic” and solve it by teaching that opioids were safe

and effective for treating chronic pain.

        178. In 1997, AAPM and the American Pain Society jointly issued a

consensus statement, The Use of Opioids for the Treatment of Chronic Pain, which

endorsed opioids to treat chronic pain and claimed there was a low risk that patients



218
    Interview by Paula Moyer with Scott M. Fishman, M.D., Professor of Anesthesiology and Pain Medicine, Chief
of the Division of Pain Medicine, Univ. of Cal., Davis (2005), available at
http://www.medscape.org/viewarticle/500829.



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would become addicted to opioids. The co-author of the statement, Dr. Haddox, was

a paid speaker for Purdue at the time. Dr. Portenoy, Defendants’ KOL, was the sole

consultant. The consensus statement remained on AAPM’s website until 2011.

      179. AAPM and APS issued their own guidelines in 2009 (“AAPM/APS

Guidelines”) and continued to recommend using opioids to treat chronic pain.

Fourteen of the 21 panel members who drafted the AAPM/APS Guidelines,

including KOLs Dr. Portenoy and Dr. Perry Fine of the University of Utah, received

support from Janssen, Endo, Cephalon, and Purdue.

      180. The 2009 Guidelines promote opioids as “safe and effective” for

treating chronic pain, despite acknowledging limited evidence, and conclude that the

risk of addiction is manageable for patients regardless of past abuse histories. One

panel member, Dr. Joel Saper, Clinical Professor of Neurology at Michigan State

University and founder of the Michigan Headache & Neurological Institute, resigned

from the panel because he was concerned the 2009 Guidelines were influenced by

contributions that drug companies, including Defendants, made to the sponsoring

organizations and committee members. These AAPM/APS Guidelines have been a

particularly effective channel of deception and have influenced not only treating

physicians, but also the body of scientific evidence on opioids. The Guidelines have

been cited 732 times in academic literature, were disseminated in and around the




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Cities and Counties during the relevant time period, are still available online, and

were reprinted in the Journal of Pain.

B.    Defendants’ Marketing Scheme Misrepresented the Risks and Benefits of
      Opioids.

      181. To convince doctors and patients in the Cities and Counties that opioids

can and should be used to treat chronic pain, Defendants had to convince them that

long-term opioid use is non-addictive, safe, and effective. Knowing they could do

so only by deceiving those doctors and patients about the risks and benefits of long-

term opioid use, Defendants made claims that were not supported by, and were

contrary to, the scientific evidence. Defendants have not corrected their

misrepresentations.

      182. Defendants deceptively trivialized and failed to disclose the risks of

long-term opioid use, particularly the risks of addiction and overdose, through a

series of misrepresentations that have since been conclusively debunked by

numerous published studies and the magnitude of human misery caused by

Defendants’ deceptions. These misrepresentations – which are described below –

reinforced each other and created the dangerously misleading impression that

opioids are the best treatment option for any recurrent moderate pain because: (1)

only a miniscule number of patients, if any, would become addicted; (2) all patients

with a substantial risk of becoming addicted to opioids could be readily identified;

(3) patients who displayed signs of addiction probably were not addicted and, in any


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event, could easily be weaned from the drugs; (4) the use of higher opioid doses do

not escalate risk of addiction or overdose; and (5) “abuse-deterrent” opioids are

reliably safe and effective for perpetual use. Defendants still espouse these

misrepresentations today.

        183. First, Defendants falsely claimed the risk of addiction is low and

unlikely to develop when opioids are prescribed, as opposed to those obtained

illicitly; and failed to disclose the greater risk of addiction with prolonged use of

opioids.219 For example:

                 a)       Actavis’s predecessor caused a patient education brochure to be
                          distributed in 2007 claiming opioid addiction is possible, but
                          “less likely if you have never had an addiction problem.” Upon
                          information and belief, based on Actavis’s acquisition of its
                          predecessor’s marketing materials along with the rights to
                          Kadian, Actavis continued to use this brochure in 2009 and
                          beyond;

                 b)       Cephalon and Purdue sponsored APF’s Treatment Options: A
                          Guide for People Living with Pain (2007), which instructed that
                          addiction is rare and limited to extreme cases of unauthorized
                          dose escalations, obtaining duplicative opioid prescriptions from
                          multiple sources, or theft. This publication is still available
                          online;

                 c)       Endo sponsored a website, Painknowledge.com, which claimed
                          in 2009 that “[p]eople who take opioids as prescribed usually do
                          not become addicted.” Another Endo website, PainAction.com,
                          stated “Did you know? Most chronic pain patients do not become
                          addicted to the opioid medications that are prescribed for them.”;


219
   See, e.g., Manchikanti, Ex. A, at 22 (blaming adverse consequences on abuses and overuses instead of
appropriately blaming opioids used as directed).



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                 d)      Endo distributed a pamphlet with the Endo logo entitled Living
                         with Someone with Chronic Pain, which stated that: “Most
                         health care providers who treat people with pain agree that most
                         people do not develop an addiction problem.” A similar
                         statement appeared on the Endo website, www.opana.com;

                 e)      Janssen reviewed, edited, approved, and distributed a patient
                         education guide entitled Finding Relief: Pain Management for
                         Older Adults (2009), which described as “myth” the claim that
                         opioids are addictive, and asserted as fact that “[m]any studies
                         show that opioids are rarely addictive when used properly for the
                         management of chronic pain.”;

                 f)      Janssen currently runs a website, Prescriberesponsibly.com (last
                         updated July 2, 2015), which claims that concerns about opioid
                         addiction are “overestimated”;

                 g)      Purdue sponsored APF’s A Policymaker’s Guide to
                         Understanding Pain & Its Management – which claims that less
                         than 1% of children prescribed opioids will become addicted and
                         that pain is undertreated due to “misconceptions about opioid
                         addiction [ ].” This publication is still available online; and

                 h)      Detailers for Purdue, Endo, Cephalon, and Janssen in and around
                         the Cities and Counties minimized or omitted any discussion
                         with doctors of the risk of addiction; misrepresented the potential
                         for opioid abuse with purportedly abuse-deterrent formulations;
                         and routinely did not correct the misrepresentations noted above.

        184. These claims contradict empirical evidence. As noted by the CDC, there

is “extensive evidence” of the “possible harms of opioids (including opioid use

disorder [an alternative term for opioid addiction]).”220 The CDC has explained that

“[o]pioid pain medication use presents serious risks, including…opioid use disorder”


220
   Centers for Disease Control and Prevention, CDC Guideline for Prescribing Opioids for Chronic Pain – United
States 2016, Mar. 18, 2016.



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and that “continuing opioid therapy for 3 months substantially increases risk for

opioid use disorder.”221 In fact, as many as “1 in 4 patients receiving long-term opioid

therapy in primary care settings struggle with opioid use disorder.”222 Among the 12

recommendations by the new CDC guidelines to improve patient care and safety is

that non-opioid therapy is preferred for chronic pain unless there is active cancer or

it is for palliative and end-of-life care.223

        185. Defendants’ long-standing claims that opioid addiction and overdose

are anomalies largely attributable to patient abuse of the drug, are demonstrably

false. Indeed, the majority of cases “involving injury and death occur in people using

opioids exactly as prescribed…”224

        186. In 2010, a study addressed the rates of opioid overdose with patients

receiving average prescribed daily opioids versus patients receiving medically

prescribed chronic opioid therapy.225 The patients included those receiving three-

plus opioid prescriptions within 90-days for chronic non-cancer pain between 1997

and 2005.226 Patients who received 50-99 mg had a 3.7-fold increase in overdose risk

(95% C.I. 1.5, 9.5) and a 0.7 annual overdose rate.227



221
    CDC Guideline, supra.
222
    Id.
223
    Id.
224
    Manchikanti, Ex. A, at 22.
225
    Kate M. Dunn, Ph.D., Kathleen W. Saunders, J.D., Overdose and Prescribed Opioids: Association among
Chronic Non-Cancer Pain Patients, Ann. Intern. Med., Dec. 10, 2010, at 2.
226
    Dunn, supra.
227
    Id.



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        187. The authors determined that even though opioids provide some pain

relief for chronic pain, balancing the long-term risks with the benefits was still

“poorly understood.”228 Those patients who had not received opioids lately had a

lower risk of overdose, however, than patients consistently receiving opioids at a

low dosage.229

        188. The authors pointed to previous studies that indicated a rise in opioid-

related overdoses with an increase in prescribing opioids for non-cancer pain, but

the belief that such phenomenon was caused by patients obtaining opioids from non-

medical sources.230 This study proves for the first time, however, that the risk of

overdose is directly linked to the prescription and use of medically prescribed

opioids.231

        189. The authors of a Washington study in which the authors obtained

Washington Medicaid data from the Washington Heath Care Authority reached a

similar conclusion.232 The opioid prescription claim history was examined for each

“opioid poisoning” for the months that enrollees received Medicaid FFS prescription

benefits.233 The authors concluded that a large percentage of opioid poisonings




228
    Dunn, supra.
229
    Dunn, supra, at 6.
230
    Id. at 7.
231
    Id.
232
    Deborah Fulton-Kehoe, Ph.D., Opioid Poisonings in Washington State Medicaid: Trends, Dosing, and
Guidelines, 53 Medical Care 8, Aug. 2015, at 680.
233
    Fulton-Kehoe, supra..



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happened at lower prescribed doses and in individuals who were not considered

chronic users.234

         190. The authors noted that previous opioid guidelines focused on opioid

doses above 80-120 mg/d MED even though previous studies showed risk of opioid

deaths and poisonings at much lower doses and that most non-methadone opioid

poisonings had been prescribed below these guidelines levels.235 The authors

concluded that only a small percentage of patients are prescribed opioids at a dosage

greater than 120 mg/d MED, but that a large percentage of the opioids poisonings

have been occurring in patients taking lower doses and in patients not considered

chronic users.236 Overdoses were therefore occurring in patients prescribed opioids

for chronic non-cancer pain at increased rates and the overdose risk increased with

an average prescription dose.237 The guidelines and other educational material

regarding opioids need to be changed to reflect the opioid poisoning among this

population.238

         191. In fact, “[t]he majority of deaths (60%) occur in patients when they are

given prescriptions based on prescribing guidelines by medical boards with 20% of

deaths in low dose opioid therapy…”239 The way to cure the “crisis of opioid use in



234
    Fulton-Kehoe, supra.
235
    Id. at 683.
236
    Id. at 684.
237
    Id.
238
    Id.
239
    Manchikanti, Ex. A, at 1.



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the United States” is to change “inappropriate prescribing patterns, which are largely

based on a lack of knowledge, perceived safety, and inaccurate belief of

undertreatment of pain.”240

        192. Another study found that approximately 60% of overdoses occur in

medical users of opioids prescribed by a single physician to manage chronic pain.241

Non-medical users comprise only a statistical minority of opioid overdoses.242

        193. Scientific evidence underscores the conclusion that low-dose opioid

therapy for chronic pain, opioids taken as prescribed, opioids obtained from a single

doctor, and opioids prescribed pursuant to prescribing guidelines cause many

overdoses. Defendants, however, disseminated contrary messaging throughout their

marketing campaigns to sell more opioids.

        194. Second, Defendants falsely instructed doctors and patients that signs of

addiction are actually signs of undertreated pain and should be treated by prescribing

more opioids. Defendants called this phenomenon “pseudoaddiction” – a term

coined by Dr. David Haddox, who went to work for Purdue, and popularized by Dr.

Russell Portenoy, a KOL for Cephalon, Endo, Janssen, and Purdue – and claimed

that pseudoaddiction is substantiated by scientific evidence. For example:

                 a)       Cephalon and Purdue sponsored Responsible Opioid
                          Prescribing (2007), which taught that behaviors such as

240
    Manchikanti, Ex. A.
241
    Barbara Zedler, M.D., Risk Factors for Serious Prescription Opioid-Related Toxicity or Overdose Among
Veterans Health Administration Patients, Pain Medicine, 2014, at 1912, attached hereto as Exhibit F.
242
    Id.



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                 “requesting drugs by name,” “demanding or manipulative
                 behavior,” seeing more than one doctor to obtain opioids, and
                 hoarding, are all signs of pseudoaddiction, rather than true
                 addiction. Responsible Opioid Prescribing remains for sale
                 online. The 2012 edition continues to teach that
                 pseudoaddiction is real;

           b)    Janssen sponsored, funded, and edited the Let’s Talk Pain
                 website, which in 2009 stated: “pseudoaddiction…refers to
                 patient behaviors that may occur when pain is under-treated….
                 Pseudoaddiction is different from true addiction because such
                 behaviors can be resolved with effective pain management.”;

           c)    Endo sponsored a National Initiative on Pain Control (NIPC)
                 CME program in 2009 titled Chronic Opioid Therapy:
                 Understanding Risk While Maximizing Analgesia, which
                 promoted pseudoaddiction by teaching that a patient’s aberrant
                 behavior was the result of untreated pain. Endo substantially
                 controlled NIPC by funding NIPC projects; developing,
                 specifying, and reviewing content; and distributing NIPC
                 materials;

           d)    Purdue published a pamphlet in 2011 entitled Providing Relief,
                 Preventing Abuse, which described pseudoaddiction as a
                 concept that “emerged in the literature” to describe the
                 inaccurate interpretation of [drug-seeking behaviors] in
                 patients who have pain that has not been effectively treated.”;
                 and

           e)    Purdue sponsored a CME program entitled Path of the Patient,
                 Managing Chronic Pain in Younger Adults at Risk for Abuse.
                 In a role play, a chronic pain patient with a history of drug
                 abuse tells his doctor that he is taking twice as many
                 hydrocodone pills as directed. The narrator notes that because
                 of pseudoaddiction, the doctor should not assume the patient is
                 addicted even if he persistently asks for a specific drug, seems
                 desperate, hoards medicine, or “overindulges in unapproved
                 escalating doses.” The doctor treats this patient by prescribing
                 a high-dose, long- acting opioid.



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        195. The 2016 CDC Guideline rejects the concept of pseudoaddiction.

The CDC Guideline nowhere recommends that opioid dosages be increased if a

patient is not experiencing pain relief. To the contrary, the Guideline explains that

“[p]atients who do not experience clinically meaningful pain relief early in

treatment…are unlikely to experience pain relief with longer-term use,”243 and that

physicians should “reassess[] pain and function within 1 month”244 in order to

decide whether to “minimize risks of long-term opioid use by discontinuing

opioids”245 because the patient is “not receiving a clear benefit.”246

        196. Third, Defendants falsely instructed doctors and patients that

addiction risk screening tools, patient contracts, urine drug screens, and similar

strategies allowed them to reliably identify and safely prescribe opioids to patients

predisposed to addiction. These misrepresentations were especially insidious

because Defendants aimed them at general practitioners and family doctors who

lack the time and expertise to closely manage higher-risk patients. Defendants’

misrepresentations made these doctors feel more comfortable prescribing opioids

to their patients, and patients more comfortable starting opioid therapy for chronic

pain. For example:

                 a)       Endo paid for a 2007 supplement in the Journal of Family
                          Practice written by a doctor who became a member of Endo’s

243
    CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
244
    Id.
245
    CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
246
    Id.



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                            speakers’ bureau in 2010. The supplement, entitled Pain
                            Management Dilemmas in Primary Care: Use of Opioids,
                            emphasized the effectiveness of screening tools, claiming that
                            patients at high risk of addiction could safely receive chronic
                            opioid therapy using a “maximally structured approach”
                            involving toxicology screens and pill counts;

                    b)      Purdue sponsored a 2011 webinar, Managing Patient’s Opioid
                            Use: Balancing the Need and Risk, which claimed that screening
                            tools, urine tests, and patient agreements prevent “overuse of
                            prescriptions” and “overdose deaths;” and

                    c)      As recently as 2015, Purdue has represented in scientific
                            conferences that “bad apple” patients – and not opioids – are the
                            source of the addiction crisis and that once those “bad apples”
                            are identified, doctors can safely prescribe opioids without
                            causing addiction.

           197. Once again, the 2016 CDC Guideline confirms these representations

are false. The Guideline notes that there are no studies assessing the effectiveness of

risk mitigation strategies – such as screening tools, patient contracts, urine drug

testing, or pill counts – widely believed by doctors to detect and deter outcomes

related to addiction and overdose.247 As a result, the Guideline recognizes that

doctors should not overestimate the risk screening tools for classifying patients as

high or low risk for opioid addiction because they are insufficient to rule out the

risks of long-term opioid therapy.248




247
      CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
248
      Id.



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      198. Fourth, to underplay the risk and impact of addiction and make doctors

feel more comfortable starting patients on opioids, Defendants falsely claimed that

opioid dependence can easily be addressed by tapering and that opioid withdrawal

is not a problem thereby failing to disclose the increased difficulty of stopping

opioids after long-term use.

      199. For example, a CME sponsored by Endo, entitled Persistent Pain in the

Older Adult, claimed that withdrawal symptoms can be avoided by tapering a

patient’s opioid dose by 10%-20% for 10 days. And Purdue sponsored APF’s A

Policymaker’s Guide to Understanding Pain & Its Management, which claimed that

“[s]ymptoms of physical dependence can often be ameliorated by gradually

decreasing the dose of medication during discontinuation.”

      200. Defendants deceptively minimized the significant symptoms of opioid

withdrawal, which, as explained in the 2016 CDC Guideline, include drug cravings,

anxiety, insomnia, abdominal pain, vomiting, diarrhea, sweating, tremor, tachycardia

(rapid heartbeat), spontaneous abortion and premature labor in pregnant women,

and the unmasking of anxiety, depression, and addiction – and grossly understated

the difficulty of tapering, particularly after long-term opioid use.

      201. Yet the 2016 CDC Guideline recognizes that the duration of opioid use

and the dosage of opioids prescribed should be limited to “minimize the need to




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taper opioids to prevent distressing or unpleasant withdrawal symptoms,”249 because

“physical dependence on opioids is an expected physiologic response in patients

exposed to opioids for more than a few days.”250 (Emphasis Added.) The Guideline

further states that “tapering opioids can be especially challenging after years on high

dosages because of physical and psychological dependence”251 and highlights the

difficulties, including the need to carefully identify “a taper slow enough to minimize

symptoms and signs of opioid withdrawal”252 and pausing and restarting tapers

depending on the patient’s response.

        202. The CDC also acknowledges the lack of any “high-quality studies

comparing the effectiveness of different tapering protocols for use when opioid

dosage is reduced or opioids are discontinued.”253 Contrary to the Treatment Options

distributed by the APF, withdrawal from opioids involves much more than mere

“physical” dependence occurring only when opioids are stopped suddenly or the dose

lowered too quickly.

        203. Fifth, Defendants falsely claimed that doctors and patients could

increase opioid dosages indefinitely without added risk and failed to disclose the

greater risks to patients at higher dosages. The ability to escalate dosages was critical



249
    CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
250
    Id.
251
    Id.
252
    Id.
253
    Id.



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to Defendants’ efforts to market opioids for long-term use to treat chronic pain

because, absent this misrepresentation, doctors would have abandoned treatment

when patients built up tolerance and lower dosages did not provide pain relief. For

example:

            a)     Actavis’s predecessor created a patient brochure for Kadian in
                   2007 that stated, “Over time, your body may become tolerant of
                   your current dose. You may require a dose adjustment to get the
                   right amount of pain relief. This is not addiction.” Upon
                   information and belief, based on Actavis’s acquisition of its
                   predecessor’s marketing materials along with the rights to
                   Kadian, Actavis continued to use these materials in 2009 and
                   beyond;

            b)     Cephalon and Purdue sponsored APF’s Treatment Options: A
                   Guide for People Living with Pain (2007), which claims that
                   some patients “need” a larger dose of an opioid, regardless of the
                   dose currently prescribed. The guide stated that opioids have
                   “no ceiling dose” and are therefore the most appropriate
                   treatment for severe pain. This guide is still available for sale
                   online;

            c)     Endo sponsored a website, painknowledge.com, which claimed
                   in 2009 that opioid dosages may be increased until “you are on
                   the right dose of medication for your pain.”;


            d)     Endo distributed a pamphlet edited by a KOL entitled
                   Understanding Your Pain: Taking Oral Opioid Analgesics,
                   which was available during the time period of this Complaint on
                   Endo’s website. In Q&A format, it asked “If I take the opioid
                   now, will it work later when I really need it?” The response is,
                   “The dose can be increased….You won’t ‘run out’ of pain
                   relief.”;

            e)     Janssen sponsored a patient education guide entitled Finding
                   Relief: Pain Management for Older Adults (2009), which was


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                            distributed by its sales force. This guide listed dosage limitations
                            as “disadvantages” of other pain medicines but omitted any
                            discussion of risks of increased opioid dosages;

                    f)      Purdue’s In the Face of Pain website promotes the notion that if
                            a patient’s doctor does not prescribe what, in the patient’s view,
                            is a sufficient dosage of opioids, he or she should find another
                            doctor who will;

                    g)      Purdue sponsored APF’s A Policymaker’s Guide to
                            Understanding Pain & Its Management, which taught that
                            dosage escalations are “sometimes necessary,” even unlimited
                            ones, but did not disclose the risks from high opioid dosages.
                            This publication is still available online;

                    h)      Purdue sponsored a CME entitled Overview of Management
                            Options that is still available for CME credit. The CME was
                            edited by a KOL and taught that NSAIDs and other drugs, but
                            not opioids, are unsafe at high dosages; and

                    i)      Purdue presented a 2015 paper at the College on the Problems of
                            Drug Dependence, the “the oldest and largest organization in the
                            US dedicated to advancing a scientific approach to substance use
                            and addictive disorders,” challenging the correlation between
                            opioid dosage and overdose.

           204. These claims conflict with the scientific evidence, as confirmed by the

FDA and CDC. As the CDC explains in its 2016 Guideline, the “[b]enefits of high-

dose opioids for chronic pain are not established”254 while the “risks for serious

harms related to opioid therapy increase at higher opioid dosage.”255




254
      CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
255
      Id.



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        205. More specifically, the CDC explains, “there is now an established body

of scientific evidence showing that overdose risk is increased at higher opioid

dosages.”256 Similarly, there is an “increased risk for opioid use disorder, respiratory

depression, and death at higher dosages.”257 That is why the CDC advises doctors to

avoid increasing dosages above 90 morphine milligram equivalents per day.

        206. Finally, Defendants’ deceptive marketing of the so-called abuse-

deterrent properties of some of their opioids has created false impressions that these

opioids reliably curb addiction and abuse.

        207. More specifically, Defendants have made misleading claims about the

ability of their so-called abuse-deterrent opioid formulations to deter use. For

example, Endo’s advertisements for the 2012 reformulation of Opana ER claimed

that it was designed to be crush resistant in a way that suggested it was more difficult

to misuse the product. This claim was false.

        208. The FDA warned in a 2013 letter that there was no evidence Endo’s

design would provide a reduction in oral, intranasal or intravenous use.258 Moreover,

Endo’s own studies, which it failed to disclose, showed that Opana ER could still be

ground and chewed.




256
    CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
257
    Id.
258
    See FDA Statement: Original Opana ER Relisting Determination, May 10, 2013.



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        209. In a 2016 settlement with the State of New York, Endo agreed not to

make statements in New York that Opana ER was designed to be or is crush-

resistant. The State found those statements false and deceptive because there was

no difference in the ability to extract the narcotic from Opana ER.

        210. Similarly, the 2016 CDC Guideline states that no studies support the

notion that “abuse-deterrent technologies [are] a risk mitigation strategy for deterring

or preventing abuse,”259 noting that the technologies – even when they work – “do

not prevent opioid abuse through oral intake, the most common route of opioid

abuse, and can still be abused by non-oral routes.”260

        211. These numerous, long-standing misrepresentations of the risks of long-

term opioid use spread by Defendants successfully convinced doctors and patients

to underestimate those risks.

C.      Defendants Grossly Overstated the Benefits of Chronic Opioid Therapy.

        212. To convince doctors and patients that opioids should be used to treat

chronic pain, Defendants had to persuade them that there was a significant benefit

to long-term opioid use. But as the 2016 CDC Guideline makes clear, there is

“insufficient evidence to determine the long-term benefits of opioid therapy for

chronic pain.”261



259
    CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
260
    Id.
261
    Id.



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           213. In fact, the CDC found no evidence showing “a long-term benefit of

opioids in pain and function versus no opioids for chronic pain with outcomes

examined at least 1 year later (with most placebo-controlled randomized trials ≤ 6

weeks in duration)”262 and that other treatments were more or equally beneficial and

less harmful than long-term opioid use.

           214. Nonetheless, Defendants were legion in their misrepresentations that

opioid drugs were appropriate for use as a long-term lifestyle. For example:

                    a)      Actavis distributed an advertisement that claimed that the use of
                            Kadian to treat chronic pain would allow patients to return to
                            work, relieve “stress on your body and your mental health,” and
                            help patients enjoy their lives;

                    b)      Endo distributed advertisements that claimed that the use of
                            Opana ER for chronic pain would allow patients to perform
                            demanding tasks like construction work or work as a chef and
                            portrayed seemingly healthy, unimpaired subjects;

                    c)      Janssen sponsored and edited a patient education guide entitled
                            Finding Relief: Pain Management for Older Adults (2009) –
                            which states as “a fact” that “opioids may make it easier for
                            people to live normally.” The guide lists expected functional
                            improvements from opioid use, including sleeping through the
                            night, returning to work, recreation, sex, walking, and climbing
                            stairs;


                    d)      Purdue ran a series of advertisements for OxyContin in 2012 in
                            medical journals entitled “pain vignettes,” which were case
                            studies featuring patients with pain conditions persisting over
                            several months and recommending OxyContin for them. The ads
                            implied that OxyContin improves patients’ function;

262
      CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.



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           e)    Responsible Opioid Prescribing (2007), sponsored and
                 distributed by Cephalon, Endo and Purdue, taught that relief of
                 pain by opioids, by itself, improved patients’ function. The book
                 remains for sale online;

           f)    Cephalon and Purdue sponsored APF’s Treatment Options: A
                 Guide for People Living with Pain (2007), which counseled
                 patients that opioids “give [pain patients] a quality of life we
                 deserve.” The guide was available online until APF shut its doors
                 in 2012;

           g)    Endo’s NIPC website painknowledge.com claimed in 2009 that
                 with opioids, “your level of function should improve; you may
                 find you are now able to participate in activities of daily living,
                 such as work and hobbies, that you were not able to enjoy when
                 your pain was worse.” Elsewhere, the website promoted
                 improved quality of life (as well as “improved function”) as
                 benefits of opioid therapy. The grant request that Endo approved
                 for this project specifically indicated NIPC’s intent to make
                 misleading claims about function, and Endo closely tracked visits
                 to the site;

           h)    Endo was the sole sponsor, through NIPC, of a series of CMEs
                 titled Persistent Pain in the Older Patient, which claimed that
                 chronic opioid therapy has been “shown to reduce pain and
                 improve depressive symptoms and cognitive functioning.” The
                 CME was disseminated via webcast;

           i)    Janssen sponsored, funded, and edited a website, Let’s Talk Pain,
                 in 2009, which featured an interview edited by Janssen claiming
                 that opioids allowed a patient to “continue to function.” This
                 video is still available today on YouTube;


           j)    Purdue sponsored the development and distribution of APF’s A
                 Policymaker’s Guide to Understanding Pain & Its Management,
                 which claimed that “multiple clinical studies” have shown that
                 opioids are effective in improving daily function, psychological
                 health, and health- related quality of life for chronic pain


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                          patients.” The Policymaker’s Guide was originally published in
                          2011 and is still available online today; and

                 k)       Purdue’s, Cephalon’s, Endo’s, and Janssen’s sales
                          representatives have conveyed and continue to convey the
                          message that opioids will improve patient function.

        215. These claims are unsupported by the scientific literature. The 2016

CDC Guideline explained, “There is no good evidence that opioids improve pain or

function with long-term use”263 and “complete relief of pain is unlikely.”264 The

CDC reinforced this conclusion throughout its 2016 Guideline:

                 a)       “No evidence shows a long-term benefit of opioids in pain and
                          function versus no opioids for chronic pain with outcomes
                          examined at least 1 year later….”;265

                 b)       “Although opioids can reduce pain during short-term use, the
                          clinical evidence review found insufficient evidence to
                          determine whether pain relief is sustained and whether function
                          or quality of life improves with long-term opioid therapy.”;266
                          and

                 c)       “[E]vidence is limited or insufficient for improved pain or
                          function with long-term use of opioids for several chronic pain
                          conditions for which opioids are commonly prescribed, such as
                          low back pain, headache, and fibromyalgia.”267

        216. The CDC also noted that the risks of addiction and death “can cause

distress and inability to fulfill major role obligations.”268


263
    CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
264
    Id. (emphasis added).
265
    Id.
266
    Id.
267
    Id.
268
    Id.



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        217. The 2016 CDC Guideline was not the first time a federal agency

repudiated Defendants’ claim that opioids improved function and quality of life. In

2010, the FDA warned Actavis that “[w]e are not aware of substantial evidence or

substantial clinical experience demonstrating that the magnitude of the effect of the

drug [Kadian] has in alleviating pain, taken together with any drug-related side

effects patients may experience…results in any overall positive impact on a patient’s

work, physical and mental functioning, daily activities, or enjoyment of life.”269

        218. Defendants also falsely emphasized or exaggerated the risks of

competing products like NSAIDs so that doctors and patients would look to opioids

first for treating chronic pain.              Once again, Defendants’ misrepresentations

contradicted non-industry sponsored scientific evidence. In addition, Purdue

misleadingly promoted OxyContin as unique among opioids in providing 12

continuous hours of pain relief with one dose. In fact, OxyContin does not last for

12 hours – a fact that Purdue has known at all times relevant to this action.

        219. According to Purdue’s own research, OxyContin wears off in under six

hours in one quarter of patients and in under 10 hours in more than half. The reason

is that OxyContin tablets release approximately 40% of their active medicine

immediately, after which release tapers. Although the patient experiences a powerful


269
   Warning Letter from Thomas Abrams, Dir., FDA Div. of Mktg., Adver., & Commc’ns, to Doug Boothe, CEO,
Actavis Elizabeth LLC (Feb. 18, 2010), available at
http://www.fda.gov/Drugs/GuidanceComplianceRegulatoryInformation/EnforcementActivitiesbyFDA/W
arningLettersandNoticeofViolationLetterstoPharmaceuticalCompanies/ucm259240.htm.



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initial response, there is little or no pain relief at the end of the dosing period because

less medicine is released.

      220. This phenomenon is known as “end of dose” failure, and the FDA

found in 2008 that a substantial number of chronic pain patients taking OxyContin

experience it.

      221. This “end of dose” failure not only renders Purdue’s promise of 12

hours of relief false and deceptive, it also makes OxyContin more dangerous because

the declining pain relief patients experience toward the end of each dosing period

drives them to take more OxyContin before the next dosing period begins, quickly

increasing the amount of drug they are taking and spurring growing dependence.

      222. Purdue’s competitors were aware of this problem. For example, Endo

ran advertisements for Opana ER referring to “real” 12-hour dosing. Nevertheless,

Purdue falsely promoted OxyContin as if it were effective for a full 12 hours.

Indeed, Purdue’s sales representatives continue to tell doctors in and around the

Cities and Counties that OxyContin lasts a full 12 hours.

D.    Defendants also engaged in Other Unlawful, Unfair, and Fraudulent
      Misconduct.

      223. Cephalon deceptively marketed its opioids Actiq and Fentora for

chronic pain even though the FDA has expressly limited their use to the treatment of

cancer pain in opioid-tolerant individuals.




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      224. Both Actiq and Fentora are extremely powerful fentanyl-based IR

opioids. Neither are approved for or have been shown to be safe or effective for

chronic pain. Indeed, the FDA expressly prohibited Cephalon from marketing

Actiq for anything but cancer pain, and refused to approve Fentora for the treatment

of chronic pain because of the potential harm, including the high risk of “serious and

life-threatening adverse events” and abuse – which are greatest in non-cancer

patients.

      225. The FDA also issued a Public Health Advisory in 2007 emphasizing

that Fentora should be used only for cancer patients who are opioid-tolerant and

should not be used for any other conditions, such as migraines, post-operative pain,

or pain due to injury.

      226. Despite this advisory, Cephalon conducted and continues to conduct a

well-funded campaign to promote Actiq and Fentora for chronic pain and other non-

cancer conditions for which it was not approved, appropriate, or safe. As part of this

campaign, Cephalon used CMEs, speaker programs, KOLs, journal supplements,

and detailing by its sales representatives to give doctors the false impression that

Actiq and Fentora are safe and effective for treating non-cancer pain. For example:

             a)    Cephalon paid to have a CME it sponsored, Opioid-Based
                   Management of Persistent and Breakthrough Pain, published in
                   a supplement of Pain Medicine News in 2009. The CME
                   instructed doctors that “clinically, broad classification of pain
                   syndromes as either cancer, or non-cancer, related has limited



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                    utility” and recommended Actiq and Fentora for patients with
                    chronic pain. The CME is still available online;

             b)     Cephalon’s sales representatives set up hundreds of speaker
                    programs for doctors, including many non-oncologists, which
                    promoted Actiq and Fentora for the treatment of non-cancer pain;
                    and

             c)     In December 2011, Cephalon widely disseminated a journal
                    supplement entitled “Special Report: An Integrated Risk
                    Evaluation and Mitigation Strategy for Fentanyl Buccal Tablet
                    (FENTORA) and Oral Transmucosal Fentanyl Citrate (ACTIQ)”
                    to Anesthesiology News, Clinical Oncology News, and Pain
                    Medicine News – three publications that are sent to thousands of
                    anesthesiologists and other medical professionals. The Special
                    Report openly promotes Fentora for “multiple causes of pain” –
                    and not just cancer pain.

      227. Cephalon’s deceptive marketing gave doctors and patients the false

impression that Actiq and Fentora were safe and effective not only for treating

chronic pain, but were also approved by the FDA for such uses.

      228. Other Defendants herein participated in illicit and unlawful prescribing

of its drugs. For example, Purdue did not report illegal prescribing of OxyContin

until years after law enforcement shut down a Los Angeles clinic that prescribed

more than 1.1 million OxyContin tablets. In doing so, Purdue protected its own

profits at the expense of public health and safety.

      229. The State of New York also found that Endo failed to require sales

representatives to report signs of addiction, diversion, and inappropriate prescribing;

paid bonuses to sales representatives for detailing prescribers who were subsequently



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arrested or convicted for illegal prescribing; and failed to prevent sales

representatives from visiting prescribers whose suspicious conduct had caused them

to be placed on a no-call list.

E.    Defendants Targeted Susceptible Prescribers and Vulnerable Patient
      Populations.

      230. As part of their deceptive marketing scheme, Defendants identified and

targeted susceptible prescribers and vulnerable patient populations in the U.S. and

the Cities and Counties. For example, Defendants focused their deceptive marketing

on primary care doctors, who were more likely to treat chronic pain patients and

prescribe opioids, but were less likely to be educated about treating pain and the risks

and benefits of opioids.

      231. Defendants also targeted vulnerable patient populations like the elderly

and veterans, who tend to suffer from chronic pain. Defendants targeted these

vulnerable patients even though the risks of long-term opioid use were significantly

greater for them.

      232. For example, the 2016 CDC Guideline observes that existing evidence

shows that elderly patients taking opioids suffer from elevated fall and fracture risks,

greater risk of hospitalization, and increased vulnerability to adverse drug effects

and interactions. The Guideline therefore concludes that there are “special risks of

long-term opioid use for elderly patients” and recommends that doctors use




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“additional caution and increased monitoring” to minimize the risks of opioid use in

elderly patients.

        233. The same is true for veterans, who are more likely to use anti-anxiety

drugs (benzodiazepines) for post-traumatic stress disorder, which interact

dangerously with opioids.

        234. Defendants achieved their goal in targeting these vulnerable

populations when the Arthritis Foundation published its Guide to Pain Management

in 2003 (“Pain Management Guide”).270 The Pain Management Guide was

published by a neutral third-party that not only believed the message Defendants had

been selling for years, but it continued to relay that message to patients experiencing

chronic pain – elderly patients with arthritis.271

        235. The Pain Management Guide was intended for a population of “70

million Americans who have arthritis or other related diseases.”272 It parroted

falsities, such as the low risk of developing an addiction to opioids and cited

Defendants’ false statistic: “The addiction rate from narcotics is approximately one

percent.”273

        236. The Arthritis Foundation even accepted and repeated Defendants’

distinction between dependence and addiction. A person with dependence suggests


270
    Susan Bernstein, The Arthritis Foundation’s Guide to Pain Management, Arthritis Foundation, 2003.
271
    Id.
272
    Id.
273
    Id. at 70-71.



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he or she would experience withdrawal symptoms upon stopping opioids while

addiction “is a self-destructive, habitual use” of opioids.274 The Pain Management

Guide brushes aside concerns about addiction and recommends higher doses of

opioids for patients who develop a dependence on opioids275 – the exact message

that Defendants had been spouting for years.

           237. The fact that neutral third parties were relying on and buying

Defendants’ false propositions only verifies Defendants’ successful fraud on the

medical and non-medical community at large.

F.         Although Defendants knew that their Marketing of Opioids was False and
           Deceptive, they Fraudulently Concealed their Misconduct.

           238. Defendants, both individually and collectively, made, promoted, and

profited from their misrepresentations about the risks and benefits of opioids for

chronic pain even though they knew their misrepresentations were false and

deceptive. Manufacturing Defendants and Distributor Defendants alike knew that

the marketing scheme being promoted by Manufacturer Defendants was misleading,

inaccurate, and simply false. The history of opioids, as well as research and clinical

experience over the last 20 years, established that opioids were highly addictive and

responsible for a long list of very serious adverse outcomes.




274
      Id. at 70.
275
      Bernstein, supra.



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        239. In The Journal of the American Medical Association November 2002

edition, which Defendants meant to reach physicians throughout the nation, Purdue

advertised OxyContin as a safe drug with minimal safety risks.276 The ad depicts a

man and boy fishing with a title in large white letters exclaiming that “THERE CAN

BE LIFE WITH RELIEF” with “LIFE WITH RELIEF” as the largest words in the

advertisement.277 Purdue then informs physicians that “[t]he most serious risk

associated with opioids, including OxyContin, is respiratory depression.”278

        240. Purdue fraudulently represented that respiratory depression was not

only the most serious risk for its own drug OxyContin, but for opioids in general,

even though it knew that opioids carried a risk of addiction and death.

        241. The ad continues with benign side effects that may occur with the use

of OxyContin, such as “constipation, nausea, sedation, dizziness, vomiting, pruritus,

headache, dry mouth, sweating, and weakness.”279 These side effects are certainly a

far cry from addiction or death. Of course this ad also claims that OxyContin is a

“continuous around-the-clock analgesic,” which is equally false.280

        242. Because of the bold misrepresentations and omissions in its ads

occurring in the October 2, 2002 JAMA issue, and one occurring in the November



276
    The Journal of American Medical Association, Nov. 13, 2002.
277
    JAMA, supra at 1, 3.
278
    Id.
279
    Id.
280
    JAMA, supra, at 1, 3.



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13, 2002 issue, the FDA wrote a warning letter to Michael Friedman, the Executive

Vice President and Chief Operating Officer of Purdue.281 Mr. Abrams explained that

“[y]our journal advertisements omit and minimize the serious safety risks associated

with OxyContin, and promote it for uses beyond which have been proven safe and

effective.”282 Mr. Abrams reprimanded Purdue for failing to present “any

information” in the advertisement about the “potentially fatal risks” or the potential

for abuse associated with OxyContin.283

        243. Mr. Abrams was concerned that these advertisements suggested such a

“broad use of [OxyContin] to treat pain without disclosing the potential for abuse

with the drug and the serious, potentially fatal risks associated with its use. . . .”284

Purdue’s actions were “especially egregious and alarming” given “its potential

impact on the public health.”285 Mr. Abrams pointed out to Purdue the reality that

“[i]t is particularly disturbing that your November Ad would tout ‘Life with Relief,’

yet fail to warn that patients can die from taking OxyContin.”286

        244. Purdue Pharma has consistently disregarded serious harm that it knew

OxyContin caused. For example, in Kentucky in 2001, three people and one estate

sued Purdue for becoming addicted to OxyContin even though they were taking the


281
    Warning Letter from Thomas Abrams, Dir., FDA Div. of Mktg., Adver., & Commc’ns, to Michael Friedman, Exec.
Vice Pres. and COO, Purdue Pharma L.P.
282
    Warning Letter, supra at 1.
283
    Id.
284
    Id. at 2.
285
    Id.
286
    Id. at 4.



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drug as prescribed.287 Several similar lawsuits were filed against Purdue by

individuals.288 Dr. J. David Haddox, an executive at Purdue, responded to these

claims: “A lot of these people say, ‘Well, I was taking the medicine like my doctor

told me to,’ and then they start taking more and more and more…I don’t see where

that’s my problem.”289

        245. Not surprisingly, three current and former executives from Purdue

plead guilty in 2007 to criminal charges that they misled regulators, doctors, and

patients about OxyContin’s risk of addiction.290 In pleading guilty to misbranding

charges, Purdue admitted it had fraudulently marketed OxyContin as a drug less

prone to addiction and as having fewer side effects than other opioids.291 In reality,

unlike most other opioids, OxyContin contained pure oxycodone without any other

ingredients, which made it a higher-dose narcotic despite its time-release design that

Purdue hawked as ameliorating its addictive potential.292

        246. Manufacturing Defendants avoided detection of their fraudulent

conduct by disguising their role in the deceptive marketing through funding and

using third parties, such as Front Groups and KOLs. Doctors and patients trusted




287
    Chris Kahn, Maker of OxyContin Faces at least 13 Lawsuits,” July 27, 2001, Port Arthur News.
288
    Id.
289
    Kahn, supra.
290
    See Barry Meier, In Guilty Plea, OxyContin Maker to Pay $600 Million, May 10, 2007, available at
http://www.nytimes.com/2007/05/10/business/11drug-web.html; see also Zee, Ex. B, at 3-4.
291
    See Meier, supra.
292
    See id.



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these third parties and did not realize that it was the pharmaceutical companies that

were actually feeding them false and misleading information.

      247. Defendants also manipulated their promotional materials and the

scientific literature to make it appear that the information promoted was accurate,

truthful, and supported by objective evidence when it was not.

      248. Thus, Defendants successfully concealed from the medical community

and patients facts sufficient to arouse suspicion of the claims the Cities and Counties

now assert. The Cities and Counties did not know of the existence or scope of

Defendants’ industry-wide fraud and could not have acquired such knowledge

earlier through the exercise of reasonable diligence.

G.    By Increasing Opioid Prescriptions and Use, Defendants’ Deceptive
      Marketing Scheme has fueled the Opioid Epidemic and Damaged the
      Communities in the Cities and Counties.

      249. Defendants’ misrepresentations deceived doctors and patients about the

risks and benefits of long-term opioid use. Studies reveal that many doctors and

patients are unaware of or do not understand the risks or benefits of opioids. Indeed,

patients often report that they were not warned they might become addicted to

opioids prescribed to them. As reported in January 2016, a 2015 survey of more




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than 1,000 opioid patients found that 4 out of 10 were not told opioids were

potentially addictive.293

        250. Defendants’ deceptive marketing scheme caused, and continues to

cause, doctors in and around the Cities and Counties to prescribe opioids for chronic

pain conditions such as back pain, headaches, arthritis, and fibromyalgia. Absent

Defendants’ fraud, these doctors would not have prescribed as many opioids that

negatively impacted residents of the Cities and Counties.

        251. Defendants’ deceptive marketing scheme also caused, and continues to

cause, patients to purchase and use opioids for their chronic pain believing they are

safe and effective. Absent Defendants’ deceptive marketing scheme, fewer patients

would be using opioids long-term to treat chronic pain, and those patients using

opioids would be using less of them.

        252. Defendants’ deceptive marketing has caused and continues to cause the

prescription and use of opioids to explode. Indeed, this dramatic increase in opioid

prescriptions and use corresponds with the dramatic increase in Defendants’

spending on their deceptive marketing scheme. Defendants’ spending on opioid

marketing totaled approximately $91 million in 2000. By 2011, that spending had

tripled to $288 million.



293
   Hazelden Betty Ford Foundation, Missed Questions, Missed Opportunities, Jan. 27, 2016, available at
http://www.hazeldenbettyford.org/about-us/news-and-media/pressrelease/doctors-missing-questions-that-could-
prevent-opioid-addiction.



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        253. The escalating number of opioid prescriptions written by doctors who

were deceived by Defendants’ deceptive marketing scheme is the cause of a

correspondingly dramatic increase in opioid addiction, overdose, and death

throughout the U.S. and the Cities and Counties. The increase in opioid prescriptions

equals an increase in “disability, medical costs, subsequent surgery, and continued

or late opioid use.”294

        254. Scientific evidence demonstrates a strong correlation between opioid

prescriptions and addiction to opioids. In a 2016 report, the CDC explained that

prescribing opioids has quadrupled since 1999, which has resulted in a parallel

increase in opioid overdoses.295 Indeed, there has been a two-third increase in

overdose deaths from using opioids since 2000.296 For these reasons, the CDC

concluded that efforts to rein in the prescribing of opioids for chronic pain are critical

“to reverse the cycle of opioid pain medication misuse that contributes to the opioid

overdose epidemic.”297

        255. Due to the increase in opioid overdoses, first responders, such as police

officers, have been and will continue to be in the position to assist people




294
    Manchikanti, Ex. A, at 23.
295
    CDC/NCHS, National Vital Statistics System, Mortality, CDC Wonder, Atlanta, GA: US Department of Health
and Human Services, 2016, available at https://wonder.cdc.gov/; Rudd RA, Seth P, David F, Scholl L, Increases in
Drug and Opioid-Involved Overdose Deaths — United States, 2010–2015, Morb Mortal Wkly Rep., Dec. 16, 2016.
296
    CDC, National Vital Statistics System, Mortality, Morb Mortal Wkly Rep., Jan. 1, 2006, at 1378-82, Increases in
Drug and Opioid Deaths – United States, 2000-2014.
297
    CDC Guideline for Prescribing Opioids for Chronic Pain, supra; see also Rudd, supra.



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experiencing opioid-related overdoses.298 In 2016, “over 1,200 law enforcement

departments nationwide carried naloxone in an effort to prevent opioid-related

deaths.”299

           256. Defendants’ deceptive marketing scheme has also detrimentally

impacted children in the Cities and Counties. Overprescribing opioids for chronic

pain has made the drugs more accessible to school-aged children, who come into

contact with opioids after they have been prescribed to friends or relatives in the

same household.

           257. Defendants’ conduct has adversely affected Plaintiffs’ child protection

agencies in the number of children in foster care driven by parental drug addiction.

Children with parents addicted to drugs tend to stay in foster care longer, and they

often enter the system having experienced significant trauma, which makes these

cases more expensive for cities and counties like the City of Great Falls, Anaconda-

Deer Lodge County, Lake County, and City of Missoula.

           258. Opioid addiction is one of the primary reasons that the Cities and

Counties residents seek treatment for substance dependence. A significant number

of admissions for drug addiction were associated with a primary diagnosis of opiate

addiction or dependence.




298
      Tex. Att’y Gen. Op. No. KP-0168 (2017).
299
      Id. citing http://www.nchrc.org/law-enforcement/us-law-enforcement-who-carry-naloxone/.



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        259. But for Defendants’ creation, through false and deceptive advertising

and other unlawful and unfair conduct, of a virtually limitless opioid market, this

opioid crisis would not have occurred, and the Cities and Counties would not have

been harmed. Defendants’ success in extending the market for opioids to new

patients and chronic pain conditions has created an abundance of drugs available for

non-medical and criminal use and fueled a new wave of addiction and injury. It has

been estimated that 60% of the opioids to which people are addicted come, directly

or indirectly, through doctors’ prescriptions.300

        260. Law enforcement agencies have increasingly associated prescription

drug addiction with violent and property crimes. Despite strict federal regulation of

prescription drugs, local law enforcement agencies are faced with increasing

diversion from legitimate sources for illicit purposes, including doctor shopping,

forged prescriptions, falsified pharmacy records, and employees who steal from their

place of employment. The opioid epidemic has prompted a growing trend of crimes

against pharmacies including robbery and burglary. This ongoing diversion of

prescription narcotics creates a lucrative marketplace.

        261. The rise in opioid addiction caused by Defendants’ deceptive marketing

scheme has also resulted in an explosion in heroin use. For example, heroin use has


300
   Nathaniel P. Katz, Prescription Opioid Abuse: Challenges and Opportunities for Payers, Am. J. Managed Care,
Apr. 19 2013, at 5 (“The most common source of abused [opioids] is, directly or indirectly, by prescription.”),
available at http://www.ajmc.com/publications/issue/2013/2013-1-vol19-n4/Prescription-Opioid-Abuse-Challenges-
and-Opportunities-for-Payers.



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more than doubled in the past decade among adults aged 18 to 25 years.301 Moreover,

heroin-related overdoses in the United States has more than quadrupled since

2010.302

        262. The costs and consequences of opioid addiction are staggering. For

example, in 2007, the cost of healthcare due to opioid addiction and dependence was

estimated at 25 billion, the cost of criminal justice was estimated at 5.1 billion, and

the cost of lost workplace productivity was estimated at 25.6 billion.

        263. Prescription opioid addiction and overdose have an enormous impact

on the health and safety of individuals, as well as communities at large, because the

consequences of this epidemic reach far beyond the addicted individual.

        264. The Cities and Counties have also expended funds for false claims

submitted on the Cities and Counties health plans that were paid as medically

necessary when they were not and prescriptions for opioids through worker’s

compensation benefits.

        265. The repercussions for residents of the Cities and Counties therefore

include job loss, loss of custody of children, physical and mental health problems,

homelessness and incarceration, which results in instability in communities often

already in economic crisis and contributes to increased demand on community



301
    Centers for Disease Control and Prevention, Vital Signs: Today’s Heroin Epidemic – More People at Risk,
Multiple Drugs Abused, MMWR 2015, available at https://www.cdc.gov/vitalsigns/heroin/index.html.
302
    Id.



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services such as hospitals, courts, child services, treatment centers, and law

enforcement. Manufacturing Defendants knew, and should have known, about the

harms that their deceptive marketing has caused, and continues to cause, and will

cause in the future. Manufacturing Defendants closely monitored their sales and the

habits of prescribing doctors. Their sales representatives, who visited doctors and

attended CMEs, knew which doctors were receiving their messages and how they

were responding.

      266. Manufacturing Defendants also had access to and carefully watched

government and other data that tracked the explosive rise in opioid use, addiction,

injury, and death. Manufacturing Defendants not only knew, but intended that their

misrepresentations would persuade doctors to prescribe and encourage patients to

use their opioids for chronic pain.

      267. Manufacturing Defendants’ actions are neither permitted nor excused

by the fact that their drug labels may have allowed, or did not exclude, the use of

opioids for chronic pain. FDA approval of opioids for certain uses did not give

Defendants license to misrepresent the risks and benefits of opioids. Indeed,

Manufacturing       Defendants’   misrepresentations   were   directly contrary to

pronouncements by, and guidance from, the FDA based on the medical evidence and

their own labels.




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      268. Nor is Manufacturing Defendants’ causal role broken by the

involvement of doctors. Defendants’ marketing efforts were ubiquitous and highly

persuasive. Their deceptive messages tainted virtually every source doctors could

rely on for information and prevented them from making informed decisions. And

both doctors and patients in the Cities and Counties relied on information

Manufacturing Defendants distributed whether it was through ads, magazines, trade

journals, websites, CMEs, KOLs, and/or front groups. Manufacturing Defendants

also hijacked what doctors wanted to believe – namely, that opioids represented a

means of relieving their patients’ suffering and of practicing medicine more

compassionately.

      269. Likewise, Distributor Defendants knew when there was suspicious

opioid prescription activity as they do today. They were in a unique position to

forestall the epidemic in the Cities and Counties before it began. Instead, Distributor

Defendants allowed a flood of opioids to be poured into the Cities and Counties. The

Cities and Counties relied on Distributor Defendants to prevent oversupply with

distribute prescription drugs, including opioids, only if a valid medical purpose

existed. At the very least, the Cities and Counties depended on Distributor

Defendants to act as watchful and effective gatekeepers in the opioid pipeline as they

represent in their public statements. Distributor Defendants did neither to Plaintiffs’

detriment, proximately causing damage to Plaintiffs.



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      270. The funds that the Cities and Counties have used and will continue to

use for all the costs associated with Defendants’ false, misleading, and fraudulent

marketing are taxpayer funds. Defendants specifically targeted physicians in the

Cities and Counties with fraudulent claims concerning the benefits of opioids for

chronic pain while omitting the lack of efficacy.

      271. Defendants also fraudulently omitted the fact that opioids were

addictive even though they knew, or should have known, that physicians in the Cities

and Counties would either use the misinformation Defendants relayed to them to

prescribe opioids to the residents of the Cities and Counties, or give this information

to the residents of the Cities and Counties, resulting in the over-prescribing and/or

overuse of opioids in the Cities and Counties.

      272. Defendants’ actions and omissions were each a cause-in-fact of

Plaintiffs’ past and future damages. Defendants’ wrongful conduct caused injuries

to Plaintiffs in the past, continues to cause injuries to Plaintiffs, and will continue to

cause injuries to Plaintiffs in the future. Future damages include, but are not limited

to, additional resources for counseling and medication assisted treatment of addicts,

medical treatment for overdoses, life skills training for adolescents, increased law

enforcement, and additional resources to treat the psychological effects of opioids

and the underlying conditions that make people susceptible to opioid addiction, all

of which will be obtained through taxpayer resources.



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H.    Distributor Defendants Knew that Opioids were being Fraudulently
      Prescribed and Failed to Act.

      273. Distributor Defendants are not innocent sellers of opioid drugs.

Distributor Defendants knew that the marketing scheme promoted by Manufacturing

Defendants was misleading, false, and deceptive. They knew that opioids were being

industry promoted for the treatment of virtually any complaint of recurrent pain, and

advertised as less addictive, less prone to abuse, less threatening for overdose, and

more effective for perpetual use than was true. Nevertheless, they have deliberately

shirked their duties to monitor suspiciously high prescription patterns, and have

continued to feed the over-prescribing of opioid drugs. Distributor Defendants have

long been aware of an opioid overuse epidemic in America, in Montana, and in the

Cities and Counties, but chose in each instance to profit by stoking those epidemics

with more opioids. Distributor Defendants knew that opioids were too often being

prescribed without legitimate therapeutic purpose, but continued to inundate the

market with opioids. Distributor Defendants were and continue to be an integral part

of the opioid epidemic in the Cities and Counties.

      274. As early as 2008, Distributor Defendants knew there was an opioid

crisis and they were failing in their “critical role” in the supply chain to change or

decrease the number of opioids being distributed into the market. McKesson paid a

$13.25 million fine to settle claims regarding suspicious orders of opioids from




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internet pharmacies in 2008.303 Cardinal paid a $34 million fine for failing regarding

suspicious distribution of hydrocodone in 2008.304 Cardinal also had to close down

its Lakeland, Florida warehouse because it turned a blind eye to the abundance of

opioids funneling through only four pharmacies.305 As such, McKesson and Cardinal

knew by 2008, that their opioids were too often being oversupplied and distributed

and, upon information and belief, that suspicion for diversionary purposes existed.

This knowledge should have caused McKesson and Cardinal to better perform their

duties to monitor non-therapeutic opioid prescription orders and to refrain from

filling these orders as they occurred in the Cities and Counties. But instead

McKesson and Cardinal doubled-down on profiting from an opioid epidemic, and

did so in the Cities and Counties opioid epidemic.

        275. No later than 2011, all Distributor Defendants knew there was a public

health crisis throughout America created by opioid use. In 2011, the CDC announced

that very thing.

        276. Montana law specifically requires that dispensers like Distributor

Defendants monitor opioid prescription orders and to refuse to fill prescription

orders for opioids that are without valid medical purpose. In spite of the existence of

an opioid epidemic in the Cities and Counties, and the fact that Distributor


303
    Eric Eyre, “Suspicious” Drug Order Rules Never Enforced by State, Charleston Gazette Mail, Dec. 18, 2016,
available at www.wvgazettemail.com.
304
    Id.
305
    See Eyre, supra.



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Defendants knew or should have known of that epidemic, Distributor Defendants

continued to fill each opioid prescription order in the Cities and Counties, including

those that were without valid medical purpose--thus stoking the epidemic.306

        277. In 2017, Distributor Defendant McKesson publicly acknowledged its

essential duty to monitor and to curb to therapeutic levels its distribution of opioid

drugs. The chairman and chief executive officer of McKesson, John H.

Hammergren, has said: “Pharmaceutical distributors play an important role in

identifying and combatting prescription drug diversion and abuse…McKesson, as

the nation’s largest distributors, takes our role seriously.”307

        278. In an October 31, 2017 letter to Chris Christie, Chair of the President’s

Commission on Fighting the Drug and Opioid Crisis, Mr. Pete Slone, the Senior

Vice President, Public Affairs, of McKesson admitted that the opioid crisis was the

“public health crisis of our times” and was affecting communities at alarming

rates.308 Mr. Slone stated that both manufacturers and distributors should address the

complicated opioid heath crisis.309 Certainly, in public McKesson admits its

responsibility and duty to the public with regard to distributing and disbursing




306
    CDC, Prescription Painkiller Overdoses at Epidemic Levels, Nov. 1, 2011, www.cdc.gov.
307
    Charles Ornstein, Drug Distributors Penalized for Turning Blind Eye in Opioid Epidemic, APR, Health News, Jan.
27, 2017; Letter from Pete Slone, Senior Vice President, Public Affairs, of McKesson, to The Honorable Chris Christie
dated October 31, 2017.
308
    Pete Slone Letter, supra.
309
    Id.



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opioids. It is only when McKesson is named in a lawsuit that it is suddenly blameless

and has no responsibilities in stemming the tide of the opioid epidemic it helps fuel.

        279. Amerisource agrees it has the same essential duty to monitor and to

refrain from supplying suspicious opioid prescribing. On December 14, 2017, a press

release announced that Amerisource, as a global healthcare solutions leader, “plays

a critical role in the pharmaceutical supply chain, working as a link between

manufacturers and healthcare providers to help patients have access to the

medications they need, when they need them.”310 (Emphasis added).

        280. Indeed, Amerisource’s website is dedicated to its role as the “core

strength” in U.S. drug distribution citing its “[t]remendous cash generation” and its

“[d]iverse base of high quality provider customers.”311 Recognizing that the opioid

epidemic could strike as many as 650,000 Americans over the next decade,

Amerisource’s CEO, Steve Collis, has assured the public that distributors like

Amerisource are responsible for safely delivering medication to pharmacies given

its “unique perspective into how [the] supply chain works.”312

        281. Mr. Collis agrees with people who are “rightfully demanding action on

this tragic issue” and agrees to “push forward practical solutions that can yield results



310
    AmerisourceBergen Foundation, AmerisourceBergen Foundation Launches Municipal Support Program to Help
Combat Opioid Abuse, Dec. 14, 2017 press release.
311
    Amerisource Bergen, Distributor’s Duty, www.amerisourcebergen.com.
312
    Steven H. Collis, Sound Policy and More Transparency can Help Companies Fight the Opioid Crisis, Politics,
Dec. 15, 2017.



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in the near-term on opioids.”313 Remarking that it is “difficult to avoid the epidemic

of opioid abuse,” Mr. Collis adds that the opioid crisis is “demands attention, action,

and accountability.” 314 Mr. Collis explains that large pharmaceutical distribution

companies, of which Amerisource is one, should be held accountable because

“nearly every prescription in the United States moves through distributors who

purchase      drugs      from      pharmaceutical         manufacturers          and       sell    them        to

pharmacies….”315 Mr. Collis explains that distributors like Amerisource “must

create a supply chain that is safe and secure.”316 Mr. Collis even admits that as more

opioid-based pain treatments were prescribed, more opioids were distributed.317 The

same views are expressed on Amerisource’s website.318

        282. On its website, Amerisource demonstrates that Distributor Defendants’

ability to create a safe and secure supply chain is possible through “complex

algorithms to identify and stop orders that are deemed to be suspicious.”319 Mr.

Collis admits that Amerisource has “reported and stopped tens of thousands of

suspicious orders since 2007, not to mention countless other orders that pharmacies




313
    Id.
314
      Steve Collis, The Surprising Morality of Opioid Distribution,          Sept.   18,   2017,   available   at
https://www.amerisourcebergen.com/abcnew/fighting-the-opioid-epidemic.
315
    Id.
316
    Collis, supra.
317
    Id.
318
    https://www.amerisourcebergen.com/abcnew/fighting-the-opioid-epidemic.
319
    Id.



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never had the opportunity to place because [Amerisource] declined to service them

altogether.”320 But not in the Cities and Counties.

        283. Cardinal acknowledges on its website that the “opioid abuse crises

dates back decades” and is due to “changes in prescribing patterns” for pain.321 Like

McKesson, Cardinal admits that the opioid epidemic is a “serious and complex”

public health issue.322

        284. Cardinal has been aware of this public health crisis for many years

because it tracks and reports CDC opioid prescription and overdose death data. For

example, Cardinal cites the fact that in 2015, 4.4 billion opioid prescriptions were

filled, which equals about 12 prescriptions per person in the United States.323 Out of

these prescriptions, 11% were prescribed following surgery, injury, or for health

conditions such as cancer.324 Moreover, Cardinal recites that 1 in 4 patients using

opioids long-term in a primary care situation struggle with opioid addiction.325

Cardinal is also aware that in 2015, according to the CDC, there were more than

33,000 deaths that involved prescribed and non-prescribed opioids, and that opioid

overdoses have quadrupled since 1999.326 After tracking the opioid prescription data,

Cardinal cannot now claim ignorance of the fact that many cities and counties in


320
    Id. (emphasis added).
321
    Cardinal Health, No Demographic Group is Immune to this Crisis, www.cardinalheatlh.com.
322
    Id.
323
    Cardinal Health, No Demographic Group, supra.
324
    Id.
325
    Id.
326
    Id.



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Montana, including Plaintiffs, had an opioid prescription rate much higher than the

National opioid prescription rate.

        285. To deny such knowledge would be to deny Cardinal’s role. Cardinal is

part of a “multi-faceted and highly regulated healthcare system” in which “everyone

in that chain, including [Cardinal] must do their part.”327 Cardinal believes it has a

responsibility to provide a safe and secure channel to deliver medications, such as

opioids.328 This belief is underscored by Cardinal’s Opioid Acton Program:

Reclaiming Our Communities in which Cardinal states on its website that it operates

a “state-of-the-art, constantly adaptive system to combat opioid diversion.”329

Cardinal claims it knows its pharmacy customers and uses a “multi-factor process to

evaluate pharmacies” even before the pharmacies become Cardinal’s customers.330

To identify diversion and flag suspicious activity, Cardinal “engage[s] directly with

pharmacists to understand their business, their purchasing patterns, the ration of

controlled to non-controlled substances ordered and the demographics of their

customers.”331 As a result, not only could Cardinal identify the suspicious ordering




327
    Cardinal Health, Cardinal Health’s Commitment to Opioid Anti-Diversion, Education and Misuse Prevention,
www.cardinalhealth.com.
328
    Cardinal Health, No Demographic Group, supra.
329
    Cardinal Health, Opioid Action Program: Reclaiming our Communities, www.cardinalhealth.com.
330
    Id. (making announced and unannounced site visits to pharmacies, which also includes hiring independent
investigators specializing in pharmacy diversion and surveillance).
331
    Id.; Cardinal also uses an investigative team to perform on-the-ground investigations to determine whether
heightened scrutiny is necessary. Id. For high-volume orders or orders that flag additional scrutiny, Cardinal has a
senior committee of anti-diversion experts who recommend safeguards, which can include ending a business
relationship with a customer or denying a business relationship with a new customer. Id.



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patterns in the Cities and Counties, it had the power to stop the influx of opioids into

the Cities and Counties.

        286. Cardinal electronically monitors every order prior to fulfillment,

especially controlled substances.332 As a distributor, Cardinal has access to, and

checks, the requisite information to see “whether the order deviates from historic

ordering patterns in [Cardinal’s] strict anti-diversion standards.”333 Suspicious

orders are flagged for further “scrutiny and evaluation, including potentially

canceling the order.”334

        287. Cardinal states on its website that it “refuse[s] to supply controlled

substances to any pharmacy customer where [Cardinal] believe[s] there is an

unreasonable risk of medication diversion.”335 This refusal is part of Cardinal’s

commitment to help solve the “complex national public health crisis.” 336 Yet

Cardinal continued to supply opioids to pharmacies in the Cities and Counties

despite the data it reviewed.

        288. Distributor Defendants knew their duty. Distributor Defendants had the

means to carry out their duty and claim to have successfully done so at times in the

past. Distributor Defendants acknowledge that their duty is ongoing. With regards



332
    Id.
333
    Id.
334
    Id.
335
    Cardinal Health, Cardinal Health’s Commitment, supra.
336
    Id.



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to opioids, however, Distributor Defendants continuously evade their gatekeeping

duties, including but not limited to, in the Cities and Counties.

        289. According to The Charleston Gazette-Mail, Distributor Defendants

shipped nearly 9 million hydrocodone pills over two years to one pharmacy in the

town of Kermit, West Virginia.337 Kermit, West Virginia has a population of 392.

Drug wholesalers distributed 780 million pills of oxycodone and hydrocodone in the

state over six years. According to the Gazette, “[t]he unfettered shipments amount

to 433 pain pills for every man, woman and child in West Virginia.”338

        290. Refusing to take action or turning a blind eye to suspicious spikes in

opioid prescriptions has for the Distributor Defendants simply become a pesky cost

of doing business. McKesson and Cardinal did not take sufficient heed of the multi-

million dollar fines each had paid in 2008. McKesson agreed to pay a $150 million

fine on January 17, 2017. Cardinal Health reached a $44 million settlement in

December 2016; Cardinal also agreed in January 2017 to pay $20 million to the state

of West Virginia; and Amerisource agreed to pay $16 million to the state of West

Virginia.339

        291. According to a 60 Minutes/Washington Post joint investigation, “[t]he

pharmaceutical industry is doing everything it can to keep [the opioid] epidemic


337
    Charles Ornstein, Drug Distributors Penalized for Turning Blind Eye in Opioid Epidemic, APR, Health News, Jan.
27, 2017.
338
    Ornstein, supra.
339
    Ornstein, supra.



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going.”340 McKesson certainly did not recognize any sort of “due diligence” while

it was providing “millions and millions and millions of pills to countless pharmacies

through the United States.”341 Since the 1990s, McKesson has made billions from

distributing addictive opioids.342 McKesson has admitted that when it came to the

opioid crisis and pills flooding American communities, there was plenty of blame to

go around, including drug makers, other distributors, doctors, and pharmacies.343

        292. If McKesson had used their authority in the supply chain, the opioid

epidemic would not be “nowhere near” where it is today. 344 In McKesson’s role as

a distributor, not a day went by that something suspicious was not happening, but

McKesson never reported any suspicious activity, according to the 60 Minutes

investigation.345 McKesson “fueled the explosive prescription drug abuse problem

in this country.”346

        293. McKesson repeatedly filled suspicious orders of the most commonly

abused and prescribed opioid drugs oxycodone and hydrocodone.347 McKesson, as

did other Distributor Defendants, failed in their duty to act.




340
    60 Minutes, Whistleblowers: DEA Attorneys Went Easy on McKesson, the Country’s Largest Drug Distributor,
CBS News, Dec. 17, 2017.
341
    Id.
342
    Id.
343
    Id.
344
    60 Minutes, supra.
345
    60 Minutes, supra.
346
    Too Big to Prosecute, supra.
347
    Id.



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        294. Distributor Defendants were in a unique position to see the results of

Manufacturing Defendants’ fraudulent marketing scheme. Distributor Defendants

knew or should have known that there was a sharp increase in the prescription and

distribution of opioids. Distributor Defendants undertook the responsibility to

prevent opioids from being dispensed or disbursed for diversionary purposes − with

a multi-faceted system to monitor and prevent they developed long ago, according

to their own published public proclamations – and breached that duty Like

Manufacturing Defendants, Distributor Defendants chose profits over duty, in

breach of duty.

I.      FACTS PERTAINING TO CLAIMS UNDER RACKETEER-
        INFLUENCED AND CORRUPT ORGANIZATIONS (“RICO”) ACT

        a.       The Opioid Marketing Enterprise

                 1.      The Common Purpose and Scheme of the Opioid Marketing
                         Enterprise

        295. Knowing their products were highly addictive, ineffective and unsafe

for the treatment of long-term chronic pain, non-cancerous pain, the RICO Marketing

Defendants348 formed an association-in-fact enterprise and schemed to unlawfully

increase their profits and sales, and grow their share of the prescription painkiller




348
  The RICO Marketing Defendants referred to in this section are those named in the Sixth and Seventh Claims for
Relief under 28 U.S.C. § 1964(c), including Purdue, Cephalon, Janssen, and Endo.



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market, through repeated and systematic misrepresentations about the safety and

efficacy of opioids for treating long-term chronic pain.

      296. In order to unlawfully increase the demand for opioids, the RICO

Marketing Defendants formed an association-in-fact enterprise (the “Opioid

Marketing Enterprise”) with the “Front Groups” and KOLs described above.

Through their personal relationships, the members of the Opioid Marketing

Enterprise had the opportunity to form and take actions in furtherance of the Opioid

Marketing Enterprise’s common purpose. The RICO Marketing Defendants’

substantial financial contribution to the Opioid Marketing Enterprise, and the

advancement of opioids-friendly messaging, fueled the U.S. opioids epidemic.

      297. The RICO Marketing Defendants, through the Opioid Marketing

Enterprise, concealed the true risks and dangers of opioids from the medical

community and the public, including Plaintiffs, and made misleading statements and

misrepresentations about opioids that downplayed the risk of addiction and

exaggerated the benefits of opioid use. The misleading statements included: (1)

that addiction is rare among patients taking opioids for pain; (2) that addiction

risk can be effectively managed; (3) that symptoms of addiction exhibited by

opioid patients are actually symptoms of “pseudoaddiction”; (4) that withdrawal is

easily managed; (5) that increased dosing present no significant risks; (6) that

long-term use of opioids improves function; (7) that the risks of alternative



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forms of pain treatment are greater than the adverse effects of opioids; (8) that use

of time-released dosing prevents addiction; and (9) that abuse-deterrent

formulations provide a solution to opioid abuse.

      298. The scheme devised, implemented and conducted by the RICO

Marketing Defendants was a common course of conduct designed to ensure that the

RICO Marketing Defendants unlawfully increased their sales and profits through

concealment and misrepresentations about the addictive nature and effective use of

the RICO Marketing Defendants’ drugs. The RICO Marketing Defendants, the

Front Groups, and the KOLs acted together for a common purpose and perpetuated

the Opioid Marketing Enterprise’s scheme, which included the unbranded

promotion and marketing network as described above.

      299. The RICO Marketing Defendants, Front Groups and KOLs

communicated regularly and shared information, coordinated misrepresentations,

and exchanged payments. The RICO Marketing Defendants, Front Groups, and

KOLs continue to share information about overcoming objections and resistance to

opioid use for chronic pain through the coordination, communication and payment,

which has occurred, and continues to occur, through the repeated and continuing use

of the wires and mail. At all times, the RICO Marketing Defendants, Front Groups

and KOLs functioned as a continuing unit for the purpose of implementing the




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Opioid Marketing Enterprise’s scheme and common purpose, and each agreed and

took actions to hide the scheme and continue its existence.

      300. At all relevant times, the Front Groups knew of the RICO Marketing

Defendants’ conduct, willingly participated, and benefited from their conduct.

Each Front Group also knew, but did not disclose, that the other Front Groups were

engaged in the same scheme, to the detriment of consumers, prescribers, and the

Cities and Counties. But for the Opioid Marketing Enterprise’s unlawful fraud, the

Front Groups had no incentive to disclose the RICO Marketing Defendants’ and the

Opioid Marketing Enterprise’s deceit to their members and constituents. By failing

to disclose this information, Front Groups perpetuated the Opioid Marketing

Enterprise’s scheme and common purpose while reaping substantial benefits.

      301. At all relevant times, the KOLs were aware of, willing participants in,

and benefitted from the RICO Marketing Defendants’ conduct. The RICO

Marketing Defendants selected KOLs solely because they favored the aggressive

treatment of chronic pain with opioids. The RICO Marketing Defendants’ support

helped the KOLs become respected industry experts. And, as they rose to

prominence, the KOLs falsely touted the benefits of using opioids to treat chronic

pain, repaying the RICO Marketing Defendants by advancing their marketing goals.

The KOLs also knew, but did not disclose, that the other KOLS and Front Groups

were engaged in the same scheme, to the detriment of consumers, prescribers, and



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Plaintiffs. But for the Opioid Marketing Enterprise’s unlawful conduct, the KOLs

would not have hid the RICO Marketing Defendants’ and the Opioid Marketing

Enterprise’s deceit. By failing to disclose this information, KOLs furthered the

Opioid Marketing Enterprise’s scheme and common purpose while reaping

substantial benefits.

      302. The RICO Marketing Defendants, Front Groups and KOLs engaged in

certain discrete categories of activities in furtherance of the common purpose of the

Opioid Marketing Enterprise. As described herein, the Opioid Marketing

Enterprise’s conduct in furtherance of the common purpose of the Opioid Marketing

Enterprise involved: (1) misrepresentations regarding the risk of addiction and safe

use of prescription opioids for long-term chronic pain (described in detail above);

(2) lobbying to defeat measures to restrict over-prescription; (3) efforts to criticize

or undermine CDC guidelines; (4) efforts to limit prescriber accountability; and (5)

Defendants’ lobbying is not itself alleged to be unlawful, but is further evidence of

Defendants’ state of mind in furtherance of unlawful activities.

      303. In addition to disseminating misrepresentations about the risks and

benefits of opioids, the Opioid Marketing Enterprise also furthered its common

purpose by criticizing or undermining CDC Guideline. Members of the Opioid

Marketing Enterprise criticized or undermined the CDC Guideline, which




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represented an important step in limiting the amount of opioids prescribed for

chronic pain.

      304. In 2015, for example, several Front Groups, including the U.S. Pain

Foundation and the AAPM, criticized the CDC draft guidelines by insinuating lack of

transparency because the guidelines did not disclose the names, affiliation, and

conflicts of interest of the individuals who constructed the guidelines.

      305. In 2016, the AAPM criticized the guidelines through its immediate past

president, who argued that the CDC guideline was too strong and disproportionate

to the small select portion of the available clinical evidence used to construct the

guidelines.

      306. The RICO Marketing Defendants needed the Front Groups and

KOLs, who were perceived as “neutral” and more “scientific” than the RICO

Marketing Defendants themselves, to accomplish the Opioid Marketing Enterprise’s

mission. Without the Front Groups and KOLs spreading misrepresentations about

opioids, the Opioid Marketing Enterprise could not have achieved its common

purpose.

      307. The impact of the Opioid Marketing Enterprise’s scheme is still in

place − i.e., opioids continue to be prescribed and used for even moderate chronic

pain throughout the Cities and Counties and the opioid epidemic continues to injure

the Cities and Counties, and consume health care and law enforcement resources.



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      308. Clearly, the RICO Marketing Defendants, the Front Groups, and the

KOLs were each willing participants in the Opioid Marketing Enterprise, had a

common purpose and interest in the object of the scheme, and functioned within a

structure designed to effectuate the Enterprise’s purpose.

             2.     The Conduct of the Opioid Marketing Enterprise Violated
                    Civil RICO

      309. From approximately the late 1990s to the present, each of the RICO

Marketing Defendants exerted control over the Opioid Marketing Enterprise and

participated in the operation or management of the affairs of the Opioid Marketing

Enterprise, directly or indirectly, in the following ways:

             a)     Creating and providing a body of deceptive, misleading and
                    unsupported medical and popular literature about opioids that (i)
                    understated the risks and overstated the benefits of long-term
                    use; (ii) appeared to be the result of independent, objective
                    research; and (iii) was more likely to be relied upon by
                    physicians, patients, and payors;

             b)     Creating and providing a body of deceptive, misleading and
                    unsupported electronic and print advertisements about opioids
                    that (i) understated the risks and overstated the benefits of long-
                    term use; (ii) appeared to be the result of independent, objective
                    research; and (iii) was more likely to be relied upon by
                    physicians, patients, and payors;

             c)     Creating and providing a body of deceptive, misleading and
                    unsupported sales and promotional training materials about
                    opioids that (i) understated the risks and overstated the benefits
                    of long-term use; (ii) appeared to be the result of independent,
                    objective research; and (iii) was more likely to be relied upon by
                    physicians, patients, and payors;



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           d)    Creating and providing a body of deceptive, misleading and
                 unsupported CMEs and speaker presentations about opioids that
                 (i) understated the risks and overstated the benefits of long-term
                 use; (ii) appeared to be the result of independent, objective
                 research; and (iii) was more likely to be relied upon by
                 physicians, patients, and payors;


           e)    Selecting, cultivating, promoting and paying KOLs based solely
                 on their willingness to communicate and distribute the RICO
                 Marketing Defendants’ messages about the use of opioids for
                 chronic pain;

           f)    Providing substantial opportunities for KOLs to participate in
                 research studies on topics the RICO Marketing Defendants
                 suggested or chose, with the predictable effect of ensuring that
                 many favorable studies appeared in the academic literature;

           g)    Paying KOLs to serve as consultants or on the RICO Marketing
                 Defendants’ advisory boards, on the advisory boards and in
                 leadership positions on Front Groups, and to give talks or present
                 CMEs, typically over meals or at conferences;

           h)    Selecting, cultivating, promoting, creating and paying Front
                 Groups based solely on their willingness to communicate and
                 distribute the RICO Marketing Defendants’ messages about the
                 use of opioids for chronic pain;

           i)    Providing substantial opportunities for Front Groups to
                 participate in and/or publish research studies on topics the RICO
                 Marketing Defendants suggested or chose (and paid for), with
                 the predictable effect of ensuring that many favorable studies
                 appeared in the academic literature;

           j)    Paying significant amounts of money to the leaders and
                 individuals associated with Front Groups;

           k)    Donating to Front Groups to support talks or CMEs, that were
                 typically presented over meals or at conferences;



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            l)     Disseminating many of their false, misleading, imbalanced, and
                   unsupported statements through unbranded materials that
                   appeared to be independent publications from Front Groups;

            m)     Sponsoring CME programs put on by Front Groups that focused
                   exclusively on the use of opioids for chronic pain;


            n)     Developing and disseminating pro-opioid treatment guidelines
                   with the help of the KOLs as authors and promoters, and the help
                   of the Front Groups as publishers, and supporters;

            o)     Encouraging Front Groups to disseminate their pro-opioid
                   messages to groups targeted by the RICO Marketing Defendants,
                   such as veterans and the elderly, and then funding that
                   distribution;

            p)     Concealing their relationship to and control of Front Groups and
                   KOLs from the Cities and Counties and the public at large; and

            q)     Intending that Front Groups and KOLs would distribute through
                   the U.S. mail and interstate wire facilities, promotional and other
                   materials that claimed opioids could be safely used for chronic
                   pain.

      310. The Front Groups also conducted and participated in the conduct of

the Opioid Marketing Enterprise, directly or indirectly, in the following ways:

            a)     The Front Groups promised to, and did, make representations
                   regarding opioids and the RICO Marketing Defendants’ drugs
                   that were consistent with the RICO Marketing Defendants’
                   messages;

            b)     The Front Groups distributed, through the U.S. Mail and
                   interstate wire facilities, promotional and other materials
                   claiming that opioids could be safely used for chronic pain
                   without addiction, and misrepresented the benefits of using
                   opioids for chronic pain outweighed the risks;



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                    c)       The Front Groups echoed and amplified messages favorable to
                             increased opioid use − and ultimately, the financial interests of
                             the RICO Marketing Defendants;

                    d)       The Front Groups issued guidelines and policies minimizing the
                             risk of opioid addiction and promoting opioids for chronic pain;


                    e)       The Front Groups strongly criticized the 2016 guidelines from
                             the CDC when it recommended limits on opioid prescriptions for
                             chronic pain; and

                    f)       The Front Groups concealed their connections to the KOLs and
                             the RICO Marketing Defendants.

           311. The RICO Marketing Defendants’ Front Groups have had a

tremendous impact on policymakers and the public. The larger Front Groups

“likely have a substantial effect on policies relevant to their industry sponsors.”349

“By aligning medical culture with industry goals in this way, many of the groups

described in this report may have played a significant role in creating the necessary

conditions for the U.S. opioid epidemic.”350

           312. The KOLs also participated in the conduct of the affairs of the Opioid

Marketing Enterprise, directly or indirectly, in the following ways:

                    a)       The KOLs promised to, and did, make representations regarding
                             opioids and the RICO Marketing Defendants’ drugs that were
                             consistent with the RICO Marketing Defendants’ messages
                             themselves;




349
      Fueling an Epidemic, supra note 85, at 1.
350
      Fueling an Epidemic, supra at 2.



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            b)     The KOLs distributed, through the U.S. Mail and interstate wire
                   facilities, promotional and other materials which claimed that
                   opioids could be safely used for chronic pain without addiction,
                   and misrepresented the benefits of using opioids for chronic pain
                   outweighed the risks;

            c)     The KOLs echoed and amplified messages favorable to increased
                   opioid use − and ultimately, the financial interests of the RICO
                   Marketing Defendants;
            d)     The KOLs issued guidelines and policies minimizing the risk of
                   opioid addiction and promoting opioids for chronic pain;

            e)     The KOLs strongly criticized the 2016 guidelines from the
                   Center for Disease Control and Prevention (CDC) that
                   recommended limits on opioid prescriptions for chronic pain;
                   and

            f)     The KOLs concealed their connections to the Front Groups and
                   the RICO Marketing Defendants, and their sponsorship by the
                   RICO Marketing Defendants.

      313. The scheme devised and implemented by the RICO Marketing

Defendants and members of the Opioid Marketing Enterprise, amounted to a

common course of conduct intended to increase the RICO Marketing Defendants’

sales from prescription opioids by encouraging the prescribing and use of opioids

for long-term chronic pain. The scheme was a continuing course of conduct, and

many aspects of it continue through to the present.

            3.     The RICO Marketing Defendants Controlled and Paid Front
                   Groups and KOLs to Promote and Maximize Opioid Use

      314. As discussed in detail above, the RICO Marketing Defendants

funded and controlled the various Front Groups, including APF, AAPM/APS,



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FSMB, Alliance for Patient Access, USPF, and AGS. The Front Groups, which

only appeared to be independent, transmitted the RICO Marketing Defendants'

misrepresentations. The RICO Marketing Defendants and the Front Groups thus

worked together to promote the goals of the Opioid Marketing Enterprise.

      315. Similarly, as discussed in detail above, the RICO Marketing

Defendants paid KOLs, including Drs. Portenoy, Fine, Fishman, and Webster, to

spread their misrepresentations and promote their products. The RICO Marketing

Defendants and the KOLs thus worked together to promote the goals of the Opioid

Marketing Enterprise.

             4.    Pattern of Racketeering Activity

      316. The RICO Marketing Defendants’ scheme described herein was

perpetrated, in part, through multiple acts of mail fraud and wire fraud,

constituting a pattern of racketeering activity as described herein.

      317. The pattern of racketeering activity used by the RICO Marketing

Defendants and the Opioid Marketing Enterprise likely involved thousands of

separate instances of the use of the U.S. Mail or interstate wire facilities in

furtherance of the unlawful Opioid Marketing Enterprise, including essentially

uniform misrepresentations, concealments and material omissions regarding the

beneficial uses and non-addictive qualities for the long-term treatment of chronic,

non-acute and non-cancer pain. The RICO Marketing Defendants’ goal was to



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increase sales and profits by inducing consumers, prescribers, regulators, and the

Cities and Counties to rely on the RICO Marketing Defendants’ misrepresentations.

      318. Each of these fraudulent mailings and interstate wire transmissions

constitutes racketeering activity and collectively, these violations constitute a pattern

of racketeering activity, through which the RICO Marketing Defendants, the Front

Groups and the KOLs defrauded and intended to defraud Montana consumers, the

Cities, the Counties, and other intended victims.

      319. The RICO Marketing Defendants devised and knowingly carried out

an illegal scheme and artifice to defraud by means of materially false or fraudulent

pretenses, representations, promises, or omissions of material facts regarding the

safe, non-addictive and effective use of opioids for long-term chronic, non-acute

and non-cancer pain. The RICO Marketing Defendants and members of the Opioid

Marketing Enterprise knew that these representations violated the FDA approved

use o f these drugs, and were not supported by actual evidence. The RICO

Marketing Defendants intended that that their common purpose and scheme to

defraud would, and did, use the U.S. Mail and interstate wire facilities, intentionally

and knowingly with the specific intent to advance, and for the purpose of executing,

their illegal scheme.

      320. By intentionally concealing the material risks and affirmatively

misrepresenting the benefits of using opioids for chronic pain to prescribers,



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regulators and the public, including Plaintiffs, the RICO Marketing Defendants, the

Front Groups and the KOLs engaged in a fraudulent and unlawful course of conduct

constituting a pattern of racketeering activity.

      321. The RICO Marketing Defendants’ use of the U.S. Mail and interstate

wire facilities to perpetrate the opioids marketing scheme involved thousands of

communications, publications, representations, statements, electronic transmissions,

payments, including, inter alia:

             a)     Marketing materials about opioids, and their risks and benefits,
                    which the RICO Marketing Defendants sent to health care
                    providers, transmitted through the internet and television,
                    published, and transmitted to Front Groups and KOLs located
                    across the country, including the Cities and Counties;

             b)     Written representations and telephone calls between the RICO
                    Marketing Defendants and Front Groups regarding the
                    misrepresentations, marketing statements and claims about
                    opioids, including the non-addictive, safe use of chronic long-
                    term pain generally;

             c)     Written representations and telephone calls between the RICO
                    Marketing     Defendants     and     KOLs      regarding    the
                    misrepresentations, marketing statements and claims about
                    opioids, including the non-addictive, safe use of chronic long-
                    term pain generally;

             d)     E-mails, telephone and written communications between the
                    RICO Marketing Defendants and the Front Groups agreeing to
                    or implementing the opioids marketing scheme;

             e)     E-mails, telephone and written communications between the
                    RICO Marketing Defendants and the KOLs agreeing to or
                    implementing the opioids marketing scheme;



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             f)    Communications between the RICO Marketing Defendants,
                   Front Groups and the media regarding publication, drafting of
                   treatment guidelines, and the dissemination of the same as part
                   of the Opioid Marketing Enterprise;


             g)    Communications between the RICO Marketing Defendants,
                   KOLs and the media regarding publication, drafting of treatment
                   guidelines, and the dissemination of the same as part of the
                   Opioid Marketing Enterprise;

             h)    Written and oral communications directed to State agencies,
                   federal and state courts, and private insurers throughout the
                   Cities and Counties that fraudulently misrepresented the risks
                   and benefits of using opioids for chronic pain; and

             i)    Receipts of increased profits sent through the U.S. Mail and
                   interstate wire facilities—the wrongful proceeds of the scheme.

      322. In addition to the above-referenced predicate acts, it was intended

by and foreseeable to the RICO Marketing Defendants that the Front Groups and the

KOLs would distribute publications through the U.S. Mail and by interstate wire

facilities, and, in those publications, claim that the benefits of using opioids for

chronic pain outweighed the risks.

      323. The RICO Marketing Defendants, and each member of the Opioid

Marketing Enterprise agreed, with knowledge and intent, to the overall objective

of the RICO Marketing Defendants’ fraudulent scheme and participated in the

common course of conduct to commit acts of fraud and indecency in marketing

prescription opioids.




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        324. Indeed, for the RICO Marketing Defendants’ fraudulent scheme to

work, each of them had to agree to implement similar tactics regarding fraudulent

marketing of prescription opioids. This conclusion is supported by the fact that the

RICO Marketing Defendants each financed, supported, and worked through the same

KOLs and Front Groups, and often collaborated on and mutually supported the same

publications, CMEs, presentations, and prescription guidelines.

        325. The RICO Marketing Defendants’ predicate acts all had the purpose of

creating the opioid epidemic that substantially injured the Cities and Counties, while

simultaneously generating billion-dollar revenue and profits for the RICO

Marketing Defendants. The predicate acts were committed or caused to be

committed by the RICO Marketing Defendants through their participation in the

Opioid Marketing Enterprise and in furtherance of its fraudulent scheme.

        B.      The Opioid Supply Chain Enterprise

        326. Faced with the reality that they will now be held accountable for the

consequences of the opioid epidemic they created, members of the industry resort to

“a categorical denial of any criminal behavior or intent.”351 Defendants’ actions

went far beyond what could be considered ordinary business conduct. For more

than a decade, certain Defendants, the “RICO Supply Chain Defendants” (Purdue,




351
  McKesson Responds to Recent 60 Minutes Story About January 2017 Settlement With the Federal Government,
McKesson,http://www.mckesson.com/about-mckesson/fighting-opioid-abuse/60-minutes-response



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Cephalon, Endo, Actavis, McKesson, Cardinal, and AmerisourceBergen)352 worked

together in an illicit enterprise, engaging in conduct that was not only illegal, but in

certain respects anti-competitive, with the common purpose and achievement of

vastly increasing their respective profits and revenues by exponentially expanding a

market that the law intended to restrict.

        327. Knowing that dangerous drugs have a limited place in our society, and

that their dissemination and use must be vigilantly monitored and policed to prevent

the harm that drug abuse and addiction causes to individuals, society and

governments, Congress enacted the Controlled Substances Act (“CSA”).

Specifically, through the CSA, Congress established a closed system of distribution

for controlled substances. CSA imposes a reporting duty that cuts across company

lines. Regulations adopted under the CSA require that companies, who are entrusted

with permission to operate within this system, cannot simply operate as competitive

in an “anything goes” profit-maximizing market. Instead, the statute tasks them to

watch over each other with a careful eye for suspicious activity. Driven by greed,

Defendants betrayed that trust and subverted the constraints of the CSA’s closed

system to conduct their own profit-driven enterprise.




352
   The RICO Supply Chain Defendants referred to in this section are those named in the Sixth and Seventh Claims
for Relief under 28 U.S.C. § 1964(c), including Manufacturing Defendants Purdue, Cephalon, Janssen, Endo, Actavis,
and Distributing Defendants McKesson, Cardinal and AmerisourceBergen.



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           328. As “registrants” under the CSA, the RICO Supply Chain Defendants are

duty bound to identify and report “orders of unusual size, orders deviating

substantially from a normal pattern, and orders of unusual frequency.”353 Critically,

these Defendants’ responsibilities do not end with the products they manufacture or

distribute − there is no such limitation in the law because their duties cut across

company lines. Thus, when these Defendants obtain information about the sales and

distribution of other companies’ opioid products, as they did through data mining

companies like IMS Health, they were legally obligated to report that activity to the

DEA.

           329. The RICO Supply Chain Defendants’ scheme required the

participation of all. If any one member broke rank, its compliance activities would

highlight deficiencies of the others, and the artificially high quotas they maintained

through their scheme would crumble. But if all the members of the enterprise

conducted themselves in the same manner, it would be difficult for the DEA to go

after any one of them. Accordingly, through the connections they made as a result

of their participation in the Healthcare Distribution Alliance (“HDA”), the RICO

Supply Chain Defendants chose to flout the closed system designed to protect the

citizens. Publicly, in 2008, they announced their formulation of “Industry

Compliance Guidelines: Reporting Suspicious Orders and Prevention Diversion of


353
      21 C.F.R. § 1301.74(b).



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Controlled Substances.” Privately, the RICO Supply Chain Defendants refused to

act and through their lobbying efforts, they collectively sought to undermine the

impact of the CSA. Indeed, despite the issuance of these Industry Compliance

Guidelines, which recognize these Defendants’ duties under the law, as illustrated

by the subsequent industry-wide enforcement actions and consent orders issued after

that time, none of them complied.

      330. As described above, at all relevant times, the RICO Supply Chain

Defendants operated as an association-in-fact enterprise formed for the purpose of

unlawfully increasing sales, revenues and profits by fraudulently increasing the

quotas set by the DEA that would allow them to collectively benefit from a greater

pool of prescription opioids to manufacture and distribute. In support of this

common purpose and fraudulent scheme, the RICO Supply Chain Defendants

jointly agreed to disregard their statutory duties to identify, investigate, halt and

report suspicious orders of opioids and diversion of their drugs into the illicit market

so that those orders would not result in a decrease, or prevent an increase in, the

necessary quotas.

      331. At all relevant times, as described above, the RICO Supply Chain

Defendants exerted control over, conducted and/or participated in the Opioid Supply

Chain Enterprise by fraudulently claiming that they were complying with their

duties under the CSA to identify, investigate and report suspicious orders of opioids



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in order to prevent diversion of those highly addictive substances into the illicit

market, and to halt such unlawful sales, so as to increase production quotas and

generate unlawful profits, as follows:

        332. The RICO Supply Chain Defendants disseminated false and misleading

statements to state and federal regulators claiming that:

                 a)      The quotas for prescription opioids should be increased;

                 b)      They were complying with their obligations to maintain effective
                         controls against diversion of their prescription opioids;

                 c)      They were complying with their obligations to design and
                         operate a system to disclose to the registrant suspicious orders of
                         their prescription opioids;

                 d)      They were complying with their obligation to notify the DEA of
                         any suspicious orders or diversion of their prescription opioids;
                         and

                 e)      They did not have the capability to identify suspicious orders of
                         controlled substances.

        333. The Defendants applied political and other pressure on the DOJ and

DEA to halt prosecutions for failure to report suspicious orders of prescription

opioids and lobbied Congress to strip the DEA of its ability to immediately suspend

registrations pending investigation by passing the “Ensuring Patient Access and

Effective Drug Enforcement Act.”354


354
   HDMA is Now the Healthcare Distribution Alliance, Pharmaceutical Commerce,
http://pharmaceuticalcommerce.com/business-and-finance/hdma-now-healthcare-distribution- alliance/ (last updated
July 6, 2016); Lenny Bernstein & Scott Higham, Investigation: The DEA Slowed Enforcement While the Opioid
Epidemic Grew Out of Control, Wash. Post (Oct. 22, 2016), https://www.washingtonpost.com/investigations/the-



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        334. The CSA and the Code of Federal Regulations require the RICO

Supply Chain Defendants to make reports to the DEA of any suspicious orders

identified through the design and operation of their system to disclose suspicious

orders. The failure to make reports as required by the CSA and Code of Federal

Regulations is a criminal violation of the statute.

        335. The RICO Supply Chain Defendants knowingly and intentionally

furnished false or fraudulent information in their reports to the DEA about

suspicious orders, and/or omitted material information from reports, records and

other document required to be filed with the DEA including the Marketing

Defendants’ applications for production quotas. Specifically, the RICO Supply

Chain Defendants were aware of suspicious orders of prescription opioids and the

diversion of their prescription opioids into the illicit market, and failed to report this

information to the DEA in their mandatory reports and their applications for

production quotas.

        336. The RICO Supply Chain Defendants used, directed the use of, and/or

caused to be used, thousands of interstate mail and wire communications in service

of their scheme through virtually uniform misrepresentations, concealments and


dea-slowed-enforcement-while-the-opioid-epidemic-grew-out-of-control/2016/10/22/aea2bf8e-7f71-11e6-
8d13d7c704ef9fd9story.html; Lenny Bernstein & Scott Higham, Investigation: U.S. Senator Calls for Investigation
of DEA Enforcement Slowdown Amid Opioid Crisis, Wash. Post (Mar. 6, 2017),
https://www.washingtonpost.com/investigations/us-senator-calls-for-investigation-of-dea-
enforcementslowdown/2017/03/06/5846ee60-028b-11e7-b1e9-a05d3c21f7cf_story.html; Eric Eyre, DEA Agent:
“We Had no Leadership” in WV Amid Flood of Pain Pills, Charleston Gazette-Mail (Feb. 18, 2017),
http://www.wvgazettemail.com/news/20170218/dea-agent-we- had-no-leadership-in-wv-amid-flood-of-pain-pills.



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material omissions regarding their compliance with their mandatory reporting

requirements and the actions necessary to carry out their unlawful goal of selling

prescription opioids without reporting suspicious orders or the diversion of opioids

into the illicit market.

       337. In devising and executing the illegal scheme, the RICO Supply Chain

Defendants devised and knowingly carried out a material scheme and/or artifice to

defraud through materially false or fraudulent pretenses, representations, promises,

or omissions of material facts.

       338. For the purpose of executing the illegal scheme, the RICO Supply

Chain Defendants committed racketeering acts, which number in the thousands,

intentionally and knowingly with the specific intent to advance the illegal scheme.

These racketeering acts, which included repeated acts of mail fraud and wire fraud,

constituted a pattern of racketeering.

       339. The RICO Supply Chain Defendants’ use of the mail and wires

includes, but is not limited to, the transmission, delivery, or shipment of the

following by the Marketing Defendants, the Distributor Defendants, or third parties

that were foreseeably caused to be sent as a result of the RICO Supply Chain

Defendants’ illegal scheme, including but not limited to:

              a)     The prescription opioids themselves;

              b)     Documents and communications that supported and/or
                     facilitated the RICO Supply Chain Defendants’ request for


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                 higher aggregate production quotas, individual production
                 quotas, and procurement quotas;

           c)    Documents and communications that facilitated the manufacture,
                 purchase and sale of prescription opioids;

           d)    RICO Supply Chain Defendants’ DEA registrations;

           e)    Documents and communications that supported and/or
                 facilitated RICO Supply Chain Defendants’ DEA registrations;

           f)    RICO Supply Chain Defendants’ records and reports that were
                 required to be submitted to the DEA pursuant to 21 U.S.C. § 827;

           g)    Documents and communications related to the RICO Supply
                 Chain Defendants’ mandatory DEA reports pursuant to 21
                 U.S.C. § 823 and 21 C.F.R. § 1301.74;

           h)    Documents intended to facilitate the manufacture and
                 distribution of the RICO Supply Chain Defendants’ prescription
                 opioids, including bills of lading, invoices, shipping records,
                 reports and correspondence;

           i)    Documents for processing and          receiving payment      for
                 prescription opioids;

           j)    Payments from the Distributors to the Marketing Defendants;

           k)    Rebates and chargebacks from the Marketing Defendants to the
                 Distributors Defendants;

           l)    Payments to the RICO Supply Chain Defendants’ lobbyists
                 through the PCF;

           m)    Payments to the RICO Supply Chain Defendants’ trade
                 organizations, like the HDA, for memberships and/or
                 sponsorships;

           n)    Deposits of proceeds from the RICO Supply Chain Defendants’
                 manufacture and distribution of prescription opioids; and


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             o)     Other documents         and       things,   including     electronic
                    communications.

      340. The RICO Supply Chain Defendants (and/or their agents), for the

purpose of executing the illegal scheme, sent and/or received (or caused to be sent

and/or received) by mail or by private or interstate carrier, shipments of prescription

opioids and related documents by mail or by private carrier affecting interstate

commerce, including the following:

  Defendant         Company Names                              Drugs
   Group                                     Drug            Chemical           CSA
    Name                                     Name              Name           Schedule
                                                             Oxycodone
                  (1) Purdue Pharma        OxyContin        Hydrocodone       Schedule II
                  L.P.;                                       extended
                                                               release
    Purdue        (2) Purdue Pharma        MS Contin          Morphine      Schedule II
                  Inc.;                                    sulfate extended
                                                                release
                  (3) The Purdue            Dilaudid      Hydromorphone Schedule II
                  Frederick Company.                       hydrochloride
                                            Dilaudid-     Hydromorphone Schedule II
                                               HP          hydrochloride
                                             Butrans       Buprenorphine      Schedule II

                                            Hysinga         Hydrocodone       Schedule II
                                              ER              bitrate
                                            Targiniq         Oxycodone        Schedule II
                                              ER            hydrochloride
                  (1) Cephalon, Inc.;         Actiq        Fentanyl citrate   Schedule II




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  Cephalon     (2) Teva                  Fentora    Fentanyl citrate   Schedule II
               Pharmaceutical
               Industries, Ltd.;
               (3) Teva                  Generic      Oxycodone        Schedule II
               Pharmaceuticals          Oxycodone    hydrochloride
               USA, Inc.
                                                    Oxymorphone        Schedule II
                                                     hydrochloride
                                        Opana ER
                                                       extended
                                                        release
                                         Opana      Oxymorphone        Schedule II
                                                     hydrochloride
               (1) Endo Health          Percodan    Oxymorphone        Schedule II
               Solutions, Inc.;                      hydrochloride
                                                      and aspirin
    Endo       (2) Endo                  Percocet   Oxymorphone        Schedule II
               Pharmaceuticals, Inc.;                hydrochloride
                                                          and
                                                    acetaminophen
               (3) Qualitest             Generic      Oxycodone        Schedule II
               Pharmaceuticals, Inc.
               (a wholly-owned           Generic    Oxymorphone        Schedule II
               subsidiary of Endo)
                                         Generic    Hydromorphone Schedule II

                                         Generic     Hydrocodone       Schedule II

                                                      Morphine
               (1) Allergan Plc;         Kadian                        Schedule II
                                                       Sulfate
   Allergan    (2) Actavis LLC;           Norco
                                                     Hydrocodone
                                         (generic
                                                         and           Schedule II
               (3) Actavis Pharma,       Kadian)
                                                    acetaminophen
               Inc.;
               (4) Actavis Plc;
                                         Generic
                                                       Fentanyl        Schedule II
                                        Duragesic
               (5) Actavis, Inc.;
                                         Generic    Oxymorphone
               (6) Watson                                              Schedule II
                                         Opana      hydrochloride
               Pharmaceuticals, Inc.;


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                  (7) Watson Pharma,
                  Inc.

       341. Each of the RICO Supply Chain Defendants identified manufactured,

shipped, paid for and received payment for the drugs identified above, throughout

the United States and in the Cities and Counties.

       342. The RICO Supply Chain Defendants used the internet and other

electronic facilities to carry out their scheme and conceal the ongoing fraudulent

activities.   Specifically,    the     RICO      Supply        Chain   Defendants     made

misrepresentations about their compliance with Federal and State laws requiring

them to identify, investigate and report suspicious orders of prescription opioids

and/or diversion of the same into the illicit market.

       343. At the same time, the RICO Supply Chain Defendants misrepresented

the superior safety features of their order monitoring programs, ability to detect

suspicious orders, commitment to preventing diversion of prescription opioids, and

their compliance with all state and federal regulations regarding the identification

and reporting of suspicious orders of prescription opioids.

       344. The RICO Supply Chain Defendants utilized the internet and other

electronic resources to exchange communications, to exchange information

regarding     prescription    opioid    sales,   and      to    transmit   payments    and

rebates/chargebacks.



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      345. The RICO Supply Chain Defendants also communicated by U.S. Mail,

by interstate facsimile, and by interstate electronic mail with each other and with

various other affiliates, regional offices, regulators, distributors, and other third-party

entities in furtherance of the scheme. The main and wire transmissions described

herein were made in furtherance of the RICO Supply Chain Defendants’ scheme and

common course of conduct to deceive regulators, the public, and the Cities and

Counties that these Defendants were complying with their state and federal

obligations to identify and report suspicious orders of prescription opioids all while

Defendants were knowingly allowing millions of doses of prescription opioids to

divert into the illicit drug market. The RICO Supply Chain Defendants’ scheme

and common course of conduct was to increase or maintain high production quotas

for their prescription opioids from which they could profit.

      346. The predicate acts constituted a variety of unlawful activities, each

conducted with the common purpose of obtaining significant monies and revenues

from the sale of their highly addictive and dangerous opioids. The predicate acts also

had the same or similar results, participants, victims, and methods of commission.

The predicate acts were related and not isolated events.

      347. The predicate acts all had the purpose of creating the opioid epidemic

that substantially injured Plaintiffs while simultaneously generating billion-dollar

revenue and profits for the RICO Supply Chain Defendants. The predicate acts were



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committed, or caused to be committed, by Defendants through their participation in

the Opioid Supply Chain Enterprise and in furtherance of its fraudulent scheme.

      348. The RICO Supply Chain Defendants were repeatedly warned, fined,

and found to be in violation of applicable law and regulations, and yet they persisted.

The sheer volume of enforcement actions against the RICO Supply Chain

Defendants supports the conclusion that the RICO Supply Chain Defendants

engaged in a pattern and practice of willfully and intentionally omitting information

from their mandatory reports to the DEA as required by 21 C.F.R. § 1301.74.

      349. Each instance of racketeering activity alleged herein was related, had

similar purposes, involved the same or similar participants and methods of

commission, and had similar results affecting similar victims, Plaintiffs’

communities and Plaintiffs. The RICO Supply Chain Defendants calculated and

intentionally crafted the diversion scheme to increase and maintain profits from

unlawful sales of opioids, without regard to the effect such behavior would have on

this jurisdiction, its citizens or Plaintiffs. The RICO Supply Chain Defendants were

aware that Plaintiffs and their citizens rely on these Defendants to maintain a closed

system of manufacturing and distribution to protect against the non-medical

diversion and use of their dangerously addictive opioid drugs.

      350. By intentionally refusing to report and halt suspicious orders of their

prescription opioids, the RICO Supply Chain Defendants engaged in a fraudulent



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scheme and unlawful course of conduct constituting a pattern of racketeering

activity.

J.     THE PHARMACY DEFENDANT’S UNLAWFUL DISTRIBUTION
       OF, FAILURE TO MONITOR, AND REFUSING TO FILL OPIOID
       PRESCRIPTIONS

       351. Pharmacy Defendant CVS owes a duty under both federal law (21

U.S.C. § 823, 21 CFR 1301.74) and Montana Law (e.g., MT Food, Drug & Cosmetic

Act), to monitor, detect, investigate, refuse to fill, and report suspicious orders of

prescription opioids originating from Plaintiffs’ communities, as well as those which

CVS knew, or should have known, were likely to be diverted into the Cities and

Counties.

       352. Pharmacy Defendant CVS similarly had industry-specific knowledge

of the particular risks and harms from filling prescriptions for non-medical purposes

and the resulting widespread opioid abuse.

       353. Pharmacy Defendant CVS, through their words or actions set forth in

news reports and other public documents, has acknowledged these risks and assured

the public that issues affecting public health and safety are their highest priority.

       354. In 2015, CVS publicly stated that, “the abuse of controlled substance

pain medication is a nationwide epidemic that is exacting a devastating toll upon

individuals, families and communities. Pharmacists have a legal obligation under

State and Federal law to determine whether a controlled substance was issued for a



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legitimate purpose and to decline to fill prescriptions they have reason to believe

were issued for a non-legitimate purpose.”

      355. Despite knowing and even warning of these risks, Pharmacy Defendant

CVS recklessly or negligently permitted diversion to occur. In failing to take

adequate measures to prevent substantial opioid-related injuries to the nation,

Pharmacy Defendant CVS has breached its duties under the “reasonable care”

standard of Montana common law (including violating a voluntarily-undertaken duty

to the public which they have assumed by their own words and actions), professional

duties under the relevant standards of professional practice, and requirements

established by Montana and Federal laws and regulations.

      356. Pharmacy Defendant CVS was on notice of their ongoing negligence or

reckless misconduct towards the nation, in part because of their history of being

penalized for violating their duties in other jurisdictions.

             1.        The National Retail Pharmacies Have a Duty to Prevent
                       Diversion

      357. Each participant in the supply chain of opioid distribution, including the

National Retail Pharmacies, is responsible for preventing diversion of prescription

opioids into the illegal market by, among other things, monitoring and reporting

suspicious activity.

      358. The National Retail Pharmacies, like manufacturers and other

distributors, are registrants under the CSA. 21 C.F.R. § 1301.11. Under the CSA,


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pharmacy registrants are required to “provide effective controls and procedures to

guard against theft and diversion of controlled substances.” See 21 C.F.R. §

1301.71(a). In addition, 21 C.F.R. § 1306.04(a) states, “[t]he responsibility for the

proper prescribing and dispensing of controlled substances is upon the prescribing

practitioner, but a corresponding responsibility rests with the pharmacist who fills

the prescription.” Because pharmacies themselves are registrants under the CSA, the

duty to prevent diversion lies with the pharmacy entity, not the individual pharmacist

alone.

         359. The DEA, among others, has provided extensive guidance to

pharmacies concerning their duties to the public. The guidance advises pharmacies

how to identify suspicious orders and other evidence of diversion.

         360. Suspicious pharmacy orders include orders of unusually large size,

orders that are disproportionately large in comparison to the population of a

community served by the pharmacy, orders that deviate from a normal pattern and/or

orders of unusual frequency and duration, among others.

         361. Additional types of suspicious orders include: (1) prescriptions written

by a doctor who writes significantly more prescriptions (or in larger quantities or

higher doses) for controlled substances compared to other practitioners in the area;

(2) prescriptions that should last for a month in legitimate use, but are being refilled

on a shorter basis; (3) prescriptions for antagonistic drugs, such as depressants and



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stimulants, at the same time; (4) prescriptions that look “too good” or where the

prescriber’s handwriting is too legible; (5) prescriptions with quantities or doses that

differ from usual medical usage; (6) prescriptions that do not comply with standard

abbreviations and/or contain no abbreviations; (7) photocopied prescriptions; or (8)

prescriptions containing different handwriting. Most of the time, these attributes are

not difficult to detect and should be easily recognizable by pharmacies.

      362. Suspicious pharmacy orders are red flags for, if not direct evidence of,

diversion.

      363. Other signs of diversion can be observed through data gathered,

consolidated, and analyzed by the National Retail Pharmacies themselves. That data

allows them to observe patterns or instances of dispensing that are potentially

suspicious, of oversupply in particular stores or geographic areas, or of prescribers

or facilities that seem to engage in improper prescribing.

      364. According to industry standards, if a pharmacy finds evidence of

prescription diversion, the local Board of Pharmacy and DEA must be contacted.

      365. Despite their legal obligations as registrants under the CSA, the

National Retail Pharmacies allowed widespread diversion to occur – and they did so

knowingly.

      366. Performance metrics and prescription quotas adopted by the National

Retail Pharmacies for their retail stores contributed to their failure. Under CVS’s



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Metrics System, for example, pharmacists are directed to meet high goals that make

it difficult, if not impossible, to comply with applicable laws and regulations. There

is no measurement for pharmacy accuracy or customer safety. Moreover, the

bonuses for pharmacists are calculated, in part, on how many prescriptions that

pharmacist fills within a year. The result is both deeply troubling and entirely

predictable; opioids flowed out of National Retail Pharmacies and into communities

throughout the Cities and Counties. The policies remained in place, even as the

epidemic raged.

      367. Upon information and belief, this problem was compounded by the

Pharmacies’ failure to adequately train their pharmacists and pharmacy technicians

on how to properly and adequately handle prescriptions for opioid painkillers,

including what constitutes a proper inquiry into whether a prescription is legitimate,

whether a prescription is likely for a condition for which the FDA has approved

treatments with opioids, and what measures and/or actions to take when a

prescription is identified as phony, false, forged, or otherwise illegal, or when

suspicious circumstances are present, including when prescriptions are procured and

pills supplied for the purpose of illegal diversion and drug trafficking.

      368. Upon information and belief, the National Retail Pharmacies also failed

to adequately use data available to them to identify doctors who were writing

suspicious numbers of prescriptions and/or prescriptions of suspicious amounts of



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opioids, or to adequately use data available to them to do statistical analysis to

prevent the filling of prescriptions that were illegally diverted or otherwise

contributed to the opioid crisis.

       369. Upon information and belief, the National Retail Pharmacies failed to

analyze: (a) the number of opioid prescriptions filled by individual pharmacies

relative to the population of the pharmacy’s community; (b) the increase in opioid

sales relative to past years; (c) the number of opioid prescriptions filled relative to

other drugs; and (d) the increase in annual opioid sales relative to the increase in

annual sales of other drugs.

       370. Upon information and belief, the National Retail Pharmacies also failed

to conduct adequate internal or external audits of their opioid sales to identify

patterns regarding prescriptions that should not have been filled and to create policies

accordingly, or if they conducted such audits, they failed to take any meaningful

action as a result.

       371. Upon information and belief, the National Retail Pharmacies also failed

to effectively respond to concerns raised by their own employees regarding

inadequate policies and procedures regarding the filling of opioid prescriptions.

       372. The National Retail Pharmacies were, or should have been, fully aware

that the quantity of opioids being distributed and dispensed by them was untenable,

and in many areas patently absurd; yet, they did not take meaningful action to



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investigate or to ensure that they were complying with their duties and obligations

under the law with regard to controlled substances.

      2.       Multiple Enforcement Actions Against the National Retail
               Pharmacies Confirms their Compliance Failures.

      373. The National Retail Pharmacies have long been on notice of their

failure to abide by state and federal law and regulations governing the distribution

and dispensing of prescription opioids. Indeed, several of the National Retail

Pharmacies have been repeatedly penalized for their illegal prescription opioid

practices. Upon information and belief, based upon the widespread nature of these

violations, these enforcement actions are the product of, and confirm, national

policies and practices of the National Retail Pharmacies.

               a.   CVS

      374. CVS is one of the largest companies in the world, with annual revenue

of more than $150 billion. According to news reports, it manages medications for

nearly 90 million customers at 9,700 retail locations. CVS could be a force for good

in connection with the opioid crisis, but like other Defendants, CVS sought profits

over people.

      375. CVS is a repeat offender and recidivist: the company has paid fines

totaling over $40 million as the result of a series of investigations by the DEA and

the United States Department of Justice (“DOJ”). It nonetheless treated these fines

as the cost of doing business and has allowed its pharmacies to continue dispensing


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opioids in quantities significantly higher than any plausible medical need would

require, and to continue violating its recordkeeping and dispensing obligations under

the CSA.

        376. As recently as July 2017, CVS entered into a $5 million settlement with

the U.S. Attorney’s Office for the Eastern District of California regarding allegations

that its pharmacies failed to keep and maintain accurate records of Schedule II, III,

IV, and V controlled substances.355

        377. This fine was preceded by numerous others throughout the country.

        378. In February 2016, CVS paid $8 million to settle allegations made by

the DEA and the DOJ that from 2008-2012, CVS stores and pharmacists in Maryland

violated their duties under the CSA and filling prescriptions with no legitimate

medical purpose.356

        379. In October 2016, CVS paid $600,000 to settle allegations by the DOJ

that stores in Connecticut failed to maintain proper records in accordance with the

CSA.357




355
    Press Release, U.S. Attorney’s Office E. Dist. of Cal., CVS Pharmacy Inc. Pays $5M to Settle Alleged Violations
of the Controlled Substance Act, U.S. Dep’t of Just. (July 11, 2017), https://www.justice.gov/usao-edca/pr/cvs-
pharmacy-inc-pays-5m-settle-alleged-violations- controlled-substance-act.
356
    Press Release, U.S. Attorney’s Office Dist. of Md., United States Reaches $8 Million Settlement Agreement with
CVS for Unlawful Distribution of Controlled Substances, U.S. Dep’t of Just. (Feb. 12, 2016),
https://www.justice.gov/usao-md/pr/united-states-reaches-8-million-settlement-agreement-cvs-unlawful-distribution-
controlled.
357
    Press Release, U.S. Attorney’s Office Dist. of Conn., CVS Pharmacy Pays $600,000 to Settle Controlled
Substances Act Allegations, U.S. Dep’t of Just. (Oct. 20, 2016), https://www.justice.gov/usao-ct/pr/cvs-pharmacy-
pays-600000-settle-controlled-substances-act- allegations.



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        380. In June 2016, CVS agreed to pay the DOJ $3.5 million to resolve

allegations that 50 of its stores violated the CSA by filling forged prescriptions for

controlled substances – mostly addictive painkillers – more than 500 times between

2011 – 2014.

        381. In August 2015, CVS entered into a $450,000 settlement with the U.S.

Attorney’s Office for the District of Rhode Island to resolve allegations that several

of its Rhode Island stores violated the CSA by filling invalid prescriptions and

maintaining deficient records. The United States alleged that CVS retail pharmacies

in Rhode Island filled a number of forged prescriptions with invalid DEA numbers,

and filled multiple prescriptions written by psychiatric nurse practitioners for

hydrocodone, despite the fact that these practitioners were not legally permitted to

prescribe that drug. Additionally, the government alleged that CVS had

recordkeeping deficiencies.358

        382. In May 2015, CVS agreed to pay a $22 million penalty following a

DEA investigation that found that employees at two pharmacies in Sanford, Florida,

had dispensed prescription opioids, “based on prescriptions that had not been issued

for legitimate medical purposes by a health care provider acting in the usual course

of professional practice. CVS also acknowledged that its retail pharmacies had a



358
   Dialynn Dwyer, CVS will pay $795,000, strengthen policies around dispensing opioids in agreement with state,
Boston.com (Sept. 1, 2016), https://www.boston.com/news/local- news/2016/09/01/cvs-will-pay-795000-strengthen-
policies-around-dispensing-opioids-in- agreement-with-state.



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responsibility to dispense only those prescriptions that were issued based on

legitimate medical need.” 359

        383. In September 2014, CVS agreed to pay $1.9 million in civil penalties to

resolve allegations it filled prescriptions written by a doctor whose controlled-

substance registration had expired. 360

        384. In August 2013, CVS was fined $350,000 by the Oklahoma Pharmacy

Board for improperly selling prescription narcotics in at least five locations in the

Oklahoma Cities metropolitan area.361

        385. Dating back to 2006, CVS retail pharmacies in Oklahoma and

elsewhere intentionally violated the CSA by filling prescriptions signed by

prescribers with invalid DEA registration numbers. 362

        386. Despite their extensive understanding of the risks and harms of

prescription opioid diversion set for above, Pharmacy Defendant CVS continues to

fail to fulfill their obligations to prevent prescription opioid diversion.




359
    Press Release, U.S. Attorney’s Office M. Dist. of Fla., United States Reaches $22 Million Settlement Agreement
With CVS For Unlawful Distribution of Controlled Substances, U.S. Dep’t of Just. (May 13, 2015),
https://www.justice.gov/usao-mdfl/pr/united-states-reaches-22-million-settlement-agreement-cvs-unlawful
distribution.
360
     Patrick Danner, H-E-B, CVS Fined Over Prescriptions, San Antonio Express-News (Sept. 5, 2014),
http://www.expressnews.com/business/local/article/H-E-BCVS- fined-over-prescriptions-5736554.php.
361
    Andrew Knittle, Oklahoma pharmacy board stays busy, hands out massive fines at times, NewsOK (May 3, 2015),
http://newsok.com/article/5415840.
362
    Press Release, U.S. Attorney’s Office W. Dist. of Okla., CVS to Pay $11 Million To Settle Civil Penalty Claims
Involving Violations of Controlled Substances Act, U.S. Dep’t of Just. (Apr. 3, 2013), https://www.justice.gov/usao-
wdok/pr/cvs-pay-11-million-settle-civil-penalty- claims-involving-violations-controlled.



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      387. Pharmacy Defendant CVS has engaged in a consistent, nationwide

pattern and practice of illegally distributing prescription opioids. That pattern and

practice have also affected Montana, the Cities, the Counties, and its citizens.

      388. On information and belief, Pharmacy Defendant CVS regularly filled

opioid prescriptions in circumstances where red flags were present.

      389. On information and belief, Pharmacy Defendant CVS regularly filled

opioid prescriptions that would have been deemed questionable or suspicious by a

reasonably prudent pharmacy.

      390. On information and belief, Pharmacy Defendant CVS has not

adequately trained or supervised their employees at the point of sale to investigate or

report suspicious or invalid opioid prescriptions, or protect against corruption or theft

by employees and others.

      391. On information and belief, Pharmacy Defendant CVS utilized monetary

compensation programs for certain employees that are based, in part, on the number

of prescriptions filled and dispensed. This type of compensation creates economic

disincentives within the companies to change their practices. For example, these

have been reports of chain store supervisory personnel directing pharmacists to fill

prescriptions regardless of red flags present.

      392. The foreseeable harm from a breach of these duties is the diversion of

prescription opioids for non-medical purposes.



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      393. Pharmacy Defendant CVS repeatedly and purposefully breached its

duties under state and federal law. Such breaches are a direct and proximate cause of

the widespread diversion of prescription opioids for non-medical purposes in the

Cities and Counties.

      394. The unlawful diversion of prescription opioids is a direct and proximate

cause of the opioid epidemic, prescription opioid abuse, addiction, morbidity and

mortality in the Cities and Counties. This diversion and the epidemic are direct causes

of harms for which Plaintiffs seek to recover.

      395. The opioid epidemic in Montana, including the Cities and Counties,

remains an immediate hazard to public health and safety.

      396. The opioid epidemic in Montana, including the Cities and Counties, is

a continuous public nuisance and remained unabated.

      397. Pharmacy Defendant CVS intentionally continued their conduct, as

alleged herein, with knowledge that such conduct was creating the opioid nuisance

and causing the harms and damages alleged herein.

      398. The Pharmacy Defendant CVS, Distributing Defendants, and

Manufacturing Defendants acted pursuant to an agreement explicit or implied, in

conspiracy and/or in concert of action with each other to illicitly promote and

distribute opioids.




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            V. FIRST CAUSE OF ACTION: PUBLIC NUISANCE
                    AGAINST ALL DEFENDANTS

      399. Plaintiffs re-allege and incorporate by reference each of the allegations

contained in the preceding paragraphs of this Complaint as though fully alleged

herein.

      400. Manufacturing Defendants knowingly encouraged doctors in and

around the Cities and Counties to prescribe, and residents to use, highly addictive

opioids for chronic pain even though Manufacturing Defendants knew using opioids

had a high risk of addiction and reduced quality of life. Distributor and Pharmacy

Defendants knew or should have known that many of those prescription orders were

not for a valid medical purpose. Nevertheless, Distributor and Pharmacy Defendants

continued to disburse and distribute opioids even though upon information and

belief, the evidence would suggest suspicion for diversionary purposes.

      401. By doing so, Defendants purposefully interfered with Plaintiffs’ public

health, public safety, public peace, public comfort, and public convenience.

      402. Defendants, individually and in concert with each other, have

contributed to and/or assisted in creating and maintaining a condition that is harmful

to the health and safety of Plaintiffs’ residents, and/or unreasonably interferes with

the peace and comfortable enjoyment of life in violation of Montana law.




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         403. The public nuisance created by Defendants’ actions is substantial and

unreasonable – it has caused and continues to cause significant harm to the

community – and the harm inflicted outweighs any offsetting benefit.

         404. The staggering rates of opioid use resulting from Manufacturing

Defendants’ marketing efforts, combined with the high number of opioids

distributed by Distributor and Pharmacy Defendants, have caused, and continues to

cause, harm to the community including, but not limited to:

                  a)       Upwards of 30% of all adults use opioids. These high rates of use
                           have led to unnecessary opioid addiction, overdose, injuries, and
                           deaths;

                  b)       Children have been exposed to opioids prescribed to family
                           members or others resulting in injury, addiction, and death. Easy
                           access to prescription opioids has made opioids a recreational
                           drug of choice among teenagers in the Cities and Counties;
                           opioid use among teenagers is only outpaced by marijuana use.
                           Even infants have been born addicted to opioids due to prenatal
                           exposure causing severe withdrawal symptoms and lasting
                           developmental impacts;

                  c)       Residents of the Cities and Counties, who have never taken
                           opioids, have endured both the emotional and financial costs of
                           caring for loved ones addicted to or injured by opioids and the
                           loss of companionship, wages, or other support from family
                           members who have used, become addicted to, overdosed on, or
                           been killed by opioids;

                  d)       More broadly, opioid use and addiction have driven the Cities
                           and Counties residents’ health care costs higher363;

363
   See, e.g., Manchikanti, Ex. A, at 14 (stating that the escalating use of opioids in high doses over long periods of
time, lifetime use of long-acting drugs, or the combination has serious consequences for the costs of health care and
economic stability).



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           e)    Employers have lost the value of productive and healthy
                 employees who have suffered from adverse consequences from
                 opioid use;

           f)    Defendants’ success in extending the market for opioids to new
                 patients and chronic conditions has created an abundance of
                 drugs available for criminal use and fueled a new wave of
                 addiction and injury. Defendants’ scheme created both ends of a
                 new secondary market for opioids – providing both the supply of
                 narcotics to sell and the demand of addicts to buy them;

           g)    This demand has created additional illicit markets in other
                 opiates, particularly heroin. The low cost of heroin has led some
                 of those who initially become addicted to prescription opioids to
                 migrate to cheaper heroin, fueling a new heroin epidemic in the
                 process;

           h)    Diverting opioids into secondary, criminal markets and
                 increasing the number of individuals who are addicted to opioids
                 has increased the demands on emergency services and law
                 enforcement in the Cities and Counties;

           i)    All of Defendants’ actions have caused significant harm to the
                 community – in lives lost; addictions endured; the creation of an
                 illicit drug market and all its concomitant crime and costs;
                 unrealized economic productivity; and broken families and
                 homes;

           j)    These harms have taxed the human, medical, public health, law
                 enforcement, and financial resources of the Cities and Counties;
                 and

           k)    Defendants’ interference with the comfortable enjoyment of life
                 of a substantial number of people is entirely unreasonable
                 because there is limited social utility to opioid use and any
                 potential value is outweighed by the gravity of harm inflicted by
                 Defendants’ actions.




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      405. Manufacturing Defendants knew, or should have known, that

promoting opioid use would create a public nuisance in the following ways:

             a)     Defendants have engaged in massive production, promotion, and
                    distribution of opioids for use by the citizens of the Cities and
                    Counties;

             b)     Defendants’ actions created and expanded the market for opioids,
                    promoting its wide use for pain management;

             c)     Defendants misrepresented the benefits of opioids for chronic
                    pain and fraudulently concealed, misrepresented, and omitted
                    the serious adverse effects of opioids, including the addictive
                    nature of the drugs; and

             d)     Defendants knew, or should have known, that their promotion
                    would lead to addiction and other adverse consequences that the
                    larger community would suffer as a result.

      406. Manufacturing Defendants’ actions were, at the least, a substantial

factor in doctors and patients not accurately assessing and weighing the risks and

benefits of opioids for chronic pain thereby causing opioids to become widely

available and used in the Cities and Counties.

      407. Without Defendants’ actions, opioid use would not have become so

widespread and the enormous public health hazard of opioid addiction would not

have existed and could have been averted.

      408. The health and safety of the citizens of the Cities and Counties,

including those who use, have used, or will use opioids, as well as those affected by

opioid users, is a matter of great public interest and legitimate concern to Plaintiffs’



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citizens and residents. It was foreseeable to all Defendants that the burden of the

opioid crisis would fall to cities and counties like the City of Great Falls, Anaconda-

Deer Lodge County, Lake County, and City of Missoula in the form of social and

economic costs. Specifically it was foreseeable that the Cities and Counties would

sustain damages as an employer obligated to provide healthcare coverage to its

employees and as a local government obligated to provide public services to its

citizens.

         409. The public nuisance created, perpetuated, and maintained by

Defendants can be abated and further reoccurrence of such harm and inconvenience

can be prevented.

         410. Defendants’ conduct has affected and continues to affect a considerable

number of people within the Cities and Counties, and is likely to continue to cause

significant harm to patients who take opioids, their families, and the community at

large.

         411. Each Defendant created or assisted in creating the opioid epidemic, and

each Defendant is jointly and severally liable for its abatement. Furthermore, each

Defendant should be enjoined from continuing to create, perpetuate, or maintain said

public nuisance in the Cities and Counties. Furthermore, Defendants should

compensate Plaintiffs for the funds it has expended and continues to expend for

medical insurance claims for opioids that were not medically valid, as well as



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increased costs of social services, health systems, law enforcement, judicial system,

and treatment facilities.

       VI.      SECOND CAUSE OF ACTION: COMMON LAW FRAUD
                         AGAINST ALL DEFENDANTS

      412. Plaintiffs re-allege and incorporate by reference each of the allegations

contained in the preceding paragraphs of this Complaint as though fully alleged

herein.

      413. At all relevant and material times, Defendants expressly and/or

impliedly warranted that opioids were safe, of merchantable quality, and fit for use.

      414. Manufacturing Defendants’ superior knowledge and expertise, its

relationship of trust and confidence with doctors and the public, its specific

knowledge regarding the risks and dangers of opioids, and its intentional

dissemination of promotional and marketing information about opioids for the

purpose of maximizing sales, each gave rise to the affirmative duty to meaningfully

disclose and provide all material information about the risks and harms associated

with opioids.

      415. At all relevant and material times, Manufacturing Defendants,

individually and acting through their employees and agents, and in concert with each

other, fraudulently represented to physicians, who Defendants knew would

justifiably rely on Manufacturing Defendants’ representations, that opioids were safe

and effective for treating chronic pain.


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      416. Manufacturing Defendants’ false representations were fraudulently

made, with the intent or purpose that healthcare providers and patients would

justifiably rely upon them, leading to the prescription, administration, filling,

purchasing, and consumption of opioids in the Cities and Counties.

      417. Distributor and Pharmacy Defendants knowingly and deliberately took

advantage of the Manufacturing Defendants’ false and fraudulent representations to

disburse and distribute an immense amount of opioids in the Cities and Counties.

      418. Distributor and Pharmacy Defendants made representations that they

were taking action to prevent the opioid oversupply and abuse while recognizing

they were in a unique position to do so. The Cities and Counties relied on Distributor

and Pharmacy Defendants to act as a gatekeeper in the supply chain as they

represented to the public.

      419. Defendants’       deliberate   misrepresentations   and/or   concealment,

suppression, and omission of material facts as alleged herein include, but are not

limited to:

              a)   Making false and misleading claims regarding the known risks
                   of the addictive nature of opioids and suppressing, failing to
                   disclose, and mischaracterizing the addictive nature of opioids
                   and in concomitant costs, such as overdoses, deaths, and heroin
                   addiction;

              b)   Making false and misleading written and oral statements that
                   opioids are more effective than traditional pain killers for
                   chronic pain, or effective at all and/or omitting material



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                    information showing that opioids are no more effective than
                    other non-addictive drugs for chronic pain;

             c)     Issuing false and misleading warnings and/or failing to issue
                    adequate warnings concerning the risks and dangers of using
                    opioids;

             d)     Making false and misleading claims downplaying the risk of
                    addiction when using opioids and/or setting forth guidelines that
                    would purportedly identify addictive behavior;

             e)     Making false and misleading misrepresentations concerning the
                    safety, efficacy and benefits of opioids without full and adequate
                    disclosure of the underlying facts which rendered such
                    statements false and misleading; and

             f)     Disbursing and distributing opioids when suspicion existed that
                    opioids were being diverted.

      420. Defendants willfully, wantonly, and recklessly disregarded their duty

to provide truthful representations regarding the safety and risk of opioids, including

the fact that upon information and belief, there was suspicion for diversionary

purposes.

      421. Defendants made these misrepresentations with the intent that the

healthcare community and patients would rely to their detriment.

      422. Defendants’ misrepresentations were made with the intent of

defrauding and deceiving the medical community and consumers to induce and

encourage the sale of opioids.




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      423. Defendants’ fraudulent representations evidence their callous, reckless,

willful, and depraved indifference to the health, safety, and welfare of consumers

living in the Cities and Counties.

      424. Defendants omitted, misrepresented, suppressed and concealed

material facts concerning the dangers and risk of injuries associated with the use of

opioids, as well as the fact that the product was unreasonably dangerous.

      425. Defendants’ purpose was willfully blind to, ignored, downplayed,

avoided, and/or otherwise understated the serious nature of the risks associated with

the use of opioids.

      426. Defendants’ failure to stem, rather than fuel spikes of opioid sales was

intended to encourage the sale of opioids, even if the circumstances provided

suspicion for diversionary purposes.

      427. The treating medical community and consumers in the Cities and

Counties did not know that Defendants’ representations were false and/or misleading

and justifiably relied on them.

      428. Defendants had sole access to material facts concerning the dangers and

unreasonable risks of opioids, which they intentionally concealed.

      429. As a direct and proximate result of Defendants’ fraudulent

misrepresentations and intentional concealment of facts, upon which the medical




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community and consumers in the Cities and Counties reasonably relied, Plaintiffs

have suffered actual and punitive damages.

               VII. THIRD CAUSE OF ACTION: NEGLIGENCE
                       AGAINST ALL DEFENDANTS

      430. Plaintiffs re-allege and incorporate by reference each of the allegations

contained in the preceding paragraphs of this Complaint as though fully alleged

herein.

      431. Manufacturing Defendants have a duty to exercise reasonable care in

marketing its opioids to physicians treating residents and the residents of the Cities

and Counties. Manufacturing Defendants have breached their duty by knowingly

and fraudulently misrepresenting the benefits of, and downplaying the risks of,

opioids for chronic pain.

      432. Manufacturing Defendants have used deceitful marketing ploys, KOLs,

Front Groups, and other schemes to increase profits at the cost of public health

causing an opioid epidemic. Defendants have acted willfully, wantonly, and

maliciously.

      433. Likewise, Distributor and Pharmacy Defendants have a duty to exercise

ordinary care in distributing opioids. Distributor and Pharmacy Defendants have

breached their duty by failing to prevent or reduce the distribution of opioids even if

there existed suspicion for diversionary purposes. Distributor and Pharmacy

Defendants have intentionally failed to prevent or reduce the distribution of opioids


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so that they could increase profits. Distributor and Pharmacy Defendants have acted

willfully, wantonly, and maliciously.

      434. As a proximate result, Defendants and its agents have caused the Cities

and Counties to incur excessive costs to treat the opioid epidemic in its the Cities

and Counties, including but not limited to, increased costs of social services, health

systems, law enforcement, judicial system, and treatment facilities. It was

foreseeable to all Defendants that the burden of the opioid crisis would fall to cities

and counties like the City of Great Falls, Anaconda-Deer Lodge County, Lake

County, and City of Missoula in the form of social and economic costs. Specifically

it was foreseeable that the Cities and Counties would sustain damages as an

employer obligated to provide healthcare coverage to its employees and as a local

government obligated to provide public services to its citizens.

      435. Plaintiffs and its residents are therefore entitled to actual and punitive

damages.

          VIII. FOURTH CAUSE OF ACTION: GROSS NEGLIGENCE
                      AGAINST ALL DEFENDANTS

      436. Plaintiffs re-allege and incorporate by reference each of the allegations

contained in the preceding paragraphs of this Complaint as though fully alleged

herein.

      437. Defendants’ marketing scheme to optimize profits by misrepresenting

and falsely promoting opioids as the panacea to chronic pain was done intentionally.


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       438. Defendants’ hiring of KOLs, Front Groups, and others to spread its

fraudulent message that opioids were useful and beneficial for chronic pain was grossly

negligent and done with conscious indifference or reckless disregard for the safety of

others.

       439. Distributor Defendants’ distribution of opioids despite the obvious signs

that there was no valid medical purpose for a large number of prescription for opioids

was grossly negligent and done with conscious indifference or reckless disregard for

the safety of others.

       440. Each Defendant’s actions and omissions as described herein, singularly

or in combination with each other, were malicious resulting in damages and injuries to

Plaintiffs and its residents.

       441. At every stage, Defendants knew, or should have known, that their

conduct would create an unreasonable risk of physical harm to others, including

Plaintiffs and its residents, and should be held liable in punitive and exemplary

damages to Plaintiffs.

                    IX. FIFTH CAUSE OF ACTION:
               MONTANA FOOD, DRUG, AND COSMETIC ACT
                     AGAINST ALL DEFENDANTS

       442. Plaintiffs re-allege and incorporate by reference each of the allegations

contained in the preceding paragraphs of this Complaint as though fully alleged

herein.



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      443. Defendants have knowingly manufactured, marketed, advertised,

distributed, branded, delivered, and administered opioids that have been sold, and

continue to be sold, in Montana in violation of the Montana Food, Drug, and

Cosmetic Act Section 50-31-105, et seq.

      444. As alleged herein, Defendants, at all times relevant to this Complaint,

violated the Montana Food, Drug, and Cosmetic Act by disseminating false

advertisements about using opioids to treat chronic pain. Each Defendant also

omitted or concealed material facts and failed to correct prior misrepresentations and

omissions about the risks and benefits of opioids. Each Defendant’s omissions

rendered even their seemingly truthful statements about opioids deceptive.

      445. Defendants’ false and misleading representations and concealments

were reasonably calculated to deceive practitioners in the Cities and Counties into

prescribing opioids event though they are ineffective for treating chronic pain and

the risks far outweigh any benefit. Indeed, Defendants continue to make false and

misleading representations to this day.

      446. As a direct and proximate result of Defendants’ false and misleading

advertisement, Plaintiffs should be awarded civil penalties and Defendants’ conduct

should be enjoined pursuant to the Montana Food, Drug, and Cosmetic Act.




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              X.   SIXTH CAUSE OF ACTION:
 VIOLATIONS OF THE RACKETEER INFLUENCED AND CORRUPT
    ORGANIZATIONS ACT (“RICO”), 18 U.S.C. § 1961, ET SEQ.
             OPIOID MARKETING ENTERPRISE
AGAINST DEFENDANTS PURDUE, CEPHALON, JANSSEN, AND ENDO
          (THE “RICO” MARKETING DEFENDANTS)

      447. Plaintiffs re-allege and incorporate by reference each of the allegations

contained in the preceding paragraphs of this Complaint as though fully alleged

herein.

      448. The RICO Marketing Defendants − through the use of “Front

Groups” that appeared to be independent of the RICO Marketing Defendants;

through the dissemination of publications that supported the RICO Marketing

Defendants’ scheme; through continuing medical education (“CME”) programs

controlled and/or funded by the RICO Marketing Defendants; by the hiring and

deployment of so-called “key opinion leaders,” (“KOLs”) who were paid by the

RICO Marketing Defendants to promote their message; and through the “detailing”

activities of the RICO Marketing Defendants’ sales forces − conducted an

association-in-fact enterprise, and/or participated in the conduct of an enterprise

through a pattern of illegal activities (the predicate racketeering acts of mail and wire

fraud) to carry-out the common purpose of the Opioid Marketing Enterprise, i.e., to

unlawfully increase profits and revenues from the continued prescription and use of

opioids for long-term chronic pain. Through the racketeering activities, the Opioid

Marketing Enterprise sought to further the common purpose of the enterprise


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through a fraudulent scheme to change prescriber habits and public perception about

the safety and efficacy of opioid use based on false premises. In so doing, each of the

RICO Marketing Defendants knowingly conducted and participated in the conduct

of the Opioid Marketing Activities by engaging in mail and wire fraud in violation

of 18 U.S.C. §§ 1962(c) and (d).

      449. The Opioid Marketing Enterprise alleged above, is an association-in-

fact enterprise that consists of the RICO Marketing Defendants (Purdue, Cephalon,

Janssen, and Endo); the Front Groups (APF, AAPM, APS, FSMB, USPF, and AGS);

and the KOLs (Dr. Portenoy, Dr. Webster, Dr. Fine, and Dr. Fishman).

      450. Each of the RICO Marketing Defendants and the other members of the

Opioid Marketing Enterprise conducted and participated in the conduct of the

Opioid Marketing Enterprise by playing a distinct role in furthering the enterprise’s

common purpose of increasing profits and sales by knowingly and intentionally

disseminating false and misleading information about the safety and efficacy of

long-term opioid use and the risks and symptoms of addiction.

      451. Specifically, the RICO Marketing Defendants each worked together to

coordinate the enterprise’s goals and conceal their role, and the enterprise’s

existence, from the public by, among other things, (i) funding, editing and

distributing publications that supported and advanced their false messages; (ii)

funding KOLs to further promote their false messages; (iii) funding, editing and



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distributing CME programs to advance their false messages; and (iv) tasking their

own employees to direct deceptive marketing materials and pitches directly at

physicians and, in particular, at physicians lacking the expertise of pain care

specialists.

       452. Each of the Front Groups helped disguise the RICO Marketing

Defendants’ role by purporting to be unbiased, independent patient-advocacy and

professional organizations. Instead, the Front Groups disseminated patient education

materials, a body of biased and unsupported scientific “literature,” and “treatment

guidelines” that promoted the RICO Marketing Defendants’ false messages.

       453. Each of the KOLs were physicians chosen and paid by each of the RICO

Marketing Defendants to influence their peers’ medical practice by promoting the

Marketing Defendant’s false message through, among other things, writing

favorable journal articles and delivering supportive CMEs as if they were

independent medical professionals, thereby further obscuring the RICO Marketing

Defendants’ role in the enterprise and the enterprise’s existence.

       454. Further, each of the RICO Marketing Defendants, KOLs and Front

Groups that made-up the Opioid Marketing Enterprise had systematic links to and

personal relationships with each other through joint participation in lobbying groups,

trade industry organizations, contractual relationships and continuing coordination

of activities. The systematic links and personal relationships that were formed and



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developed allowed members of the Opioid Marketing Enterprise the opportunity to

form the common purpose and agree to conduct and participate in the conduct of the

Opioid Marketing Enterprise. Specifically, each of the RICO Marketing Defendants

coordinated their efforts through the same KOLs and Front Groups, based on their

agreement and understanding that the Front Groups and KOLs were industry

friendly and would work together with the RICO Marketing Defendants to advance

the common purpose of the Opioid Marketing Enterprise; each of the individuals and

entities who formed the Opioid Marketing Enterprise acted to enable the common

purpose and fraudulent scheme of the Opioid Marketing Enterprise.

      455. At all relevant times, the Opioid Marketing Enterprise: (a) had an

existence separate and distinct from each RICO Marketing Defendant and its

members; (b) was separate and distinct from the pattern of racketeering in which

the RICO Marketing Defendants engaged; (c) was an ongoing and continuing

organization consisting of individuals, persons, and legal entities, including each

of the RICO Marketing Defendants; (d) was characterized by interpersonal

relationships between and among each member of the Opioid Marketing Enterprise,

including between the RICO Marketing Defendants and each of the Front Groups

and KOLs; and (e) had sufficient longevity for the enterprise to pursue its purpose

and functioned as a continuing unit.




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      456. The persons and entities engaged in the Opioid Marketing Enterprise

are systematically linked through contractual relationships, financial ties, personal

relationships, and continuing coordination of activities, as spearheaded by the RICO

Marketing Defendants.

      457. The RICO Marketing Defendants conducted and participated in the

conduct of the Opioid Marketing Enterprise through a pattern of racketeering

activity that employed the use of mail and wire facilities, in violation of 18 U.S.C.

§ 1341 (mail fraud) and § 1343 (wire fraud), to increase profits and revenue by

changing prescriber habits and public perceptions in order to increase the

prescription and use of prescription opioids, and expand the market for opioids.

      458. The RICO Marketing Defendants each committed, conspired to

commit, and/or aided and abetted in the commission of at least two predicate acts

of racketeering activity (i.e. violations of 18 U.S.C. §§ 1341 and 1343) within

the past ten years. The multiple acts of racketeering activity that the RICO

Marketing Defendants committed, or aided and abetted in the commission of, were

related to each other, posed a threat of continued racketeering activity, and therefore

constitute a “pattern of racketeering activity.” The racketeering activity was made

possible by the RICO Marketing Defendants’ regular use of the facilities, services,

distribution channels, and employees of the Opioid Marketing Enterprise, the U.S.

Mail and interstate wire facilities. The RICO Marketing Defendants participated in



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the scheme to defraud by using mail, telephones and the Internet to transmit mailings

and wires in interstate or foreign commerce.

      459. The RICO Marketing Defendants’ predicate acts of racketeering

(18 U.S.C. § 1961(1)) include, but are not limited to:

             a)    Mail Fraud: The RICO Marketing Defendants violated 18 U.S.C.
                   §1341 by sending or receiving, or by causing to be sent and/or
                   received, fraudulent materials via U.S. mail or commercial
                   interstate carriers for the purpose of selling drugs, specifically
                   opioids, that have little or no demonstrated efficacy for the pain
                   they are purported to treat in the majority of persons prescribed
                   them.

             b)    Wire Fraud: The RICO Marketing Defendants violated 18 U.S.C.
                   §1343 by transmitting and/or receiving, or by causing to be
                   transmitted and/or received, fraudulent materials by wire for the
                   purpose of selling drugs, specifically opioids, that have little or
                   no demonstrated efficacy for the pain they are purported to treat
                   in the majority of persons prescribed them.

      460. Indeed, as summarized herein, the RICO Marketing Defendants used

the mail and wires to send or receive thousands of communications, publications,

representations, statements, electronic transmissions and payments to carry-out the

Opioid Marketing Enterprise’s fraudulent scheme.

      461. Because the RICO Marketing Defendants disguised their participation

in the enterprise, and worked to keep even the enterprise’s existence secret, many of

the precise dates of the Opioid Marketing Enterprise’s uses of the U.S. Mail and

interstate wire facilities (and corresponding predicate acts of mail and wire fraud)

have been hidden and cannot be alleged without access to the books and records


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maintained by the RICO Marketing Defendants, Front Groups, and KOLs. Indeed,

an essential part of the successful operation of the Opioid Marketing Enterprise

alleged herein depended upon secrecy. However, Plaintiffs have described the

occasions on which the RICO Marketing Defendants, Front Groups, and KOLs

disseminated misrepresentations and false statements to Montana consumers,

prescribers, regulators and Plaintiffs, and how those acts were in furtherance of the

scheme.

      462. Each instance of racketeering activity alleged herein was related, had

similar purposes, involved the same or similar participants and methods of

commission, and had similar results affecting similar victims, including Montana

consumers, prescribers, regulators and the Cities and Counties. The RICO Marketing

Defendants, Front Groups and KOLs calculated and intentionally crafted the scheme

and common purpose of the Opioid Marketing Enterprise to ensure their own profits

remained high. In designing and implementing the scheme, the RICO Marketing

Defendants understood and intended that those in the distribution chain rely on the

integrity of the pharmaceutical companies and ostensibly neutral third parties to

provide objective and scientific evidence regarding the RICO Marketing

Defendants’ products.

      463. The RICO Marketing Defendants’ pattern of racketeering activity

alleged herein and the Opioid Marketing Enterprise are separate and distinct from



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each other. Likewise, the RICO Marketing Defendants are distinct from the Opioid

Marketing Enterprise.

      464. The pattern of racketeering activity alleged herein is continuing as of

the date of this complaint, and, upon information and belief, will continue into the

future unless enjoined by this Court.

      465. The racketeering activities conducted by the RICO Marketing

Defendants, Front Groups and KOLs amounted to a common course of conduct,

with a similar pattern and purpose, intended to deceive Montana consumers,

prescribers, regulators and Plaintiffs. Each separate use of the U.S. Mail and/or

interstate wire facilities employed by Defendants was related, had similar intended

purposes, involved similar participants and methods of execution, and had the same

results affecting the same victims, including Montana consumers, prescribers,

regulators and Plaintiffs. The RICO Marketing Defendants have engaged in the

pattern of racketeering activity for the purpose of conducting the ongoing business

affairs of the Opioid Marketing Enterprise.

      466. Each of the RICO Marketing Defendants aided and abetted others in

the violations of the above laws, thereby rendering them indictable as principals in

the 18 U.S.C. §§ 1341 and 1343 offenses.

      467. As described herein, the RICO Marketing Defendants engaged in a

pattern of related and continuous predicate acts for years. The predicate acts



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constituted a variety of unlawful activities, each conducted with the common purpose

of obtaining significant money and revenue from the marketing and sale of their

highly addictive and dangerous drugs. The predicate acts also had the same or similar

results, participants, victims, and methods of commission. The predicate acts were

related and not isolated events.

      468. The pattern of racketeering activity alleged herein is continuing as of

the date of this Complaint and, upon information and belief, will continue into the

future unless enjoined by this Court. The last racketeering incident occurred within

five years of the commission of a prior incident of racketeering.

      469. The RICO Marketing Defendants’ violations of law and their

pattern of racketeering activity directly and proximately caused Plaintiffs’ injuries.

The RICO Marketing Defendants’ pattern of racketeering activity logically,

substantially and foreseeably caused an opioid epidemic. Plaintiffs’ injuries were

not unexpected, unforeseen or independent. Rather, the RICO Marketing Defendants

knew that opioids were unsuited to treatment of long-term chronic, non- acute, and

non-cancer pain, or for any other use not approved by the FDA, and knew that

opioids were highly addictive and subject to abuse. Nevertheless, the RICO

Marketing Defendants engaged in a scheme of deception that utilized the mail and

wires in order to carry-out the Opioid Marketing Enterprises’ fraudulent scheme,

thereby increasing sales of their opioid products.



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            470. It was foreseeable and expected that the RICO Marketing Defendants

creating and then participating in the Opioid Marketing Enterprise through a pattern

of racketeering activities to carry-out their fraudulent scheme would lead to a

nationwide opioid epidemic, including increased opioid addiction and overdose.364

            471. Specifically, the RICO Marketing Defendants’ creating and then

participating in the Opioid Marketing Enterprise through a pattern of racketeering

activities to carry-out their fraudulent scheme has injured the Cities and Counties in

the form of substantial losses of money and property that logically, directly and

foreseeably arise from the opioid-addiction epidemic. Plaintiffs’ injuries, as alleged

throughout this complaint, and expressly incorporated herein by reference, include:

                 a)    Losses caused by the decrease in funding available for Plaintiffs’
                       public services for which funding was lost because it was
                       diverted to other public services designed to address the opioid
                       epidemic;
                 b)    Costs for providing healthcare and medical care, additional
                       therapeutic, and prescription drug purchases, and other
                       treatments for patients suffering from opioid-related addiction or
                       disease, including overdoses and deaths;

                 c)    Costs of training emergency and/or first responders in the proper
                       treatment of drug overdoses;

                 d)    Costs associated with providing police officers, firefighters, and
                       emergency and/or first responders with naloxone − an opioid
                       antagonist used to block the deadly effects of opioids in the
                       context of overdose;



364
      Id.



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            e)    Costs associated with emergency responses by police officers,
                  firefighters, and emergency and/or first responders to opioid
                  overdoses;

            f)    Costs for providing mental-health services, treatment,
                  counseling, rehabilitation services, and social services to victims
                  of the opioid epidemic and their families;

            g)    Costs for providing treatment of infants born with opioid-related
                  medical conditions, or born dependent on opioids due to drug use
                  by mother during pregnancy;

            h)    Costs associated with law enforcement and public safety relating
                  to the opioid epidemic, including but not limited to attempts to
                  stop the flow of opioids into local communities, to arrest and
                  prosecute street-level dealers, to prevent the current opioid
                  epidemic from spreading and worsening, and to deal with the
                  increased levels of crimes that have directly resulted from the
                  increased homeless and drug-addicted population;

            i)    Costs associated with increased burden on Plaintiffs’ judicial
                  systems, including increased security, increased staff, and the
                  increased cost of adjudicating criminal matters due to the
                  increase in crime directly resulting from opioid addiction;

            j)    Costs associated with providing care for children whose parents
                  suffer from opioid-related disability or incapacitation;
            k)    Loss of tax revenue due to the decreased efficiency and size of
                  the working population in Plaintiffs’ communities;

            l)    Losses caused by diminished property values in neighborhoods
                  where the opioid epidemic has taken root; and

            m)    Losses caused by diminished property values in the form of
                  decreased business investment and tax revenue.

      472. Plaintiffs’ injuries were directly and proximately caused by these

Defendants’ racketeering activities because they were the logical, substantial and



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foreseeable cause of Plaintiffs’ injuries. But for the opioid-addiction epidemic, the

Cities and Counties would not have lost money or property.

        473. The Cities and Counties are the most directly harmed entities and there

are no other Plaintiffs better suited to seek a remedy for the economic harms at issue

here.

        474. Plaintiffs seek all legal and equitable relief as allowed by law, including,

inter alia, actual damages; treble damages; equitable and/or injunctive relief in the

form of court-supervised corrective communication, actions and programs;

forfeiture as deemed proper by the Court; attorney’s fees; all costs and expenses of

suit; and pre- and post-judgment interest.

               XI. SEVENTH CAUSE OF ACTION:
  VIOLATIONS OF THE RACKETEER INFLUENCED AND CORRUPT
     ORGANIZATIONS ACT (“RICO”), 18 U.S.C. § 1961, ET SEQ.
                 OPIOID SUPPLY CHAIN ENTERPRISE
        AGAINST DEFENDANTS PURDUE, CEPHALON, JANSSEN,
            ENDO, ACTAVIS, MCKESSON, CARDINAL, AND
                      AMERISOURCEBERGEN
             (THE “RICO” SUPPLY CHAIN DEFENDANTS)

        475. Plaintiffs re-allege and incorporate by reference each of the allegations

contained in the preceding paragraphs of this Complaint as though fully alleged

herein.

        476. At all relevant times, the RICO Supply Chain Defendants were and are

“persons” under 18 U.S.C. § 1961(3) because they are entities capable of holding,

and do hold, “a legal or beneficial interest in property.”


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           477. The RICO Supply Chain Defendants together formed an association-

in-fact enterprise, the Opioid Supply Chain Enterprise, for the purpose of increasing

the quota for and profiting from the increased volume of opioid sales in the United

States. The Opioid Supply Chain Enterprise is an association-in-fact enterprise

within the meaning of § 1961. The Opioid Supply Chain Enterprise consists of the

RICO Supply Chain Defendants.

           478. The RICO Supply Chain Defendants were members of the Healthcare

Distribution Alliance (the “HDA”).365 Each of the RICO Supply Chain Defendants

is a member, participant, and/or sponsor of the HDA, and has been since at least

2006, and utilized the HDA to form the interpersonal relationships of the Opioid

Supply Chain Enterprise and to assist them in engaging in the pattern of racketeering

activity that gives rise to the Count.

           479. At all relevant times, the Opioid Supply Chain Enterprise: (a) had an

existence separate and distinct from each of the RICO Supply Chain Defendants;

(b) was separate and distinct from the pattern of racketeering in which the RICO

Supply Chain Defendants engaged; (c) was an ongoing and continuing organization

consisting of legal entities, including each of the RICO Supply Chain Defendants;

(d) was characterized by interpersonal relationships among the RICO Supply Chain

Defendants; (e) had sufficient longevity for the enterprise to pursue its purpose;


365
      History, Health Distribution Alliance, https://www.healthcaredistribution.org/about/hda-history



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and (f) functioned as a continuing unit. Each member of the Opioid Supply Chain

Enterprise participated in the conduct of the enterprise, including patterns of

racketeering activity, and shared in the astounding growth of profits supplied by

fraudulently inflating opioid quotas and resulting sales.

      480. The RICO Supply Chain Defendants carried out, or attempted to

carry out, a scheme to defraud federal and state regulators, and the American public

by knowingly conducting or participating in the conduct of the Opioid Supply Chain

Enterprise through a pattern of racketeering activity within the meaning of 18 U.S.C.

§ 1961(1) that employed the use of mail and wire facilities, in violation of 18 U.S.C.

§ 1341 (mail fraud) and § 1343 (wire fraud).

      481. The RICO Supply Chain Defendants committed, conspired to commit,

and/or aided and abetted in the commission of at least two predicate acts of

racketeering activity (i.e. violations of 18 U.S.C. §§ 1341 and 1343) within the past

ten years. The multiple acts of racketeering activity that the RICO Supply Chain

Defendants committed, or aided and abetted in the commission of, were related to

each other, posed a threat of continued racketeering activity, and therefore constitute

a “pattern of racketeering activity.” The racketeering activity was made possible by

the RICO Supply Chain Defendants’ regular use of the facilities, services,

distribution channels, and employees of the Opioid Supply Chain Enterprise. The

RICO Supply Chain Defendants participated in the scheme to defraud by using mail,



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telephone and the Internet to transmit mailings and wires in interstate or foreign

commerce.

      482. The RICO Supply Chain Defendants also conducted and participated in

the conduct of the affairs of the Opioid Supply Chain Enterprise through a pattern

of racketeering activity by the felonious manufacture, importation, receiving,

concealment, buying, selling, or otherwise dealing in a controlled substance or listed

chemical (as defined in section 102 of the Controlled Substance Act), punishable

under any law of the United States.

      483. The RICO Supply Chain Defendants committed crimes that are

punishable as felonies under the laws of the United States. Specifically, 21 U.S.C. §

843(a)(4) makes it unlawful for any person to knowingly or intentionally furnish false

or fraudulent information in, or omit any material information from, any application,

report, record or other document required to be made, kept or filed under this

subchapter. A violation of § 843(a)(4) is punishable by up to four years in jail,

making it a felony. 21 U.S.C. § 843(d)(1).

      484. Each of the RICO Supply Chain Defendants is a registrant as defined

in the CSA. Their status as registrants under the CSA requires that they maintain

effective controls against diversion of controlled substances in schedule I or II,

design and operate a system to disclose to the registrant suspicious orders of




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controlled substances and inform the DEA of suspicious orders when discovered by

the registrant. 21 U.S.C. § 823; 21 C.F.R. § 1301.74(b).

      485. The RICO Supply Chain Defendants’ predicate acts of racketeering

(18 U.S.C. § 1961(1)) include, but are not limited to:

             a)    Mail Fraud: The RICO Supply Chain Defendants violated 18
                   U.S.C. §1341 by sending or receiving, or by causing to be sent
                   and/or received, fraudulent materials via U.S. mail or
                   commercial interstate carriers for the purpose of selling drugs,
                   specifically opioids, that have little or no demonstrated efficacy
                   for the pain they are purported to treat in the majority of persons
                   prescribed them.

             b)    Wire Fraud: The RICO Supply Chain Defendants violated 18
                   U.S.C. §1343 by transmitting and/or receiving, or by causing to
                   be transmitted and/or received, fraudulent materials by wire for
                   the purpose of selling drugs, specifically opioids, that have little
                   or no demonstrated efficacy for the pain they are purported to
                   treat in the majority of persons prescribed them.

      486. Controlled     Substance    Violations: The       RICO     Supply    Chain

Defendants, who are Distributor Defendants, violated 21 U.S.C. § 823 by knowingly

or intentionally furnishing false or fraudulent information in, and/or omitting

material information from, documents filed with the DEA.

      487. The RICO Supply Chain Defendants conducted their pattern of

racketeering activity in this jurisdiction and throughout the United States through

this enterprise.




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      488. The RICO Supply Chain Defendants aided and abetted others in

violating the above laws, thereby rendering them indictable as principals in the 18

U.S.C. §§ 1341 and 1343 offenses.

      489. The RICO Supply Chain Defendants hid from the general public and

suppressed and/or ignored warnings from third parties, whistleblowers and

governmental entities about the suspicious orders that the RICO Supply Chain

Defendants were filling on a daily basis – leading to the diversion of hundreds of

millions of doses of prescriptions opioids into the illicit market.

      490. The RICO Supply Chain Defendants, with knowledge and intent,

agreed to the overall objective of their fraudulent scheme and participated in the

common course of conduct to commit acts of fraud and indecency in manufacturing

and distributing prescription opioids.

      491. Indeed, for the Defendants’ fraudulent scheme to work, each of the

Defendants had to agree to implement similar tactics regarding manufacturing

prescription opioids and refusing to report suspicious orders.

      492. The RICO Supply Chain Defendants engaged in a pattern of related

and continuous predicate acts for years. The predicate acts constituted a variety of

unlawful activities, each conducted with the common purpose of obtaining

significant monies and revenues from the sale of their highly addictive and

dangerous drugs. The predicate acts also had the same or similar results, participants,



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victims, and methods of commission. The predicate acts were related and not

isolated events.

      493. The predicate acts all had the purpose of creating the opioid epidemic

that substantially injured Plaintiffs’ businesses and property, while simultaneously

generating billion-dollar revenue and profits for the RICO Supply Chain

Defendants. The predicate acts were committed or caused to be committed by the

RICO Supply Chain Defendants through their participation in the Opioid Supply

Chain Enterprise and in furtherance of its fraudulent scheme.

      494. The pattern of racketeering activity alleged herein and the Opioid

Supply Chain Enterprise are separate and distinct from each other. Likewise, the

RICO Supply Chain Defendants are distinct from the enterprise.

      495. The pattern of racketeering activity alleged herein is continuing as of

the date of this Complaint and, upon information and belief, will continue into the

future unless enjoined by this Court.

      496. Many of the precise dates of the RICO Supply Chain Defendants’

criminal actions at issue here have been hidden by Defendants and cannot be alleged

without access to Defendants’ books and records. Indeed, an essential part of the

successful operation of the Opioid Supply Chain Enterprise alleged herein

depended upon secrecy.




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      497. By intentionally refusing to report and halt suspicious orders of their

prescription opioids, Defendants engaged in a fraudulent scheme and unlawful

course of conduct constituting a pattern of racketeering activity.

      498. It was foreseeable to the RICO Supply Chain Defendants that Plaintiffs

would be harmed when they refused to report and halt suspicious orders, because

their violation of the duties imposed by the CSA and Code of Federal Regulations

allowed the widespread diversion of prescription opioids out of appropriate medical

channels and into the illicit drug market—causing the opioid epidemic that the CSA

intended to prevent.

      499. The last racketeering incident occurred within five years of the

commission of a prior incident of racketeering.

      500. The RICO Supply Chain Defendants’ violations of law and their

pattern of racketeering activity directly and proximately caused injury to Plaintiffs’

businesses and property. The RICO Supply Chain Defendants’ pattern of

racketeering activity, including their refusal to identify, report and halt suspicious

orders of controlled substances, logically, substantially and foreseeably cause an

opioid epidemic. The Cities and Counties were injured by the RICO Supply Chain

Defendants’ pattern of racketeering activity and the opioid epidemic that they

created.




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        501. The RICO Supply Chain Defendants knew that the opioids they

manufactured and supplied were unsuited to treatment of long-term, chronic, non-

acute, and non-cancer pain, or for any other use not approved by the FDA, and knew

that opioids were highly addictive and subject to abuse.366 Nevertheless, the RICO

Supply Chain Defendants engaged in a scheme of deception, that utilized the mail

and wires as part of their fraud, in order to increase sales of their opioid products by

refusing to identify, report suspicious orders of prescription opioids that they knew

were highly addictive, subject to abuse, and were actually being diverted into the

illegal market.367

        502. The RICO Supply Chain Defendants’ predicate acts and pattern of

racketeering activity were a cause of the opioid epidemic which has injured the Cities

and Counties in the form of substantial losses of money and property that logically,

directly and foreseeably arise from the opioid-addiction epidemic.

        503. Specifically, Plaintiffs’ injuries, as alleged throughout this complaint,

and expressly incorporated herein by reference, include:

                a)      Losses caused by the decrease in funding available for Plaintiffs’
                        public services for which funding was lost because it was
                        diverted to other public services designed to address the opioid
                        epidemic;

                b)      Costs for providing healthcare and medical care, additional
                        therapeutic, and prescription drug purchases, and other
366
  Travelers Prop. Cas. Co. of Am. v. Actavis, Inc., 16 Cal. App. 5th 1026, 1030 (2017).
367
  City of Everett v. Purdue Pharma L.P., Case No. 17-cv-00209, 2017 WL 4236062, *2 (W.D. Wash. Sept. 25,
2017).



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                 treatments for patients suffering from opioid-related addiction or
                 disease, including overdoses and deaths;

           c)    Costs of training emergency and/or first responders in the proper
                 treatment of drug overdoses;

           d)    Costs associated with providing police officers, firefighters, and
                 emergency and/or first responders with naloxone—an opioid
                 antagonist used to block the deadly effects of opioids in the
                 context of overdose;

           e)    Costs associated with emergency responses by police officers,
                 firefighters, and emergency and/or first responders to opioid
                 overdoses;

           f)    Costs for providing mental-health services, treatment,
                 counseling, rehabilitation services, and social services to victims
                 of the opioid epidemic and their families;

           g)    Costs for providing treatment of infants born with opioid-related
                 medical conditions, or born dependent on opioids due to drug use
                 by mother during pregnancy;

           h)    Costs associated with law enforcement and public safety relating
                 to the opioid epidemic, including but not limited to attempts to
                 stop the flow of opioids into local communities, to arrest and
                 prosecute street-level dealers, to prevent the current opioid
                 epidemic from spreading and worsening, and to deal with the
                 increased levels of crimes that have directly resulted from the
                 increased homeless and drug-addicted population;

           i)    Costs associated with increased burden on Plaintiffs’ judicial
                 systems, including increased security, increased staff, and the
                 increased cost of adjudicating criminal matters due to the
                 increase in crime directly resulting from opioid addiction;

           j)    Costs associated with providing care for children whose parents
                 suffer from opioid-related disability or incapacitation;




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             k)    Loss of tax revenue due to the decreased efficiency and size of
                   the working population in Plaintiffs’ communities;

             l)    Losses caused by diminished property values in neighborhoods
                   where the opioid epidemic has taken root; and

             m)    Losses caused by diminished property values in the form of
                   decreased business investment and tax revenue.

      504. Plaintiffs’ injuries were proximately caused by Defendants’

racketeering activities because they were the logical, substantial and foreseeable

cause of the Plaintiffs’ injuries. But for the opioid-addiction epidemic created by

Defendants’ conduct, the Cities and Counties would not have lost money or

property.

      505. Plaintiffs’ injuries were directly caused by the RICO Supply Chain

Defendants’ pattern of racketeering activities.

      506. The Cities and Counties are the most directly harmed and there are no

other Plaintiffs better suited to seek a remedy for the economic harms at issue here.

      507. Plaintiffs seek all legal and equitable relief as allowed by law,

including, inter alia, actual damages; treble damages; equitable and/or injunctive

relief in the form of court-supervised corrective communication, actions and

programs; forfeiture as deemed proper by the Court; attorney’s fees; all costs and

expense of suit; and pre- and post-judgement interest, including, inter alia:

             a)    Actual damages and treble damages, including pre-suit and post-
                   judgment interest;



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           b)    An order enjoining any further violations of RICO;

           c)    An order enjoining any further violations of any statutes alleged
                 to have been violated in this Complaint;

           d)    An order enjoining the commission of any tortious conduct, as
                 alleged in this Complaint;

           e)    An order enjoining any future marketing or misrepresentations
                 regarding the health benefits or risks of prescription opioids use,
                 except as specifically approved by the FDA;

           f)    An order enjoining any future marketing of opioids through non-
                 branded marketing including through the Front Groups, KOLs,
                 websites, or in any other manner alleged in this Complaint that
                 deviates from the manner or method in which such marketing has
                 been approved by the FDA;

           g)    An order enjoining any future marketing to vulnerable
                 populations, including but not limited to, persons over the age of
                 fifty-five, anyone under the age of twenty-one, and veterans;

           h)    An order compelling Defendants to make corrective advertising
                 statements that shall be made in the form, manner and duration
                 as determined by the Court, but not less than, print
                 advertisements in national and regional newspapers and medical
                 journals, televised broadcast on major television networks, and
                 displayed on their websites, concerning: (1) the risk of addiction
                 among patients taking opioids for pain; (2) the ability to manage
                 the risk of addiction; (3) pseudoaddiction is really addiction, not
                 a sign of undertreated addiction; (4) withdrawal from opioids is
                 not easily managed; (5) increasing opioid dosing presents
                 significant risks, including addiction and overdose; (6) long term
                 use of opioids has no demonstrated improvement of function; (8)
                 use of time-released opioids does not prevent addiction; (9)
                 abuse-deterrent formulations do not prevent opioid abuse; and
                 (10) that manufacturers and distributors have duties under the
                 CSA to monitor, identify, investigate, report and halt suspicious
                 orders and diversion but failed to do so;



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           i)    An order enjoining any future lobbying or legislative efforts
                 regarding the manufacturer, marketing, distribution, diversion,
                 prescription, or us of opioids;

           j)    An order requiring all Defendants to publicly disclose all
                 documents, communications, records, data, information,
                 research or studies concerning the health risks or benefits of
                 opioid use;

           k)    An order prohibiting all Defendants from entering into any new
                 payment or sponsorship agreement with, or related to, any: Front
                 Group, trade association, doctor, speaker, CME, or any other
                 person, entity, or association, regarding the manufacturer,
                 marketing, distribution, diversion, prescription, or use of opioids;

           l)    An order establishing a National Foundation for education,
                 research, publication, scholarship, and dissemination of
                 information regarding the health risks of opioid use and abuse to
                 be financed by the Defendants in an amount to be determined by
                 the Court;

           m)    An order enjoining any diversion of opioids or any failure to
                 monitor, identify, investigate, report and halt suspicious orders
                 or diversion of opioids;

           n)    An order requiring all Defendants to publicly disclose all
                 documents, communications, records, information, or data,
                 regarding any prescriber, facility, pharmacy, clinic, hospital,
                 manufacturer, distributor, person, entity or association regarding
                 suspicious orders for or the diversion of opioids;

           o)    An order divesting each Defendant of any interest in, and the
                 proceeds of any interest in, the Marketing and Supply Chain
                 Enterprises, including any interest in property associated with the
                 Marketing and Supply Chain Enterprises;

           p)    Dissolution and/or reorganization of any trade industry
                 organization, Front Group, or any other entity or association
                 associated with the Marketing and Supply Chain Enterprises
                 identified in this Complaint, as the Court sees fit;


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             q)    Dissolution and/or reorganization of any Defendant named in
                   this Complaint as the Court sees fit;

             r)    Suspension and/or revocation of the license, registration, permit,
                   or prior approval granted to any Defendant, entity, association or
                   enterprise named in the Complaint regarding the manufacture or
                   distribution of opioids;

             s)    Forfeiture as deemed appropriate by the Court; and

             t)    Attorney’s fees and all costs and expenses of suit.

          XII. EIGHTH CAUSE OF ACTION: UNJUST ENRICHMENT
                    AGAINST ALL DEFENDANTS

      508. Plaintiffs re-allege and incorporate by reference each of the allegations

contained in the preceding paragraphs of this Complaint as though fully alleged

herein.

      509. As an expected and intended result of their conscious wrongdoing as

set forth in this Complaint, Defendants have profited and benefited from opioid

purchases made by the Cities, the Counties, and its residents.

      510. When Plaintiffs and its residents purchased opioids, they expected that

Defendants had provided necessary and accurate information regarding those risks.

Instead, Defendants had misrepresented the material facts regarding the risks and

benefits of opioids and distributed or disbursed opioids even though, upon

information and belief, there was suspicion for diversionary purposes.




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      511. Defendants took undue advantage and received a benefit because the

Cities and Counties bore the cost of the externalities of Defendants’ wrongful

conduct. Moreover, the Cities and Counties had no choice and was effectively

required to cover these costs to Defendants’ benefit.

      512. Defendants have been unjustly enriched at the expense of Plaintiffs, and

Plaintiffs are therefore entitled to damages to be determined by the jury.

          XIII. NINTH CAUSE OF ACTION: CIVIL CONSPIRACY
                     AGAINST ALL DEFENDANTS

      513. Plaintiffs re-allege and incorporate by reference each of the allegations

contained in the preceding paragraphs of this Complaint as though fully alleged

herein.

      514. Defendants engaged in a civil conspiracy in their unlawful marketing

of opioids and/or distribution of opioids into Montana and Plaintiffs’ communities.

      515. Defendants engaged in a civil conspiracy to commit fraud and

misrepresentation in conjunction with their unlawful marketing of opioids and/or

distribution of opioids into Montana and Plaintiffs’ communities.

      516. Defendants unlawfully failed to act to prevent diversion and failed to

monitor for, report, and prevent suspicious orders of opioids.

      517. The Marketing Defendants further unlawfully marketed opioids in

Montana and Plaintiffs’ communities in furtherance of that conspiracy.




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      518. Defendants’ conspiracy and acts in furtherance thereof are alleged in

detail in this Complaint, including, without limitation, in Plaintiffs’ Counts for

violations of RICO. Such allegations are specifically incorporated herein.

      519. Defendants acted with a common understanding or design to commit

unlawful acts, as alleged herein, and acted purposely, without a reasonable or lawful

excuse, which directly caused the injuries alleged herein.

      520. Defendants acted with malice, purposely, intentionally, unlawfully,

and without a reasonable or lawful excuse.

      521. Defendants conduct in furtherance of the conspiracy described herein

was not mere parallel conduct because each Defendant acted directly against their

commercial interests in not reporting the unlawful distribution practices of their

competitors to the authorities, which they had a legal duty to do. Each Defendant

acted against their commercial interests in this regard due to an actual or tacit

agreement between the Defendants that they would not report each other to the

authorities so they could all continue engaging in their unlawful conduct.

      522. Defendants’ conspiracy, and Defendants’ actions and omissions in

furtherance thereof, caused the direct and foreseeable losses alleged herein.

      523. Defendants’ actions demonstrated both malice and also aggravated and

egregious fraud. Defendants engaged in the Conduct alleged herein with a conscious

disregard for the rights and safety of other persons, even though that conduct has a



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great probability of causing substantial harm. Marketing Defendants’ fraudulent

wrongdoing was also particularly gross.

      524. Defendants’ misconduct alleged in this case is ongoing and persistent.

      525. Defendants’ misconduct alleged in this case does not concern a

discrete event or discrete emergency of the sort a political subdivision would

reasonably expect to occur, and is not part of the normal and expected costs of a local

government’s existence. Plaintiffs allege wrongful acts which are neither discrete

nor of the sort a local government can reasonably expect.

      526. Plaintiffs have incurred expenditures for special programs over and

above Plaintiffs’ ordinary public services.

      527. Plaintiffs seek all legal and equitable relief as allowed by law, including

inter alia injunctive relief, restitution, disgorgement of profits, compensatory and

punitive damages, and all damages allowed by law to be paid by the Defendants,

attorney fees and costs, and pre- and post-judgment interest.

                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs respectfully pray:

             a)     That the acts alleged herein be adjudged and decreed to be
                    unlawful and that the Court enter a judgment declaring them to
                    be so;

             b)     That Defendants be enjoined from, directly or indirectly through
                    KOLs, Front Groups or other third parties, continuing to
                    misrepresent the risks and benefits of the use of opioids for
                    chronic pain, and from continuing to violate Montana law;


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            c)    That Plaintiffs recover all measures of damages, including
                  punitive and exemplary damages, allowable under the law, and
                  that judgment be entered against Defendants in favor of
                  Plaintiffs;

            d)    That Plaintiffs recover restitution on behalf of Plaintiffs’
                  consumers who paid for opioids for chronic pain;

            e)    That Plaintiffs recover the costs and expenses of suit, pre- and
                  post-judgment interest, and reasonable attorneys’ fees as
                  provided by law; and

            f)    That Defendants be ordered to abate the public nuisance that they
                  created in in violation of Montana common law; and

            g)    That the Court grant any other relief that it deems warranted.

Date: February 6, 2019

                               Respectfully Submitted,

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